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FINAL
REMEDIAL INVESTIGATION REPORT                                               AR0778

GROUNDWATER OPERABLE UNIT                                                 SFUND RECORDS CTR
                                                                            88105286
McColl Site
Fullerton, California


                          Prepared For:
                         UNITED STATES
               ENVIRONMENTAL PROTECTION AGENCY
                   REMEDIAL PROJECT MANAGER




      Respondents:
 THE McCOLL SITE GROUP


                                                         December 1995
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                                                                 SITE
                                                                 w-"
                                                                 C R O U P
  December 29, 1995                                                                    Serial No: EPA -


  U.S. Environmental Protection Agency
  Region IX
  ATTN Michael Montgomery
  75 Hawthorne Street
  San Francisco, CA 94105


  SUBJECT:        Final Remedial Investigation Report, Groundwater Operable Unit
                  McColl Site, Fuller-ton, California


  Dear Mr. Montgomery:

  Enclosed are volumes 1 and 2 of the Final Remedial Investigation Report, Groundwater
  Operable Unit, McColl Site, Fullerton, California (ENVIRON December 29, 1995).
  Comments provided by U.S.EPA, DISC, and OCWD on the draft version of this report
  have been responded to in Appendix I of this report. The fourth quarter sampling
  results, the determination of inorganic background concentrations, and the results of the
  fate and transport study for THT compounds have been included in this final version.

  If you have any questions, please feel free to call Sandra Maxfield (ENVIRON 510-655-
  7400).


  Yours



  K.W. Rogers, Proje
  McColl Site Group

          State of California
          Department of Toxic Substances Control
                 Caroline Rudolph (4)
          Parsons Engineering Science - Ken Fredianelli




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            The McColl Site Group is composed of Shell Oil Exhibit
                                                           Company 38 ARCO, Phillips Petroleum Texaco and UNOCAL
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                                                                     SFUND RECORDS CTR
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                               FINAL
                   REMEDIAL INVESTIGATION REPORT
                    GROUNDWATER OPERABLE UNIT




                              McCOLL SITE
                         FULLERTON, CALIFORNIA



                                 Prepared For:

                          UNITED STATES
                ENVIRONMENTAL PROTECTION AGENCY
                    REMEDIAL PROJECT MANAGER


                                 Respondents:

                         THE McCOLL SITE GROUP


                                 Prepared By:

                            ENVIRON Corporation
                             Emeryville, California


                              December 29, 1995

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                                            EXECUTIVE SUMMARY

   The 22-acre McColl site is located in Fullerton, Orange County, California southwest of the
   intersection of Rosecrans Avenue and Sunnyridge Drive. From 1942 through 1946, petroleum
   refinery waste was disposed of at the McColl site in twelve sumps, referred to as Los Coyotes
   and Ramparts sump areas.

   The McColl site was included on the EPA National Priority List in September 1982.
   ENVIRON was retained by MSG as lead consultant on the groundwater Remedial
   Investigation and Feasibility Study (RI/FS) at the McColl site in April 1994 in response to
   Administrative Order 93-21. The primary objective of the RI program was to collect and
   analyze additional data to determine whether any perched groundwater zones exist beneath the
   McColl site which could impact the beneficial uses of potable groundwater in deep aquifers
   (if any) south (downgradient) of the McColl site.

   The Task 10 groundwater RI included two phases of field investigation, as follows:

                         Phase I:       Phase I consisted of a CPT program in shallow sediments to the
                         south (downgradient) of the Los Coyotes and Ramparts sump areas. The
                         purpose of the CPT program was to investigate the nature of shallow sediment
                         to the south of the sump areas and to identify areas of perched water (if any).

              •          Phase II:      Phase II consisted of drilling ten continuously cored pilot holes
                         south of the sump areas. The pilot holes were geophysically logged along with
                         the existing monitoring wells to provide a consistent database. Selected soil
                         samples were retained for physical and chemical testing. Eight new monitoring
                         wells were installed at total depths ranging from 27 to 260 feet bgs. At
                         U.S.EPA's request, well P-2D was abandoned and replaced by well P-2D(R).

   As required by Task 11 of the Order, a four quarter groundwater monitoring program was
   coordinated with the Task 10 groundwater RI during late 1994 through 1995. Groundwater
   samples were collected and analyzed for volatile organic compounds, THT compounds,
   semivolatile organic compounds, and metals (total and dissolved).




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            The McColl site is located on the south flank of the west-trending Western Coyote Hills
            anticline. The near-surface sediment immediately beneath the McColl site are interbedded
%    J      clays, silts and silty sands of the Pleistocene La Habra Formation. Beneath the relatively fine-
            grained La Habra Formation sediment are coarser sandy gravels and gravelly sands of the
            Coyote Hills Formation. Surficial exposures and subsurface correlations indicate the La
            Habra and Coyote Hills deposits at or near the site dip southwesterly at approximately ten
            degrees, though dips may vary locally. The position of the site on the distal flank of the
            anticline likely produces the gently dipping structure.

            The Task 10 drilling program has penetrated both the La Habra and upper portion of the
            Coyote Hills Formation. Within the La Habra Formation, three prominent dipping clay
            packets ("A", "B", and "C") have been identified to be continuously occurring across the site.
            These clay packets support intermittent perched groundwater flow units. The clay packets and
            overlying flow units in the La Habra Formation have been designated by ENVIRON from
            shallowest to deepest as the "A", "B", and "C" flow units. The "D" flow unit has been
            designated in the Upper Coyote Hills Formation.

            The direction of flow within these three upper flow units is largely controlled by the
            southwesterly dip of the underlying clay packets. Due to the dipping structure of the beds,
            the "A", "B", and "C" flow units appear to outcrop within the McColl site area. At the
Vx'         southern site boundary, the "C" clay dips to a depth of approximately 268 feet below ground
            surface. Groundwater within the "A", "B", and "C" flow units is seasonally recharged by (i)
            surface infiltration in areas where the flow units outcrop at or near the McColl site, and (ii)
            along the buried coarse-grained sediments of current and historical drainage swales along the
            western and eastern boundaries of the site. The "A", "B", and "C" flow units are low
            producing flow units, with purge rates seldom exceeding a few gpm, and oftentimes purging
            dry within three well volumes. The capacity of the well has been exceed when the well
            purges dry.

           The "A" flow unit is the least extensive groundwater unit, with water being consistently
           detected in only one CPT location and within the limited area of well P-3S. Six wells are
           screened across the "B" flow unit. The "B" flow unit is perched to the north of the McColl
           site boundary. Approximately five hundred feet south of the site, the "B" clay packet dips to
           the saturated interval of the "C" flow unit and is, therefore, no longer perched.

           The "C" flow unit is perched under the central portion of the site, but the "C" clay drops
           beneath the saturated interval of the underlying "D" flow unit south of the Los Coyotes sump
^^         area. Eight monitoring wells are screened within the "C" flow unit. Perched well W-6A is

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           screened within the largely unsaturated portion of the "C" sand/silt packet. Groundwater has
           been consistently detected in "C" flow unit wells, with the exception of wells screened within
           the perched portion (W-6A and W-8A). Following an unusually wet winter, leachate from the
           sump area was detected for the first time in well W-6A during the Task 11 monitoring
           program; however, this well routinely purges dry. Well W-8A has been dry throughout the
           historical and Task 11 monitoring program. An upward hydraulic gradient between the "C"
           and "D" flow units indicate the "C" flow unit may receive recharge from the "D" flow unit
           along the southern boundary of the site.

           The "C" clay packet marks the transition from La Habra to the coarser, thicker and more
           continuous deposits of the Coyote Hills Formation. The "D" flow unit is the first significant
           aquifer zone encountered beneath the McColl site. Four monitoring wells and three
           background wells are screened within the "D" flow unit The "D" flow unit is unconfmed in
           the northern portion of the McColl site and becomes confined beneath the dipping clay beds
           of the La Habra Formation.

           Only two production wells (Buena Park's Smith-Murphy and Fullerton's Coyote 12a) have
          been identified by ENVIRON within seven thousand feet of the site. The geothermal nature of
          the Buena Park Smith-Murphy well indicates communication with the on-site "A" through "D"
          flow units is highly unlikely. The "A" through "C" flow units likely pinch out prior to
XX        reaching the pumping zone of the Coyote 12a well due to the discontinuous depositional
          pattern of the La Habra Formation. There is a slight chance the "D" flow unit may have
          some equivalency to the shallowest screened interval of well Coyote 12a; however, that
          production well is located three thousand feet cross-gradient to the site. The pumping rate of
          the shallowest screen interval is only one percent (15 gpm) of the total flow rate (1500 gpm)
          of the Coyote 12a well. For these reasons, it is unlikely that on-site groundwater would flow
          to the Coyote 12a well.
                                              •*

          A four quarter sampling program was performed under Task 11.0 of the SOW. The
          following text presents a summary of the results of this program.

          Slightly acidic (pH 3.5 to 6.0) groundwater was detected in two low yield "B" flow unit wells
          (P-2I and P-4I), one low yield perched well (W-6A) and an upgradient "D" flow unit well
          ((W-10B). THT compounds including tetrahydrothiophene, 2-methyltetrahydrothiophene, and
          3-methyltetrahydrothiophene were detected in several monitoring wells during the sampling
          program. THT compounds were only detected in the "A" flow unit once, during the few days
          well P-2S was saturated. THT compounds were only detected in three "B" flow unit wells
v   ,     (P-2I, P-4I, and P-10D) exceeding 1 fjig/L. Concentrations in the "B" flow unit exceeding 1

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   /tig/L for individual THT compounds ranged from 12 /ug/L (P-10D) to 18,000 pg/L (P-4I).
   THT compounds have been detected in only two "C" flow unit well (P-5L) and perched well
   W-6A, although it has been preliminarily detected in new well P-10L. Concentrations of
   individual THT compounds at well P-5L ranged from 29 to 140 /zg/L, and at well W-6A
   ranged from 9200 to 43,000 jttg/L. THT compounds have not been detected in "D" flow unit
   wells exceeding 1

   The VOC's other than THT compounds detected in the groundwater system are benzene, and
   at very low concentrations 1,2-DCA. With the exclusion of common laboratory contaminants,
   semi- VOC's were not consistently detected in groundwater at the McColl site or are likely the
   result of field-related or laboratory contamination.

   Benzene concentrations have equaled or exceeded 1 ^g/L in only three "B" flow unit wells (P-
   21, P-4I, and P-5I) and one perched well (W-6A). Concentrations in the "B" flow unit
   exceeding the state MCL range from 1 /xg/L (well P-5I) to 470 /xg/L (well P-2I).
   Concentrations in the low yield perched well W-6A ranged from 500 to 800 /xg/L.

   1,2-DCA concentrations have equaled or exceeded the state MCL of 0.5 /xg/L in only one "B"
   flow unit well (P-5I) and one "C" flow unit well (P-5L). Concentrations in well P-5I ranged
   from 1 to 2 /*g/L (both J-qualified), and in well P-5L ranged from 0.4 to 2 jig/L.

  The four inorganic constituents which occur above background concentrations or state MCL's
  are arsenic, beryllium, chromium, and manganese. These inorganics probably occur at natural
  concentrations in groundwater, evidenced by their presence in background wells.
  Background concentrations of these constituents in the "D" flow unit range from 3.2 to 4,300
  ug/L.

  Arsenic is ubiquitous at low concentrations in groundwater at the site, and has been detected
  in all but two "C" flow unit wells (P-5L and P-9D) and four "D" flow unit wells (P-6D, P-
  1D, P-5D, and W-9C) of the twenty-four monitoring wells. Evaluation of "D" flow unit
  background wells indicate a background concentration of 9.7 ug/L. The state MCL of 50
  /ig/L has been slightly exceeded only in the low yield perched well P-2I. No "C" or "D" flow
  unit well has exceeded either the state MCL or the background concentration for arsenic. The
  higher concentrations of arsenic only occur in wells with low pH, and concentrations
  significantly decrease off-site once the pH rises to natural levels downgradient of the site.

  Manganese is ubiquitous at low concentrations in groundwater and has been detected in all
  background and monitoring wells. Evaluation of "D" flow unit background wells indicate a

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   background concentration for manganese of 4,300 ug/L. Concentrations of manganese in all
   off-site wells (with the exception of well P-10D) and all "C" and "D" flow unit wells are
   below background concentrations. The higher concentrations of dissolved manganese (30,100
   to 41,700) occur in low yield on-site wells (P-2I, P-4I, and W-6A) with low pH.

   Evaluation of "D" flow unit background wells indicate a background concentration for
   beryllium of 8.3 ug/L. This background concentration exceeds the state MCL of 4 /zg/L for
   beryllium. No "C" or "D" flow unit wells have dissolved beryllium concentrations exceeding
   background. Dissolved beryllium was not detected in any off-site monitoring wells.
   Dissolved beryllium was detected above the state MCL in only three on-site wells (P-2I, P-4I,
   W-6A) of the total twenty-four wells. Beryllium concentrations exceeding the state MCL
   ranged from 5.7 to 90 /zg/L.

   Evaluation of "D" flow unit background wells indicate a background concentration for
   chromium of 3.2 ug/L. No "C" or "D" flow unit wells have dissolved chromium
   concentrations significantly above background. Dissolved chromium was detected above the
   state MCL of 50 jug/L in only two on-site low yield wells (P-4I and W-6A). Dissolved
   chromium concentrations in these low pH wells ranged from 67.8 to 424 jig/L. Anomalously
   high total chromium concentrations were detected in wells P-5S and P-6S which are likely
   artifacts of faulty well construction and not indicative of groundwater conditions.

  Organic and inorganic constituents within the McColl site may potentially migrate from the
  sump areas by unsaturated or partially saturated flow. Percolation of surface water (rainfall or
  from drainage swales) may create short-lived pathways to the outcropping "B" or "C" flow
  units.

  Evaluation of the constituent concentration maps indicate migration in the La Habra
  Formation "B" and "C flow units is controlled by the southwest dip of the clay packets. For
  the purposes of this discussion, it is necessary to consider the occurrence and movement of
  constituents on-site and downgradient of the McColl sump areas, separately from the
  southwesterly off-site movement of constituents in groundwater.

  The potential on-site ""B" flow unit migration pathway for organic constituents (THT
  compounds, benzene, 1,2-DCA) and possibly elevated concentrations of inorganic constituents
  (manganese, chromium, arsenic, and beryllium) occurs in the low yield perched portion of
  the "B" flow unit (e.g., wells P-2I and P-4I) immediately downgradient of the Los Coyotes
  sump area. Migration is laterally limited above the "B" clay packet and in a downdip
  (southwest) direction. Data indicates the underlying on-site "B"clay packet is not leaky and

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   therefore does not represent an on-site vertical migration pathway to the underlying "C" flow
   unit. The presence of constituents in several flow units is likely the result of the outcropping
   of the clay packets near the sump areas, rather than downward migration through clays. Off-
   site wells indicate the biogeochemical environment in the "B" flow unit changes south of the
   McColl site; therefore, the transport characteristics of the "B" flow unit change. For this
   reason, off-site migration is discussed as a separate pathway.

    The potential on-site "C" flow unit migration pathway for inorganic constituents (THT
    compounds, benzene, 1,2-DCA) and possibly elevated concentrations of inorganic constituents
    (manganese, chromium, arsenic, and beryllium) occurs in isolated pockets of seasonal
   groundwater or leachate (e.g., well W-6A) within the largely unsaturated flow portion (Figure
   4-12) of the "C" sand/silt packet downgradient of the Rampart sump area. Migration is
   laterally limited above the "C" clay packet and in a downdip (southwest) direction. The rate
   of migration is limited by the generally unsaturated character of sediments within the "C"
   sand/silt packet. Percolating rainfall may temporarily saturate a localized thin lense of water
   on top of the "C" clay and mobilize constituents from the sump areas or surrounding
   sediment. Concentrations of constituents decrease by orders of magnitude short distances
   from these areas of maximum concentration. Data indicates the underlying on-site "C" clay
   packet is not leaky and therefore does not represent an on-site vertical migration pathway to
   the underlying "C" flow unit. As explained above, the biogeochemical environment of the "C"
   flow unit changes south of the McColl site; therefore, off-site migration is discussed as a
   separate pathway.

   The biogeochemical environment of the "B" and "C" flow units change south of the McColl
   site boundary. For this reason, the mobility and transport characteristics of the constituents
   migrating on-site change. Off-site, approximately five hundred feet downgradient of the sump
   areas, THT compounds are detected in a laterally limited area of coarse- to fine-grained
   portions of the "B" and "C" flow units (wells P-10D, P-5L, and possibly P10L). Detections
   of 1,2-DCA and benzene, and elevated concentrations of the primary inorganics are not
   generally present in these narrow off-site area. Concentrations of 1,2-DCA and benzene likely
   decreased due to dilution of the already low concentrations observed on-site. Concentrations
   of the inorganics decreased to background concentrations likely due to an acid/base reaction
   causing precipitation and the immobility of the dissolved inorganics.

  Therefore, off-site migration is limited to the THT compounds, as described below.
  Laterally limited downdip (southwest) migration of THT compounds may occur above the "B"
  clay within the "B" flow unit from the laterally limited area of THT compounds detected at
  well P-10D southwest of the site. This area is believed to be laterally limited due to the

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                limited width of the potential source area and the lack of THT compounds detected during the
                drilling of pilot holes PH-8 and PH-9. Data are inconclusive as to whether the underlying
Xi       ,      off-site "B" clay packet is leaky. THT compounds were detected in soil samples from this
                clay packet; however, THT compounds were not detected in groundwater grab samples
                collected in the "C" flow unit immediately below the "B" clay. The THT compounds may be
                degrading during this off-site migration.

                 Laterally limited downdip (southwest) migration of THT compounds above the "C" clay
                within the "C" flow unit from the laterally limited area of THT compounds detected at wells
                P-5L and P-10L. (However, the "C" flow unit at the well P-5L location thins to a finer-
                grained sediment. Because of the low permeability of sediment at well P-5L, transport
                processes would be anticipated to be slow. Downgradient transport of THT compounds
                would therefore be expected to be limited. The lack of detection of THT compounds from
                grab samples within the "C" flow unit at the immediately downgradient PH-8 pilot hole
                location appears to verify this hypothesis.) Additionally, vertical migration of THT
                compounds to the underlying "D" flow unit at the well P-5L location is not considered a
                potential migration pathway as no THT compounds have been detected in the underlying well
                P-5D over the duration of the monitoring program. The THT compounds may be degrading
                during this off-site migration. Data are not available to determine if the "C" clay in the P-
                 10L location is leaky, and represents a vertical migration pathway. As discussed in TM10-21
1|
 ^"*^'          the presence of THT compounds in well P-10L may be the result of a leaky well seal. This
                well is under investigation.

               Neither organic or elevated concentrations of inorganic constituents have been detected in the
               "D" flow unit, indicating no significant pathway for constituent migration currently exists.
               The only detected organic or inorganic constituent with any future potential to migrate to the
               "D" flow unit are the THT compounds. The detection of benzene only in the on-site perched
               portions of the flow units and the very low on-site concentrations of 1,2-DCA detected
               indicate limited potential to migrate to the "D" flow unit. The mobility of the inorganics
               appears to be limited by low pH conditions. The only theoretical migration pathways with
               any future potential to contribute THT compounds to the "D" flow unit are as follows:

                                     •           Laterally limited vertical migration of THT compounds through the "C"
                                                 clay at the P-10L location. This pathway is purely theoretical as no
                                                 data has been collected in this location.

                                     •           Lateral migration of THT compounds at some distance greater than five
\^                                               hundred feet off-site, from the laterally limited area of THT compounds

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                                    detected within the "C" flow unit (e.g., well P-10L) into the "D" flow
                                    unit if the "C" clay packet pinches out, is eroded away, or dips into the
                                    "D" flow unit. This conditional pathway is purely theoretical and has
                                    not been observed in any boring drilled south of the site.

   ICF Kaiser, contractor to U3.EPA prepared the following draft redlined text to summarize
   their baseline risk assessment study. This redlmed text will be updated based on the inorganic
  background concentrations presented in the Annual Monitoring Report for the McColl site.
   Given the inherent 'uncertainties,, the exposures that are most likely to pose excess
  carcinogenic risks add noncarcinogenic hazard effects at the McColl 'Site are those
  experienced by residential receptors who are exposed to COPCs in groundwater by incidental
  ingestion. The chemicals that contribute .most to these ..excess carcinogenic risks., include
  arsenic and beryllium in. wells screened in the perched aquifer.,, Arsenic was identified as a
  COPC..in soil samples collected from'the Sitet whereas beryllrani was not... The concentrations
  of beryllium in groundwater may be attributed to the teachability of naturaily-occurring
  chemicals In the -vadose zone due to the low pH in groundwaiet. Noncarcinogenic hazard
  effects may -also be expected to occur Irom the jnge$tron of manganese in wells screened in
  the perched zone,

  Of the inorganic compounds found to exceed their corresponding MCLs, manganese in the
  perched zones was found to exceed thV corresponding criteria b'y several orders of magnitude.
  Such concentrations of manganese are sufficiently high that, even given any moderate, dilution
  that might be assumed for a reasonable groundwater transport and well withdrawal scenario, it
  is likely that the risks that might be estttnated in association with ingestion of chemicals in
  groundwater would be loand to be anacceptable.

  Although it is unlikely that locally perched groundwater would be classified as a potable
  source, the importance of evaluating the potential health risks is based on the possibility that
  some areas of the perched zones are hydraulically connected to the deeper regional aquifer
  which serves as a potential drinking water source.

  Carcinogenic risks associated with wells screened in the deeper regional aquifer are within and
  are slightly above (RM6 scenario) the established risk range (1 x IO"4 to 1 x 1G4). In
  addition,, •noncar&inogenic hazard effects may occur from groundwater mgestion. of chemicals
  detected in. wells screened in. the regional aquifer. However, the concentrations of the risk-
  driving chemicals in the regional wells are either below the corresponding MCL (arsenic) or
  e&pear. to be wjthirt background lewis fmanganese).


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   The potential risks associated with thiophene-based compounds could not be- assessed
   quantitatively because of. the lack of BPA-^yerified toxicity criteria, 'The odor threshold
   concentration (OTC) for THT, which, is the concentration at which 50 percent of the
   population can Detect an odor, is 0,0006 ppm or 0,0018 mg/m5. In comparison to most
   chemicals, THT can be detected at relatively low concentrations.

   Data and analyses presented within this RI Report are sufficient to proceed with the feasibility
   analysis to identify, screen, and select an appropriate remedial response (if any) for
   unacceptable (if any) concentrations of constituents within groundwater at the McColl site.
   The conceptual hydrogeologic model has been verified with subsequent well installations, such
   as well P-10L. The distribution of constituents is in agreement with the hydrogeologic model.
   The only outstanding matters are (i) the integrity of the well seal across the "B" clay unit at
   well P-10L and therefore the integrity of the data collected at well P-10L, and (ii) further
   study of the fate and transport characteristics of the THT compounds. These matters are
   currently under investigation under TM10-20 and TM10-21.




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                                            SECTION 1.0

                                          INTRODUCTION


   1.1        General

   The McColl site was included on the EPA National Priority List in September 1982, pursuant
   to Section 105 of CERCLA, 42 U.S.C. Section 9605. The U.S. Environmental Protection
   Agency ("U.S.EPA") has undertaken various response actions at the McColl site. In June
    1993, U.S.EPA issued a Record of Decision (the "ROD") for the Source Operable Unit #1
   ("OU-1") for the McColl Superfund Site in Fullerton, California. Concurrent with the ROD,
   the U.S.EPA has also issued an Administrative Order Number 93-21 (the "Order") to the Oil
   Company Respondents, who are referred to as the McColl Site Group ("MSG"). The
   Statement of Work (SOW), attached as Appendix 2 to the Order, describes the Remedial
   Design ("RD") work to be performed.

  ENVIRON was retained by MSG as lead consultant on the groundwater Remedial
  Investigation and Feasibility Study (RI/FS) at the McColl site in April 1994 in response to
  Administrative Order 93-21. The primary objective of the RI program was to collect and
  analyze additional data to determine whether perched groundwater zones exist beneath the
  McColl site which would impact the beneficial uses of potable groundwater in deep aquifers
  south (downgradient) of the McColl site. This report is responsive to the requirements of
  Tasks 10 and 11 of the SOW.

  The document Groundwater Remedial Investigation/Feasibility Study Work Plan (ENVIRON
  February 4, 1994) (herein referred to as the Work Plan) describes the objectives, approach,
  scope of activities, schedules, and costs initially projected to accomplish SOW Task 10.0
  which is the Groundwater Remedial Investigation/Feasibility Study (herein referred to as the
  groundwater RI/FS). The Work Plan was prepared to specifically address Task 10.1 of the
  SOW, which reads as follows:

             The respondents shall submit a workplan that documents the approach required
             to undertake actions recommended in EPA's Data Evaluation and
             Recommendation Report dated May 1993. The workplan will document the


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               resources necessary to undertake fieldwork, produce a remedial investigation
               (RI) report and a feasibility study (FS) report. The workplan will include a
               detailed schedule, a detailed cost estimate, a sampling and analysis plan, a
               quality assurance project plan, a health and safety plan, a community
               contingency plan, and an ambient air monitoring plan.

   Concurrently with other remedial design activities at the McColl site, the groundwater RI was
   conducted in accordance with the Work Plan from the spring of 1994 through the end of
    1995. Modifications from the original scope of work presented in the Work Plan were
   approved in Technical Memoranda Nos. 10-1 through 10-21 (Appendix F). The routine
   groundwater monitoring program (Task 11.0 of the SOW) was closely coordinated with the
   groundwater RI to ensure that the data needs of both programs were met. The document
   Routine Groundwater Monitoring Analysis/Recommendations Report and Work Plan
   (ENVIRON May 1994) presents the scope of work for Task 11.0 of the SOW.

   This RI report is submitted on behalf of MSG in fulfillment of Task 10.0 of the SOW and
   the subsequent Work Plan. The RI report presents the regional and site hydrogeology, the
   spatial distribution of constituents potentially migrating from McColl waste in soil and
   groundwater, and the chemical fate and transport of constituents in groundwater.

   The following text of Section 1.0 provides an overview of the purpose of the groundwater RI
   activities, the McColl site background, and the organization of this RI report.

   1.2        Purpose

   The McColl Superfund Site is located in Fullerton, California (herein, referred to as the
   McColl site). The McColl site (Figure 1-1) consists of a parcel of land approximately 22
   acres in size which is near the intersection of Rosecrans Avenue and Sunnyridge Drive, and is
   adjacent to Ralph B. Clark Regional Park and Los Coyotes Golf Course.

   EPA has conducted periodic groundwater monitoring at the McColl site since 1989. At the
   time of the Order, low concentrations of various organic and inorganic constituents were
   detected in groundwater underlying the McColl site. However, no significant groundwater
   quality impacts were identified at the time of the Order which would pose a public health risk
   or otherwise interfere with the beneficial uses of groundwater south (downgradient) of the
   McColl site. The occasional detection of constituents potentially originating from McColl
   waste in groundwater, however, was a concern to U.S.EPA and additional investigations of


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   the potential for waste at the McColl site to impact groundwater was required by Tasks 10.0
   and 11.Oof the SOW.

   ENVIRON was retained by the MSG as lead consultant on the groundwater RI/FS at the
   McColl site in April 1994, and has since conducted a two-phase field investigation. The
   primary objective of the RI is to collect and analyze additional data to determine whether any
   perched groundwater zones exist beneath the McColl site which could impact the beneficial
   uses of potable groundwater in the deep aquifers (if any) south (downgradient) of the McColl
   site. From a broader perspective, the groundwater RI is also designed to characterize
   groundwater conditions at and in the vicinity of the McColl site, sufficient to understand
   whether any releases of constituents have affected groundwater to a degree that would pose
   any significant public health risk or otherwise interfere with the beneficial use of groundwater
   in the area.

   From the results of the RI field investigation, a conceptual hydrogeologic model of subsurface
   conditions, and fate and transport mechanisms has been developed for the McColl site. The
   approach to developing and testing a conceptual model for an RI/FS is clearly described in the
   RI/FS Guidance Document (EPA 1988) which states the following:

             The objective of the RI/FS process is not the unobtainable goal of removing all
             uncertainty, but rather to gather information sufficient to support an informed
             risk management decision regarding which remedy appears to be most
             appropriate for a given site. The appropriate level of analysis to meet this
             objective can only be reached through constant strategic thinking and careful
             planning concerning the essential data needed to reach a remedy selection
             decision. As hypotheses are tested and either rejected or confirmed, adjustment
             or choices as to the appropriate course for further investigations and analysis
             are required. These choices, like the remedy selection itself, involve the
             balancing of a wide variety of factors and the exercise of best professional
            judgement.

  The scope of the groundwater RI was developed with this concept expressly in mind.

  The RI integrates data from multiple disciplines to meet the objectives of this RI, and arrive
  at an understanding of McColl site conditions. These disciplines include study of the
  operational history of the McColl site, depositional geologic systems, stratigraphy, hydrology,
  and chemical distributions. Each of these studies are described in various sections of this
  report.

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   1.3        Site Background

   The McColl site (Figure 1-2) is a former disposal site for petroleum refinery waste and
   drilling muds located in the City of Fullerton, Orange County, California. From 1942 through
   1946, petroleum refinery waste was disposed of in twelve sumps within the McColl site. The
   twelve sumps were located in two regions of the McColl site, which cover a total area of
   approximately six acres. The sumps located in the northeast quadrant of the McColl site are
   referred to as the Ramparts (sumps R-l through R-6) sump area and the sumps located in the
   southwest quadrant of the site are referred to as the Los Coyotes (sumps L-l through L-6)
   sump area. The location of these sumps is presented in Figure 1-2.

   The sumps were unlined pits extending to a depth ranging from approximately 23 to 40 feet.
   In the 1950's and early 1960's, the inactive sumps were covered by one to five feet of
   overburden soil. The sumps in the Los Coyotes area are constructed on a northeast-trending
   ridge with a maximum relief across the sumps of about 10 feet. The sumps in the Ramparts
   area are constructed in a two-tier configuration with an approximately 20-foot high northeast-
   trending fill slope between the tiers. Maximum relief across the Ramparts sumps is about 30
   feet.

   The McColl site is currently covered with sparse grasses and a few trees. The northwestern
   portion of the McColl site has been developed into flat pads for construction trailers, storage
   yards, etc. The sump areas currently occupy vacant land.

  Developed, but open areas of the Los Coyotes Country Club golf course and Ralph B. Clark
  Regional Park border the McColl site to the south and west, respectively. The Los Coyotes
  Country Club was constructed in 1960, with a portion of the course overlying the covered Los
  Coyotes sump area. This portion of the golf course is currently closed. The developed
  portion of the Regional Park (62 acres) features picnic areas, softball fields, tennis/volleyball
  courts, and a lake.

  By 1968, residential development to the east and southeast of the McColl site boundaries had
  occurred. The closest residence is approximately 60 feet from the McColl site boundary. A
  portion of Chevron's currently active West Coyotes Hills oil field occupies an open area north
  of the McColl site, and across Rosecrans Avenue.




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   1.4        Report Organization

   This RI Report is organized to present an integrated understanding of conditions at the
   McColl site. The RI report begins with a historical perspective on hydrogeologic studies
   completed at the McColl site, and details the scope of Tasks 10.0 and 11.0 of the SOW
   (Section 2.0). The site setting is described next in Section 3.0. A discussion of regional and
   site hydrogeologic conditions is presented in Section 4.0. The spatial distribution of
   constituents in soil (Chapter 5.0) and groundwater (Section 6.0) is then presented. Chemical
   fate and transport processes are described in Section 7.0. Section 8.0 presents a summary of
   the baseline risk assessment. The final portion of the RI report presents a summary of
   conclusions (Section 9.0). References are presented in Section 10.0. RI report appendices
   present details of completed field investigations, chemical testing results, technical
   memoranda, and the quarterly monitoring program.




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                                               SECTION 2.0

                                     SCOPE OF GROUNDWATER
                                     REMEDIAL INVESTIGATION


   This section of the report presents a general description of the scope of work for both the
   historical and Task 10 groundwater RI investigations. Only the scope of the investigation is
   discussed, as the resulting field data and interpretations are presented in later sections of this
   report. Section 2.1 begins with an historical perspective of the groundwater investigations and
   groundwater sampling/testing programs conducted at the McColl site by various contractors to
   the EPA and the State of California prior to Tasks 10 and 11. The scope of Tasks 10
   (groundwater RI) and 11 (quarterly groundwater monitoring program) are then presented in
   Sections 2.2 and 2.3, respectively. Section 2.4 presents a description of investigations of the
   sump areas which are relevant to this groundwater RI.

   2.1        Previous Groundwater Investigations

   Table 2-1 presents a history of the well installation/abandonment program which was
   completed at the McColl site prior to the beginning of the Task 10 groundwater RI. Table
   2-2 summarizes the sampling history of monitoring wells constructed prior to the Task 10
   groundwater RI. A summary of this historical well program, its associated sampling
   program, and analysis of the utility of the available information is presented below.

              Historic Well Installations/Abandonments
              In 1981, during a soil boring drilling program at the McColl site, the California
              Department of Health Services (now the Cal-EPA Department of Toxic Substances
              Control (DTSC)), encountered a zone of perched water in its deepest boring
              (approximately 45 feet below ground surface (BGS)) adjacent to the R3 sump at the
              Ramparts area. Subsequently, the first monitoring well (well A-13 shown on Figure
              1-2) was completed at the McColl site and a groundwater sample was collected.
              Sulfate, arsenic, and t-butanol were detected in this groundwater sample which
              exhibited a pH of 2.8 (CH2M Hill 1987). The limited chemical test data for well A-
              13 is useful in describing the chemical quality of groundwater which was potentially in
              direct contact with McColl waste at that time. No detailed construction logs or


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              geologic data were available for well A-13 to identify the hydrostratigraphy at this
              location. Well A-13 has since been abandoned.

             In 1982, Radian Corporation installed three deep wells (W-l, W-2, W-3) to depths
             ranging from 232 to 273 feet BGS in order to investigate the deeper hydrologic
             aspects of the McColl site. Well W-2 was located north of the Ramparts area, and
             wells W-l and W-3 were located south and southeast of the Los Coyotes areas. Based
             on this investigation, Radian concluded that the hydrostratigraphic system underlying
             the McColl site was heterogeneous and fairly complicated (Radian 1983). No
             significant concentrations of chemicals were reported. Well W-2 was abandoned in
             1991 due to poor quality groundwater samples which were caused by surfactant
             contamination added during the original well installation. Well W-l was also
             subsequently abandoned in 1991 (Baguerizo 1992) due to sampling difficulties.
             Although the location of off-site well W-3 is approximately known, the street in which
             it is located has been repaved and the well head is now covered. ICF (1993) has
             recommended that well W-3 be abandoned.

             Although none of the three wells constructed by Radian Corporation are currently
             available for sampling, limited historic data from prior chemical tests of groundwater
             are available. Detailed construction logs and geologic information are also available in
             Radian's report (1983) on this investigative program. These data have been combined
             with data collected during this RI program to refine the stratigraphic model of the
             vadose zone and underlying groundwater zones.

             In late 1983 and early 1984, DTSC installed four deep monitoring wells (W-4, W-5,
             W-6B, and W-8B) and two shallow wells (W-6A and W-8A) at the McColl site
             (Figure 1-2). Water quality samples were not collected at the time of the well
             installations. These wells were first sampled in 1987 by CH2M Hill as part of an
             expanded groundwater assessment. Wells W-5 and W-6B have since been abandoned.
             The remaining four wells are still available for monitoring at the McColl site, although
             several were in need of repair and maintenance. Wells W-4, W-6A, and W-8B were
             repaired by ICF in 1994 due to poor condition or bent and cracked casings. Although
             boring logs documenting the drilling of these wells are available, the logs were based
             on very limited soil sampling and therefore provide insufficient stratigraphic
             information to characterize any groundwater zonation. The construction of these
             wells by DTSC is not documented by any well completion logs and may not have
             been in accordance with standard well construction practices. The chemical data from
             these wells, therefore, may be used only for limited purposes. A further discussion of

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              the condition of existing wells and recommendations for maintenance, repair, and
              rehabilitation are provided in Table 7-2 of the ICF report (1993).

              In early 1987, CH2M Hill under contract to EPA, installed six deep wells (P-1D
              through P-6D) and three shallow wells (P-3S, P-5S, and P-6S) (see Figure 1-2) during
              an expanded groundwater assessment at the McColl site. No formal well construction
              logs or detailed geologic logs are available from this drilling program. Geophysical
              logs of selected wells from this drilling program are available.

              These wells constructed by CH2M Hill and all other monitoring wells existing at that
              time were sampled in 1987 by CH2M Hill for organic and inorganic parameters. The
              purpose of this sampling program was to characterize groundwater quality and assess
              the potential for any impact of chemicals on the beneficial uses of potable
              groundwater in the deeper groundwater zones. In addition, the rates and directions of
              the deeper groundwater zones were evaluated. In this investigation, traces of three
              THT compounds were detected in one deep well, P-2D. Elevated concentrations of
              organic parameters (Total Organic Carbon and Chemical Oxygen Demand) were also
              reported in groundwater in a few wells. The report by CH2M Hill (1987) provided
              the first systematic evaluation of the potential impact of the McColl site on
              groundwater quality. However, the information available in CH2M Hill's report is
              based on very limited data. All the wells constructed by CH2M Hill are still present
              and are suitable for groundwater monitoring.

             As a follow-up to the original CH2M Hill (1987) investigation, groundwater samples
             were again collected by CH2M Hill in January 1988 for analysis by EPA's National
             Enforcement Investigation Center (NEIC). NEIC was also asked to develop analytical
             methodologies for detecting organic compounds associated with McColl waste, in
             particular the THT compounds. During this sampling event, NEIC reported 19
             micrograms per liter (/ig/L) of tetrahydrothiophene in groundwater samples collected
             from the original well P-2D. Organic constituents that may be characteristic of the
             McColl site were not consistently detected in other wells in the deeper groundwater
             zones throughout the sampling history of well P-2D. The inconsistency of the
             detection of tetrahydrothiophene in well P-2D, but not in other deep wells on-site
             made the sampling results suspect, possibly due to faulty well construction. The
             driller's notes and the geophysical logs also indicate well P-2D may have been
             damaged during construction. For these reasons, in late 1994 during the Task 10 field
             investigation, U.S.EPA directed that well P-2D be replaced by well P-2D(R) and the


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              original well be abandoned. ENVIRON performed these construction and
              abandonment activities under the direction of MSG and U.S. EPA.

              Sampling of groundwater from five wells at the McColl site was also conducted by
              DTSC in 1988. The analytical results confirmed the anomalous presence of THT
              compounds in original well P-2D. No other significant detection of constituents of
              McColl waste was noted. An analysis of the data produced by DTSC during this
              program indicates several sampling results are inconsistent with groundwater quality
              results reported both previously and then later by EPA contractors. In addition, no
              formal laboratory reports or quality control data were published by DTSC supporting
              these chemical analyses. These data, therefore, are of limited utility in describing
              groundwater conditions at the McColl site.

             In June 1988, Ecology and Environment (E&E) installed three upgradient wells (W-
             9B, W-9C, and W-l OB). E&E provided detailed construction logs of these wells
             which assist in the correlation of stratigraphy and groundwater zonation.

             Historic Groundwater Sampling Program
             Prior to the start of the Task 10 groundwater RI program, a total of twenty-two
             monitoring wells had been installed in association with McColl groundwater
             investigations. As noted in Table 2-1, seven of these wells have been subsequently
             abandoned. These monitoring wells and their historic sampling dates are listed in
             Table 2-2. Of these twenty-two wells, five wells (W-6A, W-8A, P-3S, P-5S, and P-
             6S) were screened at a depth of less than 110 feet BGS. The remaining seventeen
             wells were screened at depths ranging from 216 to 320 feet BGS.

             Following the construction of the new upgradient wells by E&E, EPA began a
             program of regular testing of groundwater quality at the McColl site. The first of
             these sampling programs was performed in June 1989. Additional sampling programs
             were performed thereafter on approximately a quarterly to semiannual interval. The
             last reported sampling round under this EPA program was in December 1992.

             Historic Water Quality
             The groundwater quality monitoring program initiated by EPA in 1989 provides the
             first comprehensive and systematic groundwater quality data collection program for the
             McColl site. Sampling and testing of groundwater under this program has followed a
             detailed sampling and analysis plan, and all reported data has undergone a detailed


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              data validation review. Further information on the findings of the sampling events is
              provided below.

              EPA conducted two rounds of groundwater sampling at McColl during June 1989 and
              January 1990. The two sampling rounds confirmed the anomalous presence of THT
              compounds in original well P-2D (EPA 1990).

              Bechtel Environmental, Inc. (Bechtel) conducted two rounds of quarterly monitoring
              under the direction of EPA during June and October 1990. Bechtel reported the
              detection of certain semi-volatile compounds (SVOC's) in wells W-2, W-4, and W-6B
              in the June sampling event. However, some of these same compounds had also been
              detected in prior tests of groundwater in wells upgradient of the McColl site. The
              analytical results of the October 1990 event indicated elevated metals concentrations in
              both shallow and deep monitoring wells, including levels of chromium (72.8 ^g/L) and
              lead (398 ^g/L) above the maximum contaminant level (MCL) in well W-4 (Bechtel
              1991). During these sampling rounds, the sampling protocol for metals was changed
              to test for unfiltered (total) metals which probably led to the elevated total metal
              detections in some wells. Previously, all samples for metals analyses were filtered.

             During 1990, a number of wells in which elevated metals concentrations were
             reported (e.g., wells P-5S, P-6S, and background well W-10B) also exhibited
             elevated turbidity. Total chromium concentrations in P-5S and P-6S ranged
             from 1220 to 5620 /ug/L during this period. The presence of turbidity in these
             samples suggests a construction flaw in the wells and/or the need to better
             develop or purge the well prior to sampling in order to obtain a sample more
             representative of the groundwater system. Wells P-5S and P-6S continue to
             yield turbid samples in the 1994 through 1995 sampling program, and coarse
             sand is often noted in the bailer for well P-6S. The presence of this turbidity
             and possible sand pack has likely increased the metals concentrations in these
             wells beyond concentrations representative of the groundwater zone. THT
             compounds were detected in groundwater collected from original well P-2D in
             both the June and October 1990 sampling rounds.

             EPA conducted three rounds of groundwater monitoring during January, April, and
             August 1991. EPA reported the anomalous presence of THT compounds in
             groundwater from original well P-2D at low concentrations consistent with previous
             results. Wells P-5S and P-6S continued to show elevated levels of total chromium,
             ranging from no detection to 2170 ^ig/L, along with elevated turbidity. Lead and

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              chromium were not detected in groundwater collected from well W-4, although these
              inorganics had been detected previously.

              ICF Kaiser conducted four rounds of groundwater sampling in December 1991, and
              March, July, and December 1992. The results of these sampling rounds indicate the
              anomalous presence of THT compounds in original well P-2D. Elevated levels of total
              chromium ranging from 204 to 13,300 jig/L, and high turbidity were again detected in
              shallow well P-5S. Elevated levels of total arsenic ranging from 22.9 to 25.7 /ug/L
              were detected in groundwater collected from well W-4 at levels similar to past
              sampling events. The sampling report for the December 1992 sampling event has not
              been provided by EPA for review.

  As discussed previously, the historical hydrogeologic and water quality data from the McColl
  site is of varying utility. The lack of consistent and accurate logging of the boreholes and
  reporting of well construction represents a data gap. The water quality data collected at the
  McColl site is extensive and provides information on groundwater upgradient, underlying, and
  downgradient of the McColl site. The water quality data collected prior to the Task 11
  quarterly monitoring program represent substantial information to support the groundwater RI.

  2.2        Task 10 Groundwater Investigation

  As discussed earlier in Section 1.1, the scope of the Task 10 groundwater RI was first
  proposed in the Work Plan. Modifications from the original scope of work presented in the
  Work Plan were approved by U.S.EPA in Technical Memoranda Nos. 10-1 through 10-21
  (Appendix F). The Task 10 groundwater RI included two phases of field investigation, as
  follows:

             Phase I: Phase I consisted of a cone penetrometer testing (CPT) program in the
             shallow sediments to the south (downgradient) of the Los Coyotes and Ramparts
             sump areas. The purpose of the CPT program was to investigate the nature of the
             shallow sediments to the south of the sump areas and to identify areas of perched
             water (if any). This information was to support an evaluation of the sufficiency of the
             existing perched zone monitoring program.

             Phase II: Phase II consisted of drilling ten continuously cored pilot holes south of the
             sump areas. The pilot holes were geophysically logged along with the existing
             monitoring wells to provide a consistent database. Eight new monitoring wells were


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               installed at total depths ranging from 27 to 260 feet BGS. At EPA's request, well P-
               2D was abandoned and replaced by well P-2D(R).

   Further information regarding these two phases of field investigation is presented below:

               2.2.1      Phase I

              The primary activity of the Phase I field investigation was performance of a cone
              penetrometer survey (CPT) to establish the boundary and source of water (if any) to
              the shallow perched zones (depth of 40 to 80 feet) as preliminarily identified by wells
              P-3S, P-5S, and P-6S south of the Los Coyotes and Ramparts sump areas. Phase I
              also included investigation of whether waste constituents (if any) from the McColl site
              sump areas had impacted shallow groundwater. The CPT survey provided a
              continuous log of some physical properties of the soil at each location, and an
              interpretive log of the soil types.

              Pore pressure dissipation tests were also performed in order to search for
              potentially saturated intervals and evaluate their permeability. Grab samples of
              groundwater were proposed to be collected by the CPT drilling technique using
              a BAT sampler according to protocol established in the Work Plan.

              The scope of work and procedures applied during Phase I were initially described in
              the Work Plan. Three Phase I scope modifications were approved by U.S.EPA
              through submittal of TM's during implementation of the CPT program, as follows:

                                     TM10-1: The experimental CPT pH probe was not used due to
                                     problems encountered with the prototype.

                                     TM10-2: Chemical analyses on groundwater samples were prioritized in
                                     the event groundwater recharge was slow and sample volume was
                                     limited.

                                     TM 10-3: Saturated conditions were not present at most CPT locations,
                                     resulting in the retrieval of only one groundwater grab sample despite
                                     31 attempts.

              Also, the maximum target depth could not be reached at all locations because of the
              unanticipated presence of cemented caliche layers which were impenetrable to the CPT

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              rig. However, as described later, the Phase II pilot hole program provided the
              necessary information for these locations. Appendix F presents approved TM10-1
              through 10-3.

              The CPT investigation took place from March through April 1994, and was completed
              by Earth Technology Corporation under the direction of an ENVIRON geologist.
              Appendix E presents a tabulation of the results of the Phase I field investigation and a
              compilation of the CPT data. Twenty-six CPT tests to an average depth of 48 feet,
              and a maximum depth of approximately 90 feet were performed along the periphery of
              the two sump areas, as identified in Figure E-1 of Appendix E. To supplement the
              stratigraphic information obtained with the CPT data, piezometric pressure dissipation
              tests were also conducted as documented in Table E-2 of Appendix E. One
              groundwater grab sample (Table E-l) was retrieved at the then future location of well
              P-2S.

             The Draft Phase I Report (May 19, 1994) presents the preliminary findings of the
             Phase I investigation, along with descriptions of field procedures, laboratory analytical
             reports, discussion of data quality, and recommendations for modifications to the Phase
             II scope of work. To respond to agency comments on the Draft Phase I Report,
             errata sheets were later forwarded to the agencies (Response to EPA's and DTSC's
             Review Comments August 5, 1995). The results of the Phase I investigation as it
             pertains to the groundwater RI are discussed in Sections 4.3.1, 4.3.2, and 5.0 of this RI
             report.

             2.2.2       Phase II

             The initial scope of work as proposed in the Work Plan, is presented below. However,
             the initial scope of work was modified during the actual field investigation, and these
             modifications are presented in the subsequent subsection entitled Modified Scope of
             Work.

                        Scope of Work Proposed in Work Plan
                        The original purpose of the Phase II activities, as presented in the Work Plan,
                        was to determine whether historic or current perched zones exist beneath and
                        south of the McColl site which could represent pathways for constituents of
                        McColl waste (if any) to migrate from the sump areas to the deep aquifer, as
                        theorized by ICF (1993). (At the time of the Work Plan, the "deep aquifer"
                        south of the McColl site was defined as the groundwater zone screened by

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                          existing wells P-2D, P-3D, P-4D, P-5D, and P-6D.) The principal investigative
                          tool proposed to complete this work involved drilling with a resonance sonic
                          (RS) technique and continuously sampling soil from ground surface to the top
                          of the deep aquifer, south of the McColl site. Six RS pilot holes were
                          originally proposed as identified in Figure 2-1. Pilot holes located adjacent to
                          wells P-3D (identified as PH-2) and P-5D (identified as PH-4) were proposed
                          to be deepened by hydraulic rotary drilling methods to a depth approximately
                          80 to 100 feet below the potentiometric surface of the deep aquifer.

                          At the time of the Work Plan, the soil between ground surface and the deep
                          aquifer was assumed to be moist, but not fully saturated. Therefore,
                          installation of six neutron log access tubes was also proposed in the Work Plan
                          to monitor soil moisture conditions in the deeper vadose zone south (downdip)
                          of the McColl site. Four rounds of quarterly neutron logging were then
                          proposed.

                          The following monitoring wells were proposed in the Work Plan:

                                     •   Up to four monitoring wells in the shallow perched zone south
                                         of the McColl site, if CPT-based sampling indicated the presence
                                         of constituents potentially migrating from the sump areas.

                                         Two monitoring wells in the deep aquifer adjacent to wells P-3D
                                         and P-5D.

                                     •   Up to three deep monitoring wells to be located approximately
                                         300 to 500 feet south of the McColl site.

                                         Up to three monitoring wells in the deep "regional" aquifer south
                                         of the McColl site. (However, the understanding of the existence
                                         of a "regional" aquifer was very preliminary at the time of the
                                         Work Plan.)

                         Additionally, geophysical logging of the pilot holes, newly installed wells and
                         existing wells where feasible, was proposed. Aquifer pump tests were proposed
                         in the deep regional aquifer in the P-3D/P-5D well nests.



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                          Modified Scope of Work
                         The actual Phase II scope of work represented a modification of the scope of
                         work presented in the Work Plan. Modifications were necessitated by the
                         discovery during the pilot hole program of three groundwater flow units
                         between ground surface and the deep aquifer, instead of the moist, unsaturated
                         sediment originally assumed in the development of the Work Plan. Monitoring
                         of these three groundwater flow units with wells replaced the need for the
                         neutron logging program (TM10-11) proposed in the Work Plan. The number
                         and location of the remaining pilot holes and monitoring wells installed during
                         the Phase II program, was optimized based on the stratigraphic, chemical
                         testing, and water level measurements obtained from the pilot hole program as
                         documented in approved TM10-7, TM10-8 through TM10-10, TM10-14 and
                         TM10-15.

                         The aquifer pump testing program for the P-3D and P-5D well nests was
                         eliminated (TM10-16) to avoid increasing the hydraulic gradient between the
                         groundwater flow units along the southern boundary of the site, and thereby to
                         avoid increasing the potential for constituent migration across flow units.

                        Slight modifications to the drilling and sampling methodologies were proposed
                        to better adapt to site conditions (TM10-4 through TM10-6, TM10-7, TM10-13,
                        TM10-17, and TM10-19).

                        An additional program of groundwater sampling was approved
                        by U.S. EPA in TM10-20 for wells P-2I, P-4I, P-9D, P-10D, and
                        P-5L. In addition to the chemical analyses performed in the
                        quarterly monitoring program, groundwater samples from these
                        wells were analyzed for organic acids, methane, hydrogen
                        sulfide, titratable acidity, dissolved oxygen, ferrous iron, and
                        bromide. The purpose of these analyses was to further define
                        the geochemical environment underlying the site in order to
                        better understand fate and transport processes.

                        In order to confirm the representativeness of groundwater
                        samples obtained from newly constructed well P-10L and to
                        evaluate hydraulic properties of the "C" flow unit, a step
                        drawdown test and an aquifer test was proposed in TM 10-21 and
                        approved by U.S. EPA. These tests are scheduled to be

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                         performed in January 1996, and the results will be presented in
                         an addendum to the RI report.

                         More detailed explanations for the modifications to the original scope of work
                         are presented in approved TM10-4 through 10-21 (Appendix F). The following
                         Phase II field activities, as modified by the Technical Memoranda, have been
                         completed:

                                        Drilling and continuously coring ten pilot holes (PH-1 through
                                        PH-10) as presented in Figure 2-1 and summarized in Table 2-3.

                                    •   Installation of monitoring wells P-2S, P-2I, and P-4I in shallow
                                        perched groundwater flow units underlying the McColl site to
                                        depths ranging from approximately 27 to 139 feet bgs.

                                        Installation of monitoring wells P-5I (97 feet bgs) and P-5L (210
                                        feet bgs) in a cluster with existing monitoring wells P-5S and P-
                                        5D, southeast of the McColl site on Fairgreen Drive.

                                        Installation of well P-9D approximately 450 feet south of the
                                        McColl site at a total well depth of approximately 239 feet bgs.

                                        Installation of wells P-10D and P-10L in a cluster 450 feet
                                        southwest of the McColl site to a total well depth of 200 and
                                        260 feet bgs, respectively.

                                        Replacement of well P-2D with well P-2D(R). Well P-2D was
                                        subsequently abandoned after chemical testing of both wells
                                        indicated well P-2D(R) was a suitable replacement well.

                        Table 2-4 presents a well construction summary. Section 4.3 of this report will
                        discuss the specific groundwater zonation of these wells.

                        Appendix A provides the details of the pilot hole and well installation program.
                        During the pilot hole program, continuous core was obtained and logged by
                        ENVIRON geologists. Selected soil samples were retained for physical testing,
                        pH, sulfate, TOC and VOC's (including THT compounds) analyses. Soil
                        samples were selected for testing if there was field evidence of discoloration, an

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                         odor, or if the organic vapor analyzer (OVA) detected measurements above
                         background. Appendices C and D present the results of the pilot hole physical
                         testing program.

                         Geophysical logging was performed on pilot holes PH-1 through PH-10 in
                         order to supplement direct soil observations and to assist in correlation of
                         stratigraphy. Where possible, geophysical logging was also performed on
                         existing monitoring wells (Table B-l), Appendix B summarizes the
                         geophysical logging program and presents the geophysical logs obtained during
                         the Phase II program. Cased pilot holes and wells which did not contain
                         drilling fluid were logged with natural gamma tools. Pilot holes drilled by mud
                         rotary techniques were logged by natural gamma and a suite of electric logs.
                         Existing monitoring wells were logged with natural gamma.

                         Groundwater grab samples were collected at pilot holes PH-4, PH-8, and PH-10
                         using methods described in the Work Plan. The grab samples were analyzed
                         for pH, conductivity, temperature, sulphate, TOC, and VOC's (including THT
                         compounds). Table 2-6 summarizes the groundwater grab sample program and
                         Appendix B presents the groundwater grab sampling results.

                        As presented in U.S.EPA-approved TM10-18, a preliminary study of the Task
                         10 field investigation results was proposed to evaluate the completeness of the
                        field program. This study was described as a "data integration" study, and
                        resulted in the finalized report Supplemental Work Plan (Revised), Groundwater
                        Remedial Investigation/Feasibility Study (ENVIRON June 22, 1995). This
                        report identified only one data gap significant to the objectives of the Task 10
                        RI. Evaluation of the groundwater level and concentration of constituents (if
                        any) in the groundwater zone immediately below well P-10D was
                        recommended. Construction and sampling of monitoring well P-10L (as
                        described previously) was proposed and completed to eliminate that data gap.

  An interpretation of the results of the Phase II field investigation, including the construction
  and sampling of well P-10L, is presented in RI report sections 4.0 through 9.0.




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   2.3        Task 11 Quarterly Groundwater Program

   As required by Task 11 of the Order, a four quarter program of groundwater monitoring was
   coordinated with the Task 10 groundwater RI. The sampling dates and resulting reports for
   the four quarters of groundwater monitoring are as follows;

             First Quarter Sampling Period: Previously existing monitoring wells were sampled
             in September 1994. Newly installed monitoring wells were sampled in November and
             December 1994. The First Quarter monitoring report was released on March 2, 1995
             (ENVIRON).

             Second Quarter Sampling Period: All monitoring wells (with the exception of well
             P-10L which had not yet been constructed) were sampled in January 1995. The
             Second Quarter monitoring report was released on April 20, 1995 (ENVIRON).

             Third Quarter Sampling Period: All monitoring wells (again with the
             exception of well P-10L) were sampled in April 1995. The Third Quarter
             monitoring report was released on July 27, 1995 (ENVIRON).

             Fourth Quarter Sampling Period: All monitoring wells, including well P-
             10L, were sampled in July 1995. Well P-10L was sampled a second time in
             August 1995 in order to validate its initial sampling results. The Fourth
             Quarter monitoring report was submitted to U.S. EPA on November 30, 1995.
             This monitoring report also presented a summary of the four quarter sampling
             program. Appendix H presents a summary table (Table H-l) of the chemical
             results of the Task 11 sampling program.

  All groundwater monitoring activities were conducted in accordance with the Groundwater
  Monitoring and Analysis Plan presented in Appendix A of the Routine Groundwater
  Monitoring Analysis/Recommendations Report and Work Plan (herein referred to as the SAP).
  The SAP was not altered during the monitoring program, with the exception of a retroactive
  modification of the quantitation limits for benzene and 1,2-dichloroethane from 2 ^g/L to
  their respective state Maximum Concentration Limits of 1 /ng/L and 0.5 /^g/L. Data validation
  was performed in accordance with procedures outlined in the Quality Assurance Project Plan
  presented in Appendix B of the Routine Groundwater Monitoring Analysis/Recommendations
  Report and Work Plan (herein referred to as the QAPP).




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   Prior to the First Quarter (1994) sampling period, a total of seven monitoring wells (wells P-
   2S, P-2I, P-4I, P-5I, P-10D, P-5L, and P-9D) were installed during the RI program at the
   McColl site. Well P-10L, which was first proposed in the Supplemental Work Plan (June 22,
   1995), was not installed until the Fourth Quarter sampling period. As requested by U.S.EPA,
   existing monitoring well P-2D was abandoned and replaced by well P-2D(R). However,
   during the First Quarter sampling program, wells P-2D(R) and P-2D were both sampled to
   ensure that well P-2D(R) was a suitable replacement well.

   The new wells were incorporated with the fifteen pre-existing wells (Table 2-4 and Figure 2-
    1) to form a groundwater monitoring network of 24 monitoring wells. The "A", "B", "C",
   and "D" flow unit designations in Table 2-4 refer to the four groundwater flow units
   identified by ENVIRON during the groundwater RI investigation. The "A" flow unit refers to
   the shallowest groundwater zone and the "D" flow unit refers to the deepest groundwater zone
   monitored at the McColl site. The monitoring program of the "D" flow unit includes three
   background wells (wells W-9B, W-9C, and W-l OB). A detailed explanation of these flow
   units will be presented in Section 4.0 of this report.

   During the first day of each quarterly sampling period, water levels were measured in each
   well of the monitoring program. Groundwater samples were then collected and analyzed for
   the following constituents: volatile organic compound (VOC'S), THT compounds,
   semivolatile organic compounds (SVOC's), metals (total and dissolved), and a number of
   general chemistry and water quality parameters in accordance with requirements of the SAP
   and QAPP. The analytical parameters and test methods are presented in Table 2-5. All
   chemical analyses were performed in accordance with procedures set forth in EPA's Contract
   Laboratory Program (CLP). Parameters not routinely tested under CLP were analyzed using
   procedures set forth in Test Methods for Evaluating Solid Waste (EPA SW-846, Final Update
   1992), Methods for the Chemical Analysis of Waters and Waste: EPA-600/4-79-020 (EPA
   March 1983), and Methods for the Determination of Inorganic Substances in Environmental
   Samples: EPA-600/R-93/100 (EPA August 1993).

   The results of this monitoring program are discussed in Sections 4.4 and 6.0 of this RI report.

  2.4        Investigations of Sump Areas

  The five major material types present in sumps at the McColl site are as follows:

                        Soil.
             •          Tarry materials.

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                         Char lenses.
              •          Drilling mud.
                         Mixtures of soils with tars, chars, and drilling muds.

   The predominant type of waste is a hard, black char waste which may be characterized by low
   pH, an elevated sulfur content, elevated metal concentrations, and the presence of THT
   compounds and a few organic chemicals. Two investigations of the sump areas have been
   performed, including collection and analysis of soil and waste samples by EPA in 1987; and
   performance of the Task 2.0 sump investigation by MSG as described in the SOW of
   Administrative Order Number 93-21. The results of these two sump investigations are briefly
   summarized below.

             1987 Sump Investigation by EPA
             In 1987, EPA collected and analyzed soil and waste samples from within and
             around the twelve sumps at the McColl site. The data were presented in the
             1987 Field Report for the McColl site (CH2M Hill 1987), and constitutes the
             principal data used in the report Baseline Risk Assessment for the McColl
             Superfund Site, Groundwater Operable Unit (ICF Technology November 1995)

             A total of ninety-one samples of soil and sump materials were collected from ten
             borings advanced within six Los Coyotes area sumps, and nine soil borings advanced
             within the six Ramparts area sumps. An additional seventeen soil borings were located
             short distances (less than fifty feet) outside the sump margins. Two background soil
             borings were placed northwest of the parking lot.

             A subset of soil and sump samples collected were submitted for laboratory analysis to
             characterize constituents within the sumps and surrounding soils. The samples were
             segregated in the field into four types: soil, waste, mixed soil and waste, and drilling
             mud. The samples were analyzed for VOCs, SVOC's, and priority pollutant metals.
             A total of twelve VOC compounds (Table 2-7) , the THT compounds, and sixteen
             inorganic constituents (Table 2-8) were detected in at least five percent of the soil and
             sump sample set submitted for laboratory analysis. These detections represent an
             overly conservative estimation of the suite of constituents potentially existing within
             the sump areas because the list includes J- and B- qualified data, and no determination
             of background values for natural soils is included.




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              Task 2.0 Definition of Sumps Investigation
              As required in Task 2.0 of the Order, MSG performed a Definition of Sumps
              Investigation which included the following objectives:

              •          Definition of sump boundaries.
              •          Definition of char/soft material interface.
                         Definition of sump (char) depth.

              These project objectives were obtained with the following field testing methods
              within the sump areas:

                         Hollow-stem auger boring.
                         Hydraulically-pushed boring.
              •          Cone penetrometer when the sounding log differentiated material types.

   The results of this investigation are presented in the Task 2.3 Sump Definition Report. The
   investigation indicates an uppermost char material lense exists at a depth of approximately
   three to seventeen feet below ground surface within the Los Coyotes and Ramparts sump
   areas. The bottom of the char lense varies from a depth of thirteen to thirty-five feet below
   ground surface.

  Evaluation of sump material indicate that most of the Los Coyotes sump areas contain lenses
  which consist of less than fifteen percent char and tar. Sump LI (Figure 1-2) contains a lense
  with greater than sixty percent char and tar, while sumps L-3 through L-6 contain lenses
  consisting of fifteen to thirty percent char and tar, and thirty to sixty percent char and tar.
  The Rampart sumps include lenses of char and tar which range from less than fifteen percent
  to greater than sixty percent. Drilling muds appear in sumps R-l, R-2, R-3, and R-4.




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                                             SECTION 3.0

                                            SITE SETTING


   This section of the report provides a general description of the site setting, as it is relevant to
   the groundwater RI. Section 3.1 presents a discussion of the topography and surface drainage
   of the region surrounding the site. The climate of Orange County is discussed in Section 3.2.
   Demographics and land use of the area surrounding the site is presented in Section 3.3.

   3.1        Topography and Surface Water

   The McColl site is situated on the lower portion of the south side of the east-west trending
   West Coyote Hills at a median elevation of approximately 300 feet above mean sea level
   (MSL). The overall slope across the McColl site is generally from the northeast to the
   southwest, with a maximum relief across the site of approximately seventy feet. Figure 3-1
   presents the site topography and surface drainage.

   The slope of the Ramparts sump area is generally to the southeast and in the Los Coyotes area
   slope is to the southwest. The sumps in the Los Coyotes area are constructed on a northeast-
   trending ridge with a maximum relief across the sumps of about ten feet. The slopes along the
   east side of the Los Coyotes area decline to a drainage swale along the property line.

   The sumps in the Ramparts area are constructed in a two-tier configuration with an
   approximately twenty-foot high northeast trending fill slope between the tiers. Maximum
   relief across the Ramparts sump area is approximately thirty feet. However, there is a five to
   fifteen foot high fill slope along the southeastern boundary declining to the residential tract,
   and a ten to fifteen foot high fill slope along the northeastern boundary rising to Sunny Ridge
   Drive. A fifteen to twenty foot high cut slope declines to Rosecrans Avenue along the
   northern boundary of the Ramparts area.

  Two drainage swales along the eastern and western perimeter of the McColl site drain surface
  waters generally to the south. Figure 3-1 presents these swales. At the southeastern edge of
  the lower Ramparts sump area, located ten feet below a steeply sloped berm, lies a man-made
  drainage swale that diverts site runoff to the southwest and south. The second drainage swale,
  located to the west of the Los Coyotes and Ramparts sump areas, drains surface waters to the
  southwest and south. Review of aerial photos taken in 1940 indicate drainage features existed

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    in these general areas prior to development of the sump areas. The drainage patterns of these
    paleochannels are slightly different from current conditions due to subsequent filling and site
    grading, as indicated in Figure 3-1. These drainage swales are dry most of the year, flowing
    for only a few hours to days following a heavy rainfall period in the winter months.

   3.2         Meteorology

   The climate of the McColl site and surrounding Orange County is classified as dry-summer
   subtropical, also known as a Mediterranean climate (Lutgens and Tarbuck, 1979). The typical
   climate in Southern California is semi-arid with sparse rainfall, most occurring in the winter
   months. Summers are hot, tempered by cool sea breezes. The annual average temperature in
   this region is 65 degrees Fahrenheit, based on the annual average temperature at Los Angeles,
   California.

   The predominant wind pattern in Southern California consists of onshore breezes during the
   day and offshore land breezes at might. The daily reversing flow occurs throughout the year,
   but is most persistent in the summer (Keith 1980). The diurnal wind pattern occurs mostly
   along a southwest-northeast axis with prevailing southwesterly winds during the day and
   northeasterly winds during the night.

   3.3        Demographics and Land Use


   The McColl site is presently zoned for one-family residential restricted. The areas
   surrounding the site are zoned as follows (City of Fullerton, 1990):

                         North of Rosecrans Avenue: Planned Residential Development.

              •           East of Gilbert Street: Office-Professional.

              •          East of Gilbert Street (southeast of site): One-family residential restricted.

                         West of site: One-family residential.

                         South of site: One-family restricted.

   All available land surrounding the McColl site has been developed, and the City of Fullerton
   provides municipal water to all residences. Residential homes are located adjacent to the Site
   on the east and south with the nearest home located approximately 60 feet from the McColl

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   site boundary. A reported population of 99,714 resides within a 2.5 mile radius of the
   McColl site (USCB 1990). This census tract covers Los Angeles and Orange Counties.

   Two large tracts of land near the McColl site are used for recreation, including the Los
   Coyotes Country Club golf course immediately south of the site and the Ralph B. Clark
   Regional Park to the west. A portion of the golf course, which historically included the sump
   areas, is currently closed.




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                                              SECTION 4.0

                                            HYDROGEOLOGY


   This Section begins with a description of the regional system, including the geology,
   hydrology, and water use of the region surrounding the McColl site. Section 4.2 then
   provides an overview of the relationship of the sediments underlying the McColl site to the
   regional hydrogeology. The information presented in Section 4.2 is graphically portrayed by
   the cross-sections accompanying this report (Figures 4-1 through 4-6). Figures 4-7 through 4-
   9 present structure maps of the various clay aquitards. Section 4.3 presents a detailed
   description of the groundwater flow units underlying the McColl site and Section 4.4
   describes the water levels and resulting flow patterns within these flow units. The
   information presented in Sections 4.3 and 4.4 is graphically portrayed in a groundwater
   recharge location map (Figure 4-10) and water level maps of the "B", "C", and "D" flow units
   (Figures 4-11 through 4-13).

   4.1       Regional System

             4.1.1       Regional Geology

             Orange County
             The Coastal Plain region of Orange County is underlain by a deep structural
             depression containing primarily sedimentary rocks, which reach a total thickness in
             excess of 20,000 feet. In a practical sense, only about the upper 4,000 feet of
             sediments are of importance as a fresh-water-bearing reservoir. These basin deposits
             are generally hybrid marine and continental deposits. The rapid rate of deposition of
             the basin sediments, accompanied by folding and faulting, has resulted in marked
             variations in the lithology, continuity, and thickness of sedimentary units within the
             basin. A considerable part of the sedimentary section that was deposited has been
             removed by erosion, resulting in numerous unconformities and stratigraphic
             discontinuities. Considering the complex depositional environment, regionally
             correlating individual stratigraphic units can be difficult (DWR July 1967).




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              The water-bearing deposits underlying Orange County, California are unconsolidated
              or semiconsolidated alluvial sediments that are Quaternary in age. The deeper and
              older Tertiary and basement rocks are essentially non-waterbearing. Table 4-1 presents
              a generalized stratigraphic column of the Quaternary water-bearing sequences of
              Orange County based on Progress Report on Ground Water Geology of the Coastal
              Plain of Orange County (DWR July 1967) and slightly updated based on USGS
              Professional Paper 420-C (Yerkes 1972).

             La Habra and Coyote Hills Formations
             As depicted in Table 4-1, the shallowest sediment in the region surrounding the
             McColl site belongs to the La Habra Formation which is an Upper Pleistocene deposit.
             The sediments in this Formation were deposited in a non-marine floodplain and fluvial
             environment. This depositional environment indicates sedimentary units within the La
             Habra Formation are likely thin, regionally non-continuous, fine-grained with many
             clay and silt units interbedded with the coarser grained units.

             The next deepest geologic unit is the Lower Pleistocene Coyote Hills Formation. The
             sediments in this Formation were deposited in a non-marine fluvial environment. This
             depositional environment indicates sedimentary units will generally be coarse-grained,
             well-sorted, and thick.

             San Pedro Formation
             The San Pedro Formation is also a Lower Pleistocene deposit, which is deeper and
             slightly older than the Coyote Hills Formation. The sediments in this Formation were
             deposited as shallow to deep marine sands. This depositional environment indicates
             sedimentary units that will generally be coarse-grained, massive, and regionally
             continuous.

             4.1.2      Regional Hydrogeology

             The shallower water-bearing deposits of the La Habra and Coyote Hills Formations
             consist of "numerous semiperched aquifers of limited extent" (DWR July 1967). The
             limited extent of these aquifers is probably due to a limited recharge area and the lack
             of continuity in the coarser-grained deposits of these Formations.

             The Department of Water Resources (DWR) identified a high yield aquifer (DWR July
             1967) at the base of the San Pedro Formation. This high yield aquifer was designated
             the "main" aquifer as indicated in Table 4-1. This "main" aquifer consists of massive

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               sequences of coarse sand and gravel, interbedded with lenses of silt and clay.
               Contours of the top elevation of this "main" aquifer in the San Pedro Formation are
               provided in Figure 4-14, and are based on Plate 5 of Progress Report on Ground
               Water Geology of the Coastal Plain of Orange County ( DWR July 1967). This
               "main" aquifer is more continuous and much thicker across Orange County than the
               shallower water-bearing strata of the La Habra and Coyote Hills Formations. A
               substantial and primary area of recharge to the "main" aquifer is in the vicinity of the
               Santa Ana River channel at the base of the Santa Ana Mountains. Groundwater within
               this "main" aquifer regionally flows from the Santa Ana Mountains to the Pacific
               Ocean. Groundwater levels generally vary between 40 and 60 feet MSL within the
               "main" aquifer of the San Pedro Formation in the general region of the McColl site.
               These groundwater levels are based on an extrapolation by ENVIRON of water levels
               presented in OCWD's 1992-93 Engineers Report. The extrapolation was judged
               reasonable based on the common recharge area of the Santa Ana Mountains for
               groundwater within the San Pedro Formation and the massive nature of San Pedro
               sediments.

               4.1.3 Water Use

              The water rights in the Orange County groundwater basin are non-adjudicated;
              however, no domestic or irrigation supply wells were identified by ENVIRON or the
              Orange County Water District in the immediate vicinity of the McColl site.
              Information received from the City of Buena Park, the City of Fullerton, and the
              Orange County Water District (OCWD) regarding municipal water supply wells
              nearest the McColl site indicate only two wells are within seven thousand feet of the
              site. City of Fullerton's new well Coyote 12a was identified as the closest potential
              production well to the McColl site at a distance cross-gradient from the McColl site of
              approximately three thousand feet to the southeast. (However, according to recent
              conversations with OCWD, well Coyote 12a may not be put into production. ) The
              next closest production well is the City of Buena Park's Smith-Murphy well which is
              located approximately seven thousand feet to the southwest. Figure 4-15 presents a
              schematic of the relative construction of these two municipal supply wells. The
              relationship between these wells and the McColl site monitoring well system will be
              discussed later in Section 4.4.5.

              The Smith-Murphy production well is geothermal with an approximate groundwater
              temperature of 87 degrees Farenheit. Temperatures in shallow groundwater systems
              in this area are typically around 15 to 25 degrees Centigrade. Groundwater can be

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              expected to increase approximately 3 degrees Centigrade for every 325 feet of depth
              below ground surface due to the geothermal gradient of the earth's crust. Considering
              the Smith-Murphy production well is approximately one thousand feet deep, only an
              eight degree Centigrade increase in temperature would be expected due to this natural
              temperature gradient. The geothermal conditions at the Smith-Murphy well indicate
              groundwater upwelling from the nearby Norwalk Fault zone to the north or a system
              of short faults to the southwest may provide the geothermal waters to this production
              well (Geothermal Surveys March 13, 1981). The production rate of this well is
              approximately 2100 gallons per minute (gpm) (Conversation with OCWD May 1995).

             Groundwater pumped from well Coyote 12a has a field temperature of approximately
             26 degrees Centigrade. This well has four separate screened intervals (Figure 4-15).
             Comparison of these screen intervals to regional hydrogeology indicate the upper three
             screened intervals are likely in the Coyote Hills Formation. The lowest screened
             interval appears to be screened across the "main" aquifer of the San Pedro Formation,
             as identified in Figure 4-14. OCWD tested with a flowmeter the percent of
             groundwater flow being pumped from each of the four screened intervals of this well.
             Approximately 69 percent of the total flow of the Coyote 12a well (approximately
             1500 gpm) was pumped from the deepest interval of this well, which is screened
             across the "main" aquifer in the San Pedro Formation. The remaining flow is pumped
             from the upper part of the San Pedro Formation (approximately 30 percent) and the
             Coyote Hills Formation (approximately 1 percent).

  4.2        Site Geology

  The McColl site is located on the south flank of the west trending Western Coyote Hills
  anticline, which is coincident with the West Coyote Hills. The Western Coyote Hills anticline
  is an uplift of basin sediments within the Central Block of the Los Angeles Basin (Geology of
  the Los Angeles Basin, California - an Introduction, U.S. Geological Survey Professional
  Paper 420-A, 1965).

  As presented in Table 4-2, the near-surface sediments immediately beneath the McColl site
  are interbedded clays, silts and silty sands of the Pleistocene La Habra Formation (Geology
  and Oil Resources of the Western Puente Hills Area, Southern California, U.S. Geological
  Survey Professional Paper 420-C, 1972). Beneath the relatively fine-grained La Habra
  Formation sediments are coarser sandy gravels and gravelly sands of the Coyote Hills
  Formation. Correlation of site sediments to these stratigraphic units was based on the
  following:

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                         Stratigraphic and depositional descriptions in DWR (July 1967) and USGS
                         (Yerkes 1972) reports.

              •          Field units with local geologic and paleontology experts on structural geology
                         and stratigraphy of the La Habra and Coyote Hill Formations near the McColl
                         site, including measurement of strikes and dips at outcrop locations.

                         Field visits to La Habra and Coyote Hill Formations outcrop locations.

                         Stratigraphic correlations based on archived core.

   Mapping by the U.S. Geological Survey (1972) indicates that the La Habra Formation is
   exposed at the surface in the area south of Rosecrans Avenue (approximately), and the Coyote
   Hills Formation is exposed at the surface in the hills north of Rosecrans Avenue. Surficial
   exposures and subsurface correlations of the La Habra and Coyote Hills Formations at or near
   the site indicate that the beds dip southwesterly at approximately 10 degrees, though dips may
   vary locally. The position of the site on the distal flank of the anticline likely produces the
   gently dipping structure of the beds underlying the site.

   Therefore, the Task 10 drilling program has penetrated both the La Habra Formation and the
   upper portion of the Coyote Hills Formation (Table 4-2). An initial description of the
   groundwater flow units "A" through "D" categorized by Formation is discussed below.

             La Habra Formation
             The La Habra Formation beneath the McColl site is composed of dipping interbedded
             clays, silts and silty sands. Within the La Habra Formation, three prominent
             southwest-dipping clay packets ("A","B","C") have been identified which support
             intermittent semi-perched groundwater flow units. The clay packets and overlying
             groundwater flow units in the La Habra Formation have been designated by
             ENVIRON, from shallowest to deepest as the "A","B", and "C" clay packets and
             corresponding groundwater flow units.

            The direction of groundwater flow within these flow units is largely controlled by the
            southwesterly dip of the underlying clay packets. The "A", "B", and "C" flow units
            are described as perched beneath most of the site because the flow units are separated
            by unsaturated sediment. However, on the southern boundary of the McColl site, the
            clay aquitards of the "B" and "C" flow units drop to the continuously saturated interval
            of the underlying flow unit, and therefore are no longer perched. For discussion

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               purposes, in this report, the "A", "B", and "C" clay packets and flow units are grouped
               as "semi-perched" systems because of these common characteristics (La Habra
               Formation, on-site perched conditions, outcropping with surficial recharge).

               Coyote Hills Formation
               Based on correlation of subsurface drilling at the McColl site with surficial geologic
               mapping by the U.S. Geological Survey (1972), the "C" clay packet represents the
               bottom of the La Habra Formation. The thicker underlying sands and gravel deposits
               of the Coyote Hills Formation comprise the "D" flow unit.

   4.3        Description of Groundwater Flow Units Underlying Site

   Delineation of the shallow groundwater flow units (identified as "A" through "D") underlying
   the McColl site involved detailed compilation, review and interpretation of the following data:

              •           Literature review of regional hydrostratigraphy (Section 4.1.2).

                          Hydrologic data regarding the nearest water supply wells (Orange County
                          Water District's Coyote well 12a and the City of Buena Park's Smith-Murphy
                          well)(Section4.1.3).

              •          Orange County Water District's Engineer's Reports and other relevant public
                         documents containing water level, water use, and hydrogeologic information
                         regarding regional aquifers (Section 4.1.3).

              •          CPT, boring and geophysical (neutron, gamma, electric) logs from Task 10 and
                         historical drilling programs (Appendices A, B, C, D, and E).

                         Slug testing results of new wells and lab permeability tests on core (Appendix
                         C and G).

              •           Stratigraphic correlations based on archived core (Appendix A).

              •          Field visits with local geologic and paleontology experts to better understand
                         the structural geology and stratigraphy of the La Habra and Coyote Hill
                         Formations near the McColl site, including measurement of strikes and dips at
                         outcrop locations.


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                        Groundwater grab and soil sampling results of the Task 10 drilling program
                        (Appendix D).

             •          Historic groundwater sampling results, prior to Task 10 program (ICF July
                        1992).

                        Current groundwater sampling results through third quarter, including BAT
                        sampling program (Appendix E and H).

             •          Trilinear diagrams of first quarter inorganic data in order to study
                        hydrogeochemical fades.

                        Structure of Ramparts and Los Coyotes sumps, including related boring
                        program (Environmental Solutions January 1994).

                        Surface water and overland flow patterns across the site (Figure 3-1).

             •          Historic and current water level measurements of McColl groundwater
                        monitoring wells (Appendix H).

  Figures 4-1 through 4-6 present hydrostratigraphic cross-sections which depict groundwater
  flow units "A" through "D", and are based on the integration of all the data listed above. The
  cross-sections present boring logs of pilot holes and well construction details. The cross-
  sections also identify where wet or saturated sediment and/or odors have been noted during
  drilling, and detail fourth quarter 1995 groundwater level measurements, where available.
  CPT logs and geophysical logs from various investigations were also included, and the best
  gamma and resistivity logs from each location were digitized and placed on a common scale.

  Clay packets "A", "B", and "C" (not individual clay units) which are relevant to potential
  groundwater pathways, are also identified in these cross-sections. These clay packets were
  identified based not only on correlation of geologic core and geophysical logs, but also on the
  basis of the following:

            •          Continuity of dry or moist/saturated sequences of sand and silt.

            •          Continuity of detected constituents or odors in soil or groundwater.




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              •          Connection of detected constituents or odors in soil/groundwater to potential
                         surficial sources, such as sumps.

              •          Continuity of water levels or piezometric pressures.

              •          Continuity of hydrogeochemical facies.

   The cross sections (Figures 4-1 through 4-6) are schematics which depict these connections
   and continuities through delineation of the "A", "B", and "C" clay packets. These clay
   packets may not represent a specific depositional unit, but do seem to represent the base of a
   single groundwater flow unit or potential migration pathway.

   By a solid blue versus hatched blue coloration, the schematic cross-sections (Figures 4-1
   through 4-6) indicate continuously saturated versus intermittently saturated conditions. As
   discussed later in Section 7, short-lived pathways created by intermittently saturated (e.g.,
   blue-hatched) perched flow units may be significant to understanding constituent migration.
   For this reason, these differences were identified on the schematic cross-sections. The
   unusually wet winter in 1994-94 likely created high water levels in 1995 not indicative of
   long-term conditions in the flow units. For this reason, in some cases the solid blue
   coloration is below the measured water level for that flow unit. There is some correlation
   possible between the continuously saturated areas of the "C" and "D" flow units, as indicated
   by the very schematic dotted blue line. The saturated areas of the "C" and "D" flow units
   may correlate because of upward leakage from the "D" to the "C" flow unit. Correlation
   between saturated areas is also possible due to common recharge areas. Some license has
   been taken with the dotted blue line in order to correlate cross-sections, and this line does not
   indicate piezometric pressures.

   A detailed hydrostratigraphic description of the surficial sediment underlying the McColl site,
   and the four individual groundwater flow units and underlying aquitards is presented below.
   Section 4.4 then details the flow system within each flow unit.

             4.3.1      Surficial Sediment

             As described in Section 2.2.1, a total of twenty-six CPT's were completed south of the
             McColl sump areas in surficial sediment to depths ranging from approximately twenty
             to ninety feet during the period March through April 1994 (Figure E-l). These CPT
             results are presented in cross-sections A-A' through E-E', and indicate surficial
             sediment varies from clay to sand south of the sump areas. Evaluation of CPT data

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              and pore dissipation tests identified only one isolated pocket of groundwater (identified
              at CPT-V11) at these CPT locations in a surficial coarse-grained sand unit. Well P-2S
              was later installed at this shallow groundwater location. This CPT survey indicated
              continuously saturated conditions in surficial sediment south of the sump areas are
              rare, and the current groundwater monitoring system of wells P-2S and P-3S is
              adequate to monitor conditions in surficial sediment south of the McColl sump areas.

              4.3.2      "A" Groundwater Flow Unit

              The shallowest and least extensive flow unit ("A") within the La Habra Formation is
              perched upon the "A" clay packet. The structure and observed extent of the "A" clay
              is illustrated on Figure 4-7. As listed in Table 2-4, wells P-2S and P-3S are screened
              within the "A" flow unit. The "A" flow unit was distinguished based on the following
              characteristics:

                         •          Water level elevations and resulting flow directions relative to the
                                    elevation of "A" clay packet.

                         •          Potential limited sources of recharge to the sediments above the "A"
                                    clay packet and resulting seasonal nature of saturation (well P-2S),
                                    except in isolated "pockets" of lower elevation "A" clays (well P-3S).

                         •          Limited groundwater productivity and continuity of "A" flow unit.

                         •          General chemistry and organics/inorganics suite detected within "A"
                                    flow unit, including hydrogeochemical facies (Table H-l and Figures 6-
                                    1 through 6-5).

             The only perched water consistently observed in the "A" flow unit is in the limited
             area of well P-3S and perched water was also observed during drilling at pilot hole
             PH-10. Figures 4-3 (Section B-B') and 4-10 (recharge boundaries) illustrate that the
             "A" flow unit may be intermittently recharged by the drainage swale along the western
             boundary of the McColl site. The groundwater detected in well P-2S, appears to be
             very seasonal in nature. Well P-2S was dry during the period spanning from the first
             through fourth quarterly sampling events, with the exception of a few days
             immediately following a major rainfall event during the second quarterly sampling
             event.


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              4.3.3         "A" Aquitard

             As illustrated in cross-sections A-A' through E-E', the bottom of the "A" clay packet
             or aquitard remains perched above the saturated interval of the underlying "B" flow
             unit on-site and to the south of the site, with the exception of conditions observed at
             pilot hole PH-10. During drilling of PH-10, moist to saturated conditions were
             observed immediately underlying the "A" clay. The general lack of saturated
             conditions beneath the "A" clay indicates the low hydraulic conductivity of the clays
             and silts comprising this aquitard. The "A" clay generally varies from twenty to thirty
             feet thick, and was identified in all pilot holes drilled during the Task 10 program.
             Figure 4-7 illustrates the continuity of this clay as it dips southwest across the site
             area.

             4.3.4       "B" Flow Unit

             The "B" flow unit is semi-perched on top of the "B" clay packet. The structure of the
             southwest-dipping "B" clay is shown on Figure 4-8, as is the area where the "B" clay
             outcrops within the McColl site. As listed in Table 2-4, six wells (P-2I, P-4I, P-5I, P-
             5S, P-6S, and P-10D) are screened across the "B" flow unit. The "B" flow unit was
             distinguished based on the following characteristics:

                        •           The thin interbedded and discontinuous deposits of the La Habra
                                    Formation.

                        •           Continuity of moist sediment noted during drilling, water level
                                    elevations and resulting flow directions relative to the elevation of "B"
                                    clay packet.

                        •           The dip measured at outcrops within the La Habra Formation.

                                    Potential sources of recharge to the sediments above the "B" clay
                                    packet.

                        •           Limited groundwater productivity and continuity of "B" flow unit
                                    relative to "B" clay packet elevation.

                        •           General chemistry of "B" flow unit, including hydrogeochemical facies
                                    (Table H-l and Figures 6-1 through 6-5).

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                         •          Continuity of constituents detected and continuity of low pH measured
                                    at various locations within "B" flow unit.

                         •          Potential connection with sump locations to provide historic source area
                                    for THT compounds detected within this flow unit.

             Groundwater has been consistently detected in all "B" flow unit wells, although the
              "B" flow unit does not appear to be continuously saturated north of and beneath the
             Los Coyotes sump area. The "B" flow unit is perched above the "C" flow unit to the
             north of the southern McColl site boundary. As illustrated in cross-section A-A'
             (Figure 4-2), approximately five hundred feet south of the site boundary the elevation
             of the bottom of the "B" clay dips to the saturated interval of the "C" flow unit, and
             the "B" flow unit is therefore no longer perched.

             4.3.5       "B" Aquitard

             Figure 4-8 illustrates the continuity of the "B" clay packet or aquitard as it dips
             southwest across the site. The "B" clay varies in thickness from approximately seven
             feet to forty feet. The general lack of moist conditions immediately beneath the
             perched areas of the "B" clay and the lack of organic constituents detected in soil
             samples collected beneath the "B" clay (as noted during the pilot hole program),
             indicate the low hydraulic conductivity of the silts and clays of this aquitard. The "B"
             clay is also capable of producing confined conditions in the underlying "C" flow unit
             south of the McColl site.

             4.3.6       "C" Flow Unit

             The "C" flow unit is perched on the "C" clay packet under the central portion of the
             site, but the "C" clay drops to the saturated interval of the underlying "D" flow unit
             south of the Los Coyotes sump area. The "C" flow unit contains one to two clay and
             silt interbeds which are leaky, but do separate its various conductive sand and silty
             sand beds. A thin unit of dark organic clay within these clay and silt interbeds often
             times produces a high gamma ray peak during geophysical surveys, as noted on the
             cross-sections. However, this dark organic clay does not appear to be a continuous
             geologic unit across the site.

             Figure 4-9 presents the structure of the top of the "C" clay. Seven monitoring wells
             (P-2D(R), P-3D, P-4D, P-5L, P-6D, P-9D, P-10L, and W-8A) are screened within the

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                    "C" flow unit. Well W-6A is screened within the largely unsaturated portion of the
                    II/-III
                      C" sand/silt packet. The "C" flow unit was distinguished based on the following
* *                  characteristics:

                               •          The thin interbedded and discontinuous deposits of the La Habra
                                          Formation.

                               •          Continuity of moist sediment noted during drilling, water level
                                          elevations and resulting flow directions relative to the elevation of "C"
                                          clay packet.

                               •          The dip measured at outcrops within the La Habra Formation.

                               •          Potential sources of recharge to the sediments above the "C" clay
                                          packet.

                               •          More productive groundwater capacity (although still relatively limited
                                          as compared to "D" flow unit) and continuity of "C" flow unit relative
                                          to "C" clay packet elevation.

                               •          General chemistry and chemical distribution with the "C" flow unit,
                                          including hydrogeochemical facies (Table H-l and Figures 6-1 through
                                          6-5).

                               •          Potential limited connection with sump locations to the east to provide
                                          historic source area for THT compounds detected in monitoring well P-
                                          5L.

                              •           Along the southern boundary of the site, the continuity of the high
                                          gamma clay; however, this correlation cannot be made on a more
                                          extensive basis. This high gamma clay appears to be a depositional
                                          feature of limited extent.

                   Groundwater has been consistently detected in all monitoring wells screened within
                   this flow unit, with the exception of wells W-6A and W-8A. Wells W-6A and W-8A
                   are screened across the largely unsaturated and perched portion of the "C" flow unit.
                   During the Task 11 groundwater monitoring program, groundwater has been detected
                   in well W-6A; however, the winter of 1994-95 was unusually wet. During prior

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              quarterly monitoring programs from 1989 through 1992, no groundwater was detected
              in well W-6A. Well W-8A has been dry throughout the historical and the Task 1 1
              monitoring programs.

             The "C" flow unit is not expected to be a continuous and deep groundwater flow unit
             paired with the "D" flow unit, because of the depositional nature of the La Habra
             Formation and the limited source of recharge to the "C" flow unit. Even across the
             limited area of the site, it was difficult to correlate the units comprising the "C" flow
             unit. For this reason, it is not unlikely that the silts and sands of the "C" flow unit
             pinch out on a regional basis. The "C" flow unit appears to only receive recharge
             from two sources, as follows:

                         •          Limited seasonal surficial water sources at its outcrop location (Figure
                                    4-10).

                         •           Slow upward leakage from the "D" flow unit to the "C" flow unit within
                                    limited areas of the site, as illustrated by the upward hydraulic gradient
                                    between wells P-5D and P-5L discussed later in Section 4.4.5. The
                                    dotted blue line in the "C" flow unit on the cross-sections indicates the
                                    upper boundary of the fully saturated portion of the perched flow units.
                                    This dotted blue line at this location correlates closely with the
                                    piezometric pressure of the underlying "D" flow unit, which indicates
                                    the potential for upward leakage.

             This "C" flow unit therefore is consistent with the DWR's (July 1967) description of
             La Habra Formation water-bearing zones being semi-perched groundwater zones of
             limited extent.

             4.3.7      "C" Aquitard

             Figure 4-9 illustrates the continuity of the "C" clay packet or aquitard as it dips
             southwest across the site. The "C" clay packet marks the transition from the La Habra
             Formation to the Coyote Hills Formation. The "C" clay varies in thickness from
             approximately twenty to forty feet. South of the McColl site (cross-section A- A'),
             only pilot hole PH-10 was drilled deep enough to encounter and verify the existence of
             the "C" clay. The ability of the "C" clay to produce confined conditions in the
             underlying "D" flow unit south of the McColl site at the P-5 well cluster indicates the
             low hydraulic conductivity of the clays and silts of this aquitard. However, the "C"

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                     aquitard appears to be leaky enough to allow groundwater from the "D" flow unit to
                     recharge the "C" flow unit along the southern boundary of the site.
V-/
                     4.3.8      "D" Flow Unit

                     The "D" flow unit within the Coyote Hills Formation is the first significant aquifer
                     zone encountered beneath the McColl site. Seven monitoring wells (P-1D, P-5D, W-
                     4, W-8B, W-9B, W-9C, and W-l OB) are screened within this flow unit. The "D" flow
                     unit was distinguished based on the following characteristics:

                                •          The thicker more continuous beds and coarser deposits of the Coyote
                                           Hills Formation.

                                •          Continuity of moist sediment noted during drilling, water level
                                           elevations and resulting flow directions.

                                •          More productive groundwater capacity (although still relatively limited
                                           as compared to the "main" regional San Pedro Formation aquifer) and
                                           continuity of "D" flow unit.

^"^                             •          General chemistry and lack of THT compounds detected within the "D"
                                           flow unit, including hydrogeochemical facies (Table H-l and Figures 6-
                                           1 through 6-5).

                                           Lack of connection with sump locations.

                    The "D" flow unit is unconfined in the northern portion of the McColl site near
                    Rosecrans Boulevard and becomes confined beneath the dipping clay beds of the La
                    Habra Formation in the southern portion of the McColl site. No historical or Task 10
                    pilot holes have been drilled to the depth of the bottom clays of the "D" flow unit.

         4.4        Groundwater Flow

         Groundwater observed in the "A", "B", and "C" flow units beneath the McColl site is
         seasonally recharged, as illustrated in Figure 4-10, by (i) surface infiltration in areas where the
         various flow units outcrop at and near the McColl site, and (ii) along the buried coarse-
         grained sediments of current and historic drainage swales that flow along the western and
\^_s     eastern edges of the McColl site. The direction of groundwater flow within these flow units

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   is largely controlled by the southwesterly dip of the underlying clay packets. Sections 4.4.1
   through 4.4,5 describe the water level measurements, flow directions, and flux within each of
   the groundwater flow units. Figures 4-11 through 4-13 present the fourth quarter water level
   (July 1995) maps within the flow units. (Fourth quarter water levels were presented in the
   water level maps and cross-section figures in order to include the measurements in new
   monitoring well P-10L.) Figures 4-16 through 4-20 present hydrographs per flow unit for the
   1994-95 quarterly monitoring program. Table 4-3 summarizes the measured water levels for
   the 1994-95 quarterly monitoring program.

              4.4.1      Flow in "A" Groundwater Unit

             As discussed previously, groundwater has been detected consistently only in well P-3S.
             The groundwater detected in well P-2S is very intermittent in nature. Well P-2S was
             dry during the period spanning the first through fourth quarter sampling events, with
             the exception of a few days immediately following a major rainfall event during the
             second quarter sampling event. As indicated in the third quarter water purging and
             sampling logs of the Task 11 quarterly monitoring reports, well P-3S only supports a
             purge rate of approximately 0.35 gpm and purges dry with less than three well
             volumes.

             At an elevation varying from 220.5 to 221.97 feet msl, approximately nine to ten feet
             of water was measured in well P-3S during the 1994-95 quarterly program. The
             hydrograph of well P-3S (Figure 4-16) indicates a gently declining trend in water
             levels from first through third quarters, with an increase in water level (1.47 foot) in
             fourth quarter.

             4.4.2      Flow in "B" Groundwater Unit

             A water level map for the "B" groundwater flow unit is presented in Figure 4-11.
             Groundwater has been consistently detected in all six wells screened in the "B" flow
             unit, flowing in a consistent southwesterly pattern at a hydraulic gradient varying from
             approximately 0.02 to 0.04. This hydraulic gradient is typical of a low permeability
             groundwater zone. This flow direction is compatible with the pattern of constituents
             detected in groundwater.

             Assuming a hydraulic conductivity based on the slug testing program (Appendix G) of
             5.3E-03 centimeters/sec, the flux in the "B" flow unit is approximately 0.6 feet/day.
             Assuming a literature-derived effective porosity of 0.15, the average linear velocity is

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              approximately 4 feet/day. Purge rates in the "B" flow unit wells vary from
              approximately 0.3 to 6 gpm during the third quarter monitoring program. A number
              of the "B" flow unit wells purge dry with less than three well volumes.

             The hydrograph of water levels (Figure 4-17) measured during the 1994-95 quarterly
             program in the "B" flow unit indicates water levels trend together and are fairly stable
             across the first three quarterly monitoring events, with a slight increase (e.g., average
             increase of 1 .63 feet) in water levels during fourth quarter. Water levels vary from
             approximately 138.88 to 225.55 feet MSL across the "B" flow unit. The average
             increase in elevation from first to fourth quarter was 1 .44 feet (Table 4-3), with the
             greatest increase in water level at wells P-2I and P-6S near the upgradient limit of
             saturation and the recharge boundary for this flow unit.

             4.4.3       Flow in "C" Groundwater Unit

             A water level map for the "C" groundwater flow unit is presented in Figure 4-12.
             Groundwater has been consistently detected in only seven of the nine wells screened in
             the "C" flow unit. As discussed previously, groundwater is not consistently detected
             in well W-6A and has never been detected in well W-8A. Wells W-6A and W-8A are
             the only wells screened in the perched and largely unsaturated portion of the "C" flow
             unit downgradient of the Rampart sump area. Therefore, these wells confirm the
             perched portion of the "C" flow unit appears to be largely unsaturated in the north
             central portion of the McColl site.

             In the continuously saturated portion of the "C" flow unit, groundwater flows in a
             consistent southwesterly pattern at a hydraulic gradient of approximately 0.017. This
             flow direction is compatible with the pattern of constituents detected in groundwater.
             Assuming a hydraulic conductivity ranging from 2.2 E-04 to 0.017 centimeters/sec
             (Appendix G), the flux in the saturated portion of the "C" flow unit ranges from
             approximately 0.01 to 0.82 feet/day. Assuming a literature-derived effective porosity
             of 0.15, the average linear velocity ranges from 0.07 to 5.5 feet/day. Purge rates in
             the "C" flow unit wells during third quarter vary from approximately 0.13 (well W-6A
             which routinely purges dry) to 4 gpm (well P-6D).

             The hydrograph of water levels during the quarterly monitoring program (Figure 4- 1 8)
             measured in the "C" flow unit indicates water levels trend together, but vary more
             between quarters than water levels in other flow units. Water levels vary from
             approximately 256.53 (well W-6A) in the perched area to 85.45 feet MSL in the

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              saturated "C" flow unit. The average increase in elevation from first to fourth quarter
              was 4.23 feet (Table 4-3), with the greatest increase in water level at wells P-5L (4.77
              feet) and P-9D (9.19 feet).

              As indicated in the water level map for the "C" flow unit (Figure 4-12), not all
              measured water levels correlate to the contoured values. Water levels in wells P-10L
              and P-9D are several feet higher than other upgradient "C" flow unit wells. When
              drilling well P-10L (Appendix A) and pilot hole PH-8, a higher water level was noted
              in the upper than the lower portions of the "C" flow unit. As discussed earlier, the
              "C" flow unit is interbedded with silts and clays which could produce this difference in
              water levels across the thickness of the "C" flow unit. The measured water levels in
              wells P-10L and P-9D may represent a composite of the piezometric pressures in the
              upper and lower portions of the "C" flow unit in the off-site areas; and therefore are
              higher than wells screened only in the lower portion of the "C" flow unit.

             Also, its possible well P-10L has a faulty seal across the "B" clay packet and water
             levels are influenced by downward leakage from the "B" flow unit at this well
             location. A scope of work is being proposed to evaluate the integrity of the seal
             within the "B" clay packet at well P-10L. If construction of well P-10L is determined
             to be faulty, an addendum letter report will be submitted to the agencies detailing the
             situation.

             4.4.4      Flow in "D" Groundwater Unit

             A water level map for the "D" groundwater flow unit is presented in Figure 4-
              13. Groundwater has been consistently detected in all seven wells screened in
             the "D" flow unit, flowing in a consistent southwesterly pattern at a hydraulic
             gradient varying from approximately 0.057 at the base of the Coyote Hills to
             0.0077 underlying the McColl site. As no aquifer testing was performed in the
             "D" flow unit, fluxes and velocities are not calculated. Purge rates in the "D"
             flow unit wells during third quarter vary from approximately 0.66 (well W-9B)
             to 3.3 (well P-5D) gpm.

             The hydrograph of water levels (Figure 4-19) measured in the "D" flow unit indicates
             water levels in the upgradient background wells (wells W-9B, W-9C, and W-l OB) and
             downgradient "D" flow unit wells are trending separately. Background wells W-9B,
             W-9C, and W-l OB only showed an average change in water levels from first to fourth
             quarters of 0.38 feet. However, the remaining downgradient monitoring wells showed

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                      an average increase in water levels of 3.5 feet. These differences in water levels may
                      be due to differences in pressure dissipation in an unconfined (upgradient) area versus
\j                    a confined (downgradient) zone of the "D" flow unit. Water levels vary from
                      approximately 90.24 to 121.59 feet MSL in the "D" flow unit. The greatest increase
                      in water levels was at wells W-8B and P-5D.

                      4.4.5 Flow Between Groundwater Flow Units

                      The general lack of moist to saturated conditions or detection of McColl constituents
                      (discussed in Section 5.0) in the vadose zone underlying the perched portions of the
                      "A", "B", and "C" clay packets indicate no significant downward leakage through the
                      on-site clay packets likely occurs in the perched areas. As discussed previously in
                      Section 4.3.3, 4.3.5, and 4.3.7, these clay packets appear to occur continuously across
                      the study area.

                     The vadose zone underlying the "B" flow unit pinches out south of the site where the
                      "B" clay packet dips to the saturated interval of the "C" flow unit. The approximately
                     forty foot difference in water levels measured in the well nest P-10D/P-10L indicate
                     the potential for downward leakage across the twenty-seven foot thick "B" clay packet
                     is small. Also, measurement of water levels during the construction of well P-10L
K   S

^—^                  (see P-10L boring log in Appendix A), indicated a twenty-six foot water level
                     difference over a five foot interval when transitioning from the "B" clay to the "C"
                     flow unit. At this location, the water level measured in the "B" clay was close to the
                     water level measured in well P-10D, and the water level measured in the upper portion
                     of the "C" flow unit was very close to the water level measured in the upper portion of
                     the "C" flow unit at pilot hole PH-8. If the "B" clay packet were leaky at this
                     location, one would expect more of an equilibrium between the water levels in the "B"
                     clay packet and the upper "C" flow unit.

                     Figure 4-20 presents a hydrograph of select "C" and "D" flow unit wells in order to
                     analyze the flow relationship between the "C" and "D" flow units. Comparison of the
                     hydrograph and the groundwater level maps indicate the potential for upward leakage
                     between the "C" and "D" flow units underlying the McColl site. Water levels in the
                     confined portions of the "C" and "D" flow units underlying the site generally trend
                     together. Approximately five hundred feet south of the site at wells P-9D and P-10L,
                     the potential for downward leakage appears to exist if measured water levels for the
                     "D" flow unit are extrapolated southward. However, the water levels in the underlying
s^x                  "D" flow unit at this location are unknown, and the water levels in wells P-9D and P-

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              10L may represent a composite between the upper and lower portions of the "C" flow
              unit.

             Figure 4-15 presents a schematic of the relationship between the two closest regional
             production wells and monitoring well P-2D. As discussed earlier, due to the
             geothermal nature of groundwater extracted from the Buena Park Smith-Murphy well,
             communication between the "A" through "D" flow units and the screened intervals of
             this production well is highly unlikely. The "A" through "C" flow units likely pinch
             out prior to reaching the pumping zone of the Coyote 12a well due to the
             discontinuous depositional pattern of the La Habra Formation. There is a slight chance
             the "D" flow unit identified on-site may have some equivalency to the shallowest
             screened interval of the Coyote 12a well. However, this well is located three thousand
             feet cross-gradient to the McColl site within sediment which show a great deal of
             lateral discontinuity. The pumping rate within that screened interval is only one
             percent (15 gpm) of the total flow rate of that well (1500 gpm). For these reasons, it
             is unlikely that groundwater off-site would flow to Coyote well 12a.




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                                           SECTION 5.0

                          CHEMICAL TESTING OF SEDIMENT IN VADOSE ZONES


   Sediment both in saturated and unsaturated intervals was sampled for chemical testing in the
   vadose zone during both Phase I and Phase II of the Task 10 field investigations as described
   in Section 2.2 of this report. During the CPT field investigation, BAT sampling was
   conducted in order to retrieve groundwater for chemical testing and any THT odors noted in
   the field during the CPT program were documented in Table E-2. During the Phase II pilot
   hole program, sediment samples were selected for chemical analysis if there was field
   evidence of discoloration or an odor, or if samples were associated with OVA measurements
   above background. Appendix A details this pilot hole sampling program and Table 5-1
   summarizes the pilot hole soil sampling results.

   THT-like odors were noted in only three CPT locations (CPT-V4, CPT-V6, and CPT-V13) to
   depths ranging from 48 to 60 feet in the shallow sediment sampled south of the sump areas.
   All three CPT locations with THT-like odors were located just south of Los Coyotes sumps
   L-2 and L-3 (Figure E-l). Although BAT sampling was attempted at each of these locations,
   groundwater was only present at CPT-V13. Well P-2S was subsequently installed at that
   location, and was dry all four sampling quarters except for a few days following a heavy
   rainfall event.

   During the pilot hole program, new monitoring wells were generally installed in those
   locations where THT compounds were detected in soil samples and saturated conditions were
   encountered during drilling. The concentrations of THT compounds detected in the newly
   installed monitoring wells were always higher than the concentrations detected in soil samples
   from the same interval. These results may indicate the THT compounds do not sorb well to
   soil particles.

  In general, constituents were not detected (Table 5-1) in the vadose zone underlying the
  perched "A", "B", and "C" clay packets. These results indicate the perched clay packets are
  not leaky and, therefore, do not represent a downward migration pathway to the underlying
  vadose zone.



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                                          SECTION 6.0

                SPATIAL DISTRIBUTION OF CONSTITUENTS IN GROUNDWATER


   Details of the scope of the Task 11 groundwater monitoring program are presented in Section
   2.3 of this RI report. This section summarizes the four quarters of Task 11 sampling results
   for the years 1994-95. Table H-l, included in Appendix H, summarizes the minimum
   concentration and maximum concentration of each detected constituent for the monitoring
   program. Additionally, the number of detections (if any) and the number of exceedances (if
   any) of the state MCL are included in Table H-1.

  The analytical results for field water quality and general chemistry (Section 6.1), THT
  compounds (Section 6.2), the volatile organic compounds and semi-volatile organic
  compounds (herein referred to as VOC's and semi-VOC's, respectively) (Section 6.3), and the
  inorganics (Section 6.4) are presented below. Because of the lack of consistent detection of
  any specific groups of Tentatively Identified Compounds (TICs) during the quarterly
  monitoring program, the TICs are not discussed further. Figures 6-6 through 6-14 present
  areal maps of the detected constituent concentrations of the THT compounds and select
  VOC's by flow unit for third quarter 1995. (Third quarter values generally represent the
  highest concentrations detected.) Figures 6-15 through 6-18 present semi-logarithmic plots of
  the sample results for select VOC's from first through third quarters. Figures 6-19 through 6-
  24 present concentration maps for select inorganic concentrations for third quarter. Figures 6-
  25 through 6-35 present semi-logarithmic plots of the concentrations of these select dissolved
  inorganics for first through third quarters.

  6.1        Field Water Quality and General Chemistry

  Temperature, specific conductance, pH, and turbidity were measured during sampling. In
  addition, general chemistry parameters are analyzed as listed in Table 2-5. With the exception
  of one "D" flow unit background well (well P-10B), the pH of all the "C" and "D" flow unit
  wells was near neutral, generally varying from approximately 7.4 to 7.9. Slightly acidic (pH
  3.5 to 6.0) groundwater was detected in two low-yield perched "B" flow unit wells (P-2I and
  P-4I) and perched well W-6A located immediately downgradient of the sump areas. The
  limited permeability and slow travel times of the perched "B" and "C" flow units in the areas


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   of wells P-2I, P-4I, and W-6A likely contribute to maintenance of this slightly acidic
   condition. These locations are identified as "low yield" because the on-site perched wells
   seldom sustain a pumping rate over 1 gpm and oftentimes purge dry prior to pumping three
   well volumes.

   Trilinear diagrams (Figures 6-1 through 6-5) have been prepared for each groundwater flow
   unit based on the first quarter sampling data. Figure 6-1 presents an explanation of the
   trilinear classification system. This diagram classifies anion and cation fascies in terms of
   major ion percentages. Applied in a very general sense, this classification system is useful in
   identifying groundwater within a common flow unit. However, many naturally occurring
   reactions can disturb an hydrochemical fascies within a single flow unit. Therefore,
   groundwater from wells with different hydrochemical fascies can belong to the same flow
   unit.

  The "A" flow unit well P-2S shows a young sodium carbonate type fascies typical of surface
  water, as would be expected. The natural hydrochemical fascies of the semi-perched flow
  units is likely disturbed by migration of low pH waters from the McColl site into the flow
  units. This disturbance is illustrated by the magnesium/sodium-sulfate type fascies of wells
  W-6A, P-4I, and P-2I which are impacted by migration of constituents from the McColl site.
  Typical "B" flow unit groundwater is a mixed sodium/potassium-chloride fascies. As
  indicated in the trilinears, groundwater from many of the "C" and "D" monitoring wells have
  a mixed sodium-carbonate/chloride type fascies which is common to shallow groundwater in
  this region (DWR 1967). For comparative purposes, a trilinear was prepared from
  groundwater sample results (July 1992) for the Coyote 12a well. The four deep to shallow
  screened intervals of Coyote 12a are identified as Zl to Z4, respectively. Groundwater from
  the deepest screened interval (Zl) has an older sodium/potassium-chloride hydrochemical
  fascies. Groundwater from the other screened intervals of well Coyote 12a show a less
  dominant, more mixed sodium/potassium-carbonate hydrochemical fascies.

  6.2        Tetrahydrothiophene Compounds

  THT compounds including tetrahydrothiophene, 2-methyltetrahydrothiophene, and 3-
  methyltetrahydrothiophene have been detected in the "A" flow unit only once, during the few
  days that well P-2S was saturated. The concentration of the individual THT compounds in
  well P-2S ranged from 720 to 1200 jtg/L.

  THT compounds have been detected at concentrations exceeding 1 /ig/L in only three "B"
  flow unit wells (P-2I, P-4I, and P-10D). Concentrations in the "B" flow unit exceeding 1

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        for individual THT compounds ranged from 12 /ug/L (2-methyltetrahydrothiophene in
   well P-10D) to 18,000 /*g/L (2-methyltetrahydrothiophene in well P-4I).

    THT compounds have been detected in only two wells (P-5L and P-IOL) in the "C" flow unit
    at concentrations exceeding 1 /xg/L. THT compounds have also been detected in well W-6A
   which is located immediately downgradient of the sump areas and is screened within a pocket
   of groundwater which may be intermittently connected with the "C" flow unit.
   Concentrations of individual THT compounds at well P-5L ranged from 29 to 140 jug/L and
   at well P-IOL ranged from 11 to 150 ug/L. However, as explained in TM10-21 (Appendix F),
   quarterly sampling results at well P-IOL are inconsistent with groundwater grab sample results
   (Table 2-6) obtained when well P-IOL was constructed. THT compounds were not detected in
   hydropunch samples within the screened interval of well P-IOL. In order to evaluate the well
   seal across the "B" clay at well P-IOL and therefore the representativeness of groundwater
   samples from this well, aquifer testing is scheduled in January 1995. The results of this
   testing will be presented in an addendum to this report. Concentrations of individual THT
   compounds in well W-6A ranged from 2000 to 43,000 /tg/1. THT compounds have not been
   detected in "D" flow unit wells at concentrations exceeding 1

  Figures 6-15 and 6-16 present semi-logarithmic plots of the concentrations of
  tetrahydrothiophene in the three "B" flow unit and two "C" flow unit wells, plus perched well
  W-6A. These plots show a slightly increasing trend for the first three quarters in
  concentrations in the "B" flow unit wells P-2I and P-4I, with a decrease in concentration by
  fourth quarter. Well P-10D shows a slight increasing trend for all four quarters. This pattern
  of chemical concentrations may be related to the unusually wet winter of 1994-95 and a
  subsequent increase in groundwater flow. With the lack of recharge to the perched units over
  the summer, the mass of constituents transported by saturated or unsaturated flow from the
  sump areas likely diminished. Tetrahydrothiophene concentrations also appear to be slightly
  increasing for the first three quarters in well P-5L, and then decreasing by fourth quarter. As
  would be expected due the dry summer conditions, the concentration of THT has steadily
  decreased in well W-6A. The other two THT compounds generally follow the same trends.

  The limited spatial distribution of these THT compounds in the "B" and "C" flow units
  generally agrees with the southwesterly groundwater flow direction discussed in Section 4.4.
  As discussed in the Final Baseline Risk Assessment for the McColl Superfund Site,
  Groundwater Operable Unit (ICF Kaiser November 1995), there are no health or regulatory
  exposure limits established for the THT compounds.




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   Figures 6-6 through 6-8 present areal maps of the third quarter detected concentrations of
   THT compounds. As noted in Figure 6-6, the THT compounds during third quarter are
   limited to "B" flow unit wells P-2I, P-4I, and P-10D ranging in concentration from 54 (2-
   methyltetrahydrothiophene) to 18,000 (2-methyltetrahydrothiophene) ^g/L. Figure 6-7
   indicates THT compounds during third quarter are limited to "C" flow unit wells W-6A and
   P-5L ranging in concentration from 45 (3-methyltetrahydrothiophene) to 37,000 (2-
   methyltetrahydrothiophene) /ug/L. However, "C" flow unit well P-IOL was not sampled until
   fourth quarter. Fourth quarter results from well P-IOL indicate the potential presence of THT
   compounds at this location in the "C" flow unit. However, at the "C" flow unit elevation
   (231, 245, and 261 feet bgs) as indicated in Table 2-6, no THT compounds were detected in
   hydropunch samples retrieved during construction of well P-IOL. Therefore, as discussed
   previously, the construction of well P-IOL is suspect and these sampling results may not be
   representative of groundwater from well P-IOL..

   For the first time in this quarterly program, THT compounds were detected at very low levels
   (0.6 /Ltg/L "J" qualified) third quarter in well P-1D generally upgradient of the sump areas.
   THT compounds were also detected in quality control samples at low levels, and these
   detections at well P-1D are likely not valid and representative of the groundwater from that
   well.

   6.3       Volatile and Semi-volatile Organic Compounds

   The frequency of detection and range of analytical results for the VOC's and semi-VOC's are
   summarized in Table H-l in Appendix H. Several constituents detected in groundwater may
   be associated with laboratory contamination and not representative of the groundwater system.
   The potential lab contaminants include acetone, 2-butanone, methylene chloride, and bis(2-
   ethylhexyl)phthalate.

             Semi-Volatile Organic Compounds
             As presented in Table H-l, of the sixty-four semi-VOC compounds analyzed in the
             quarterly monitoring program, only four (dimethylphthalate, bis(2-ethlhexyl)phthalate,
             phenol and 2,4-dimethylphenol) were detected with any consistency. However, the
             likely low level presence of these detected semi-VOC's in field equipment and dust
             suspended in the air, the lack of correlation of their distribution to migration pathways
             indicated by the distribution of THT compounds, and their presence in equipment and
             field blanks indicate these detected semi-VOC compounds do not represent constituents
             migrating from the sump areas into groundwater.


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               For instance, bis(2-ethylhexyl)phthalate was detected in one out of four equipment
               blanks, and in six out of 32 field blanks at concentrations ranging from U to 65 ug/L.
               Bis(2-ethylhexyl)phthalate is a common component of the sampling gloves, bottles,
               and lab procedures. Bis(2-ethylhexyl)phthalate was detected sporadically in several
               wells, generally at concentrations below 20 ug/1. No detection exceeded the maximum
               concentration of 65 ug/L detected in the field blanks.

              Dimethylphthalate was only detected in four wells (P-3D, P-6D, P-5D, and W-4). The
              concentrations of dimethylphthalate have decreased by an order of magnitude between
              first and fourth quarter, which is inconsistent with the trend for THT compounds in
              other wells. These wells are not located within the migration pathway for THT
              compounds. Dimethylphthalate was not detected in any of the newly constructed
              monitoring wells. The four wells with dimethylphthalate are older wells which
              historically had poor surface seals and were constructed in 1983 and 1987. For these
              reasons, the presence of dimethylphthalate may be related to the construction materials
              or methodologies used for these older wells and may also be the result of surface
              leakage.

              2,4-Dimethylphenol was only detected in well P-4I during the first two quarters, and
              was undetected during subsequent quarters, indicating this semi-VOC may be related to
              well construction and not representative of groundwater conditions. Phenol was
              detected sporadically at low concentrations in several wells and in one field blank.
              These low level detections of phenol may be related to the newly installed pumping
              systems, as the concentration trends and distribution do not correlate with THT trends
              or migration pathways. These detections generally occur first quarter in wells with
              newly installed pumps, and then disappear by fourth quarter. For example, during first
              quarter no phenol was detected in wells W-8B and W-9C which had non-dedicated
              sampling systems. By second quarter, dedicated sampling pumps were installed and
              low levels of phenols were detected.

              Volatile Organic Compounds
              As presented Table H-l, of the thirty-three VOC compounds analyzed for during the
              quarterly monitoring program, only thirteen VOC compounds were detected, usually at
              concentrations below 1 ug/L. Of the thirteen VOC compounds detected,
              approximately half were present in "D" flow unit background wells.

              Only two VOC compounds (excluding lab contaminants) were detected with any
              consistency at concentrations exceeding the state MCL in more than one well; these

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              are benzene and at very low concentrations 1,2-dichloroethane (herein referred to as
              1,2-DCA). However, 1,2-DCA was also detected at low levels in a "D" flow unit
              background well. The chemical results for benzene and 1,2-DCA are discussed
              below. As detections of the laboratory contaminants would not be indicative of
              groundwater conditions at the McColl site, discussion of these constituents has been
              excluded from this Section.

              Benzene has not exceeded 1 /ug/L in any "A" flow unit well. Benzene concentrations
             have equaled or exceeded 1 ^g/L in only three low yield "B" flow unit wells (P-2I,
             P4I, and P-5I) and perched well W-6A. These wells are all located near the sump
             areas in low yield perched portions of these flow units or in isolated pockets of
             seasonal groundwater. Concentrations in these "B" flow unit wells ranged from 1 pg/L
             (well P-5I) to 470 /ug/L (J-qualified in well P-2I). Concentrations in perched well W-
             6A ranged from 500 /zg/L (J-qualified) to 800 /ttg/L. It is important to note that, with
             the exception of late 1994 and 1995, well W-6A has been dry since its installation in
              1983. As such, well W-6A likely represents leachate from the sump area and is
             located in a stagnant area where organic constituents remain largely unaffected by
             groundwater flow conditions. Figures 6-17 and 6-18 present semi-logarithmic plots of
             the benzene concentrations for the quarterly sampling events. In the "B" flow unit,
             benzene was detected consistently for all quarters exceeding the state MCL only in
             well P-2I. Benzene concentrations in "C" flow unit well W-6A are slightly increasing
             for the first three quarters.

             1,2-DCA concentrations have equaled or exceeded the state MCL of 0.5 /*g/L in only
             one low-yield "B" flow unit well (P-5I) and one low yield "C" flow unit well (P-5L).
             Concentrations in the "B" flow unit well P-5I ranged from 1 to 2 /ug/L (both J-
             qualified). Concentrations in the "C" flow unit well P-5L ranged from 0.4 to 2 /zg/L.
             1,2-DCA was not consistently enough quantified in groundwater samples during the
             quarterly program to warrant development of a semi-logarithmic plot of its
             concentrations.

             Figures 6-9 through 6-14 present concentration maps of the benzene and 1,2-DCA
             sample results during third quarter in the "B", "C", and "D" (below MCL) flow units.
             The limited spatial distribution of benzene and 1,2-DCA agrees with the southwesterly
             groundwater flow pattern discussed in Section 4.4.




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   6.4        Inorganics

   The frequency of detection and range of analytical results for the inorganics are summarized
   in Table H-l in Appendix H. Quarterly groundwater samples were analyzed for twenty-three
   inorganic constituents. Eighteen of these inorganics occur naturally in groundwater as
   evidenced by their presence in background wells. Only four inorganics (excluding necessary
   nutrient inorganics) occur significantly above background levels or above state MCLs. Iron,
   magnesium, potassium, and sodium were removed from further consideration in this section as
   these inorganics are essential nutrients. These four inorganics include arsenic, beryllium,
   chromium, and manganese. Background concentrations of these inorganics range from 3.2 to
   4,300 ug/L as presented in Table 5 of the Annual Groundwater Monitoring Report 1994 to
   1995 (ENVIRON November 30, 1995). As noted in Table 2-8, arsenic, chromium, and
   manganese were detected in soil and waste samples collected from the sump areas. However,
   beryllium was not detected in sump samples. Beryllium may be present above background in
   groundwater if low pH vadose zone water mobilized any beryllium naturally occurring in the
   soils underlying the McColl site.

   Sections 6.4.1 through 6.4.4 individually discuss the dissolved state of each of the four
   primary inorganic constituents. Figures 6-19 through 6-24 present maps of the detected
   concentrations of these four primary inorganic constituents. Figures 6-25 through 6-35
   present semi-logarithmic plots of these four inorganics.

             6.4.1      Arsenic (Dissolved)

             Arsenic is a naturally occurring inorganic, and as such was detected in
             background wells (W-9B, W-l OB) at the McColl site. Arsenic is ubiquitous at
             low concentrations in groundwater at the site, and has been detected as
             dissolved or total metals in all but six of the twenty-four wells ("C" and "D"
             flow unit wells P-5L, P-6D, P-9D, P-1D, P-5D and W-9C) at the McColl site.
             Evaluation of "D" flow unit background wells indicate a background
             concentration for arsenic of 9.7 ug/L. The state MCL for arsenic is 50 /xg/L
             and no "C" or "D" flow unit well has exceeded either the state MCL or
             significantly exceeded arsenic's background concentration. One sample from
             off-site well P-IOL was slightly above background (12 ug/L); however, this
             slight variation is likely due to spatial variability as explained in the Annual
             Groundwater Monitoring Report. Only low-yield on-site perched wells (P-2I,
             P-4I, and W-6A) with low. pH have concentrations of arsenic slightly exceeding
             background or slightly exceeding the state MCL These above background

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              concentrations are very laterally limited to a region immediately downgradient
              of the sump areas.

              Figures 6-19 through 6-21 present areal maps of the third quarter detected
              arsenic concentrations in the "B", "C", and "D" flow units. As indicated in the
              concentration maps, the higher concentrations of dissolved arsenic (28.5 to 99.4
              /^g/L) occur in wells P-2I and P-4I during third quarter. The low pH and low
              flow condition of these two wells (3.5 to 5.6) likely produce these higher
              arsenic concentrations. Downgradient and cross-gradient of these wells where
              the pH increases, the arsenic concentrations decrease (nondetect to 2.1 jug/L)

             Figures 6-25 through 6-27 present semi-logarithmic plots of the arsenic concentrations
             in the "B", "C" and "D" flow units for the four monitoring periods. These plots will
             not necessarily be indicative of any temporal trend in migration of arsenic from a
             source area, because inorganic concentrations oftentimes fluctuate in response to minor
             natural changes in the pH or redox potential of the groundwater. As such, no specific
             trends in concentrations are noted for arsenic. Arsenic does appear to have been
             detected more often in the third quarter; however, redox or pH conditions may have
             been more conducive to ionization of arsenic.

             6.4.2 Manganese (Dissolved)

             Manganese is ubiquitous in groundwater, and as such was detected in all background
             wells (W-9B, W-9C, W-10B) and all 24 monitoring wells at the McColl site. A state
             or federal MCL has not been assigned to manganese. Evaluation of "D" flow unit
             background wells indicate a background concentration for manganese of 4,300 ug/L.
             Concentrations of manganese in off-site wells (with the exception of well P-10D) and
             all "C" and "D" flow unit wells are below background concentrations. The higher
             concentrations of dissolved manganese (22,100 to 98,800 ug/L) occur in low yield on-
             site perched wells (P-2I, P-4I, and W-6A) with low pH. Figures 6-22 through 6-24
             present areal maps of the third quarter detected manganese concentrations in the "B",
             "C", and "D" flow units. Well P-10D also has a dissolved manganese concentration
             above background (17,500 jug/L) and a mildly acidic pH which ranges from 6.4 to 6.5.
             Downgradient and cross-gradient of these wells where the pH increases, the manganese
             concentrations decrease.

             Figures 6-33 through 6-35 present semi-logarithmic plots of the manganese
             concentrations in the "B", "C" and "D" flow units for the four sampling periods.

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              These plots will not necessarily be indicative of any temporal trend in migration of
              manganese from a source area, because inorganic concentrations oftentimes fluctuate in
              response to minor changes in the pH or redox potential of the groundwater. As such,
              no specific trends in concentrations are noted for manganese.

              6.4.3      Beryllium (Dissolved)

             Dissolved beryllium was detected in background well W-l OB all three quarters at
             concentrations ranging from 2.8 to 8.3 /ug/L at the McColl site. This background
             concentration exceeds the state MCL for beryllium of 4 /u.g/L. Evaluation of these "D"
             flow unit background wells indicates a background concentration for beryllium of 8.3
             ug/L. This background concentration therefore exceeds the state MCL. No "C" or
             "D" flow unit wells have concentrations exceeding background for beryllium.
             Dissolved beryllium was not detected in any off-site monitoring wells. Besides the
             background well, dissolved beryllium was detected above the state MCL in only three
             of the twenty-four wells, including well P-2I (ranging from 5.7 to 8.8 (J.gfL), P-4I
             (ranging from 28.7 to 40 ^g/L), and W-6A (ranging from 42.8 to 90 jtg/L). Figures
             6-19 through 6-21 present areal maps of the third quarter detected beryllium
             concentrations in the "B", "C", and "D" flow units. As indicated in this concentration
             maps, the higher concentrations of dissolved beryllium occur only wells with low pH.
             The low pH of these three wells likely produces these higher beryllium concentrations,
             and may leach the beryllium from the nearby soils as it has not been detected in waste
             samples from the sump areas. Beryllium is not detected in other monitoring wells
             cross- and down-gradient of these low pH wells.

             Figures 6-28 through 6-30 present semi-logarithmic plots of the beryllium
             concentrations in the "B", "C" and "D" flow units for the four sampling periods.
             These plots will not necessarily be indicative of any temporal trend in migration of
             beryllium from a source area, because inorganic concentrations oftentimes fluctuate in
             response to minor changes in the pH or redox potential of the groundwater. As such,
             no specific trends in concentrations are noted for beryllium.

             6.4.4      Chromium (Dissolved)

             Evaluation of "D" flow unit background wells indicate a background concentration for
             dissolved chromium of 3.2 ug/L. No "C" or "D" flow unit wells have dissolved
             chromium concentrations significantly above background levels. The state MCL for
             chromium is 50 /ug/L. Dissolved chromium was detected above the state MCL in only

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              two of the twenty-four wells, including low yield wells P-4I (ranging from 67.8 to
              84.8 jttg/L), and W-6A (ranging from 211 to 424 /*g/L). These above state MCL
              concentrations of chromium are very laterally limited to an on-site region immediately
              downgradient of the sump areas. These concentrations decrease to below background
              concentrations once the pH rises to natural levels.

              Figures 6-22 through 6-24 present areal maps of the third quarter detected
              chromium concentrations in the "B", "C", and "D" flow units. As indicated in
              these concentration maps, the higher concentrations of dissolved chromium
              occur only in wells with low pH, with the exception of well P-5S (pH ranges
              from 7.8 to 9.2). The low pH of wells P-4I and W-6A likely produces these
              higher dissolved chromium concentrations.

             As indicated in these concentration maps, the ratio between dissolved versus total
             chromium is anomalous for wells P-5S and P-6S. With the exception of these two
             wells, dissolved and total chromium concentrations are nearly the same. These total
             chromium concentrations also exceed concentrations detected near the sumps (well W-
             6A ranges from 235 to 427 /^g/L). As well P-5S and P-6S are older wells which yield
             turbid groundwater samples and sometimes gravel pack during sampling, it is likely
             these chromium concentrations are an artifact of the well construction and do not
             represent the quality of water in the groundwater system.

             Figures 6-22 through 6-24 present plots of the dissolved chromium concentrations in
             the "B", "C" and "D" flow units for the four sampling periods. These plots will not
             necessarily be indicative of any temporal trend in migration of chromium from a
             source area, because inorganic concentrations oftentimes fluctuate in response to minor
             changes in the pH or redox potential of the groundwater. As such, no specific trends
             in concentrations are noted for chromium.




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                                            SECTION 7.0

                                    CHEMICAL FATE AND TRANSPORT


   This section describes the processes that influence the occurrence and transport of constituents
   within sediment and groundwater in the McColl site area. Section 7.1 begins with discussion
   of the hydrochemical characteristics of the groundwater matrix which would affect transport
   of constituents. Section 7.2 then discusses the transport characteristics and hydrochemical
   behavior of THT compounds, VOC compounds, and inorganics which have been detected in
   groundwater at the McColl site. Section 7.3 discusses the potential routes of migration for
   these constituents detected at the McColl site.

   7.1       Hydrochemical Characteristics of Groundwater Matrix

  The general chemistry results for the quarterly monitoring program indicate certain
  characteristics of groundwater immediately downgradient of the sump areas may impact the
  transport behavior of the organic and inorganic constituents. Most notable of these
  characteristics is the low pH groundwater in low-yield flow unit "B" in the limited area
  immediately downgradient of the sump areas. As proposed in TM 10-20 and reported in
  detail in Fate and Transport of Tetrahydrothiophenes at the McColl Site (ENVIRON
  December 18, 1995), wells P-2I, P-4I, P-9D, P-10D, and P-5L were sampled in October
  1995 for several additional parameters, including organic acids (acetic acid, propionic acid,
  and butyric acid), methane, dissolved oxygen, ferrous iron, hydrogen sulfide, redox potential,
  and titratable acidity. The purpose of this additional sampling was to better characterize the
  geochemical environment in order to better understand the fate of constituents, particularly
  THT compounds. Pairs of upgradient and downgradient wells (P-2I, P-4I, and P-10D; and P-
  9D and P-5L) were selected to compare geochemical conditions within areas of known
  contamination. In addition, wells P-2D(R), P-6S, and W-9C were selected to evaluate
  naturally occurring conditions.

  Wells were sampled for organic acids to assess the possible presence of THT degradation
  products in McColl site groundwater. Methane, dissolved oxygen, ferrous iron, hydrogen
  sulfide, and redox potential provide an indication of the level of biological activity and assist
  in determining the oxidation-reduction potential of the McColl site groundwater. In general,


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    biodegradation rates tend to be much slower under reducing conditions than under oxidizing
    conditions. Titratable acidity was conducted to determine the presence of certain organic
    acids, which may indicate degradation of the THT compounds.

              Sample Results During Supplemental Sampling Event
              The report Fate and Transport of Tetrahydrothiophenes at the McColl Site (ENVIRON
              December 18, 1995), provides a detailed discussion of the sampling results for the
              October supplemental sampling event. A brief discussion of these sampling results is
              presented below.

              Ferrous iron was detected in four of the five wells sampled in the supplemental
              sampling event. Concentrations in the "B" flow unit ranged from 4 to 9.5 mg/L and
              the "C" flow unit wells had little or no ferrous iron (1 mg/L or less). Dissolved oxygen
              concentrations varied between 0.35 to 4.9 mg/L and were less than 1.1 mg/L in all
              wells except P-6S, a cross-gradient well. The two remaining cross-gradient or
              background wells during this sampling event contained low concentrations of dissolved
              oxygen below 1 mg/L. In general, redox potentials varied between -55 and 501
              millivolts (mV). In general, the higher redox values were observed in the "B" flow
              unit wells with values varying between 97 and 501 mV.

               Alkalinity in the five wells during the supplemental sampling event ranged from below
               detection to 350 mg/L. Titratable acidity ranged from 12 to 1190 mg/L. The wells
              with the lowest alkalinity (P-2I and P-4I) were the wells which exhibited the highest
              titratable acidity. These results indicate groundwater from well P-2I has a strong
              buffering capacity. Concentrations of nitrite were below detectable concentrations.
              Analytical results indicate no hydrogen sulfide was present in any of the groundwater
              samples. No organic acids (acidic acid, propionic acid, and butyric acid) were
              detected above their detection limit of 20 mg/L. Methane was detected in the
              headspace (air) in groundwater samples from four of the five wells sampled at
              concentrations ranging from 21 to 230 ppm. Methane was not detected in well P-9D.
              Converting this air concentration to an estimated water concentration, the highest
              methane concentrations in water were observed in the "B" flow unit wells. Wells in
              the "C" flow unit had concentrations of methane in water that were near or below the
              detection limit.

              Redox Environment at the McColl Site
              Based on the field and general chemistry results, inferences can be made regarding the
              biological environment present and the likelihood that aerobic or anaerobic degradation

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              is occurring in a particular flow unit. To characterize the biological environment, an
              examination is made of the possible oxidation and reduction (redox couples) of several
              important naturally occurring constituents (dissolved oxygen, nitrate, ferrous iron,
              sulfate and methane).

             The low concentration of oxygen in the five wells sampled during the supplemental
             sampling event suggests that oxygen is limiting and microorganisms (biotic
             degradation) would chose nitrate as an alternate electron acceptor or that oxygen is
             rapidly consumed once its introduced to the groundwater system. An electron acceptor
             facilitates the biodegradation process. (The presence of oxygen in well P-6S suggest
             that areas of the "B" flow unit that are not impacted by sump constituents may have
             concentrations of oxygen that can support aerobic processes.) Nitrate and nitrite were
             not detected in four of the five wells suggesting that denitrification is no longer
             occurring. After nitrate is reduced, iron present in oxidized form (ferric iron) is often
             used as a chemical faciliator by microorganisms. Ferrous iron and methane were
             detected in four wells; therefore, iron reduction could be occurring.

  In summary, four of the five wells sampled (with the exception of well P-9D) exhibit
  characteristics indicating that their geochemical environments are anaerobic. Only well P-9D
  exhibited chemical characteristics of a potentially aerobic environment. It is premature to
  determine whether the redox conditions present at the McColl site are the result of
  biologically mediated degradation of THT compounds; however, the results do suggest that if
  THT compounds are degrading, the degradation occurs under anaerobic conditions.
  Degradation of THT compounds is discussed in the following section.

  7.2        Transport Characteristics and Hydrochemical Behavior

  The predominant mechanisms that explain the movement of organic and inorganic in sediment
  and groundwater include:

             •          Advection of dissolved organic and inorganic constituents along matric suction
                        or groundwater hydraulic gradients.

             •          Lateral spreading along the average groundwater flow path due to
                        hydrodynamic dispersion.

             •           Sorption (and desorption) of dissolved constituents on fine-grained sediment.


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   Other mechanisms that likely play a lesser role in constituent migration and persistence
   include:

              •          Molecular diffusion of dissolved constituents through fine-grained sediment,
                         such as within the clay packets.

              •          Biotic and abiotic degradation.

              •          Chemical transformations (e.g., oxidation-reduction, ion-exchange,
                         precipitation-solution).

   Numerous chemical characteristics of the organic and inorganic constituents impact the
   potential for these transport processes to be present and, if present, the rate at which these
   process may occur. As presented in the previous subsection, field studies are have been
   completed to provide site-specific information regarding the potential transport processes in
   groundwater at the McColl site. The transport characteristics of the inorganics and the THT
   compounds will be separately discussed below.

             Inorganic Transport Processes
             The primary transport process of importance to inorganics at the McColl site is related
             to chemical transformations. This process is important because of the low pH
             conditions immediately downgradient of the sumps in the low yield portion of the "B"
             flow unit. Inorganics are potentially subject to transformation via oxidation-reduction
             (redox) reactions or acid/base reactions. Acid/base reactions involve the gain or loss
             of the hydrogen ion, and redox reactions change the speciation of the dissolved
             inorganic. Both reaction types can result in the precipitation and immobilization of a
             dissolved inorganic in groundwater. This transformation process explains the varying
             concentrations of inorganics downgradient of the sump areas. In low pH and slow
             moving groundwater immediately downgradient of the sumps, inorganics are dissolved.
             However, as the pH increases to its natural neutral level, these inorganics are
             precipitated and immobilized.

             THT Transport Processes
             As discussed earlier, the report Fate and Transport of Tetrahydrothiophenes at the
             McColl Site (ENVIRON December 18, 1995) discusses the transport processes of the
             THT compounds. An in-depth search of published literature on the behavior of THT
             compounds was performed along with the previously discussed supplemental sampling
             event in order to evaluate these transport processes.

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               Based on the literature review, THT compounds appear to be mobile in saturated flow
               units. THT compounds have low octanol-water partition coefficients, and thus will not
               be strongly adsorbed to soils of moderate organic carbon content (<1%). Therefore,
               the migration of these constituents at the McColl site is not likely to be retarded by
               adsorption due to their physical-chemical properties.

              The literature review revealed little published information regarding the transformation
              of THT compounds in the environment. Because structurally similar compounds, such
              as thiophene 2-carboxylic acid and benzothiophene, undergo biologically mediated
              transformations in groundwater, it is probable that THT compounds also degrade under
              certain biogeochemical conditions. However, insufficient information is available to
              predict the conditions under which biodegradation would occur or the rates of this
              biodegradation. Also, no data were found in the literature to confirm that THT
              compounds degrade under anaerobic conditions, which predominate in the flow units
              underlying the McColl site. However, literature does indicate that related compounds
              such as thiophene do degrade.

              Based on the distribution and concentration of THT compounds detected in
              groundwater wells at varying distances from the McColl site during the supplemental
              sampling event and the four quarterly monitoring periods, THT compounds appear to
              undergo natural degradation. For instance, the molar ratio of the THT compounds in
              the monitoring wells indicate a preferential loss and therefore degradation of 2-
              methy Itetrahy dro thiophene.

              Using a one dimensional fate and transport model (fully detailed in the aforementioned
              report), successful simulation of the transport of THT compounds in the "B" flow unit
              between wells P-4I and P-10D required a loss term to fit the concentrations detected at
              the McColl site to the model-predicted concentrations. Simple advection and
              dispersion processes did not account for the change in THT concentrations over time
              and distance. A first order decay rate for THT compounds of 0.004 day-1 observed
              for anaerobic degradation processes provided the best fit of the data. This value is
              within the range of values observed for the degradation of aromatics and for volatile
              petroleum compounds such as benzene, toluene, and xylene. Assuming first order
              decay, this rate constant indicates that THT compounds have a half-life of 173 days
              under the biogeochemical conditions at the McColl site.




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   7.3        Potential Routes of Migration

   Organic and inorganic constituents within the McColl site may primarily migrate from the
   sump areas by unsaturated flow or partially saturated flow in the underlying vadose zone or
   by advection and related processes in groundwater flow units. Each of these potential routes
   of migration are discussed below.

              7.3.1      Surface Water

             Data from the Task 10 field investigation indicate percolation of surface water into the
             underlying sediment may create a short-lived pathway for downgradient migration of
             constituents. These pathways could be created through two mechanisms. First, surface
             water flowing within the western drainage swale (Figure 4-10) for several days could
             percolate through underlying sediment containing constituents of the McColl waste and
             accumulate on a shallow clay packet (e.g., the "B" clay packet). This transport
             mechanism appears to be the source for the intermittent constituent concentrations and
             groundwater observed at well P-2S. Secondly, surface water recharging the outcrop
             areas of the "A", "B", and "C" flow units could mobilize constituents within the sump
             areas.

             7.3.2       Groundwater in the La Habra Formation

             Evaluation of the constituent concentration maps indicate migration in the La Habra
             Formation "B" and "C flow units is controlled by the southwest dip of the clay
             packets. For the purposes of this discussion, it is necessary to consider the occurrence
             and movement of constituents on-site and downgradient of the McColl sump areas,
             separately from the southwesterly off-site movement of constituents in groundwater.

                        Potential On-site Migration of Organic and Inorganic Constituents

                                    On-site "B" Flow Unit Pathway: The potential on-site ""B" flow unit
                                    migration pathway for organic constituents (THT compounds, benzene,
                                    1,2-DCA) and possibly elevated concentrations of inorganic constituents
                                    (manganese, chromium, arsenic, and beryllium) occurs in the low yield
                                    perched portion of the "B"flo\v unit (e.g., wells P-2I and P-4I)
                                    immediately downgradient of the Los Coyotes sump area. Migration is
                                    laterally limited and in a downdip (southwest) direction above the clay
                                    packets underlying the "B" flow unit. Data indicates the underlying on-

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                                     site "B"clay packet is not leaky and therefore does not represent an on-
                                     site vertical migration pathway to the underlying "C" flow unit. The
                                     presence of constituents in several flow units is likely the result of the
                                     outcropping of the clay packets near the sump areas, rather than
                                     downward migration through clays. Off-site wells indicate the
                                     biogeochemical environment in the "B" flow unit changes south of the
                                     McColl site; therefore, as discussed in Section 7.2, the transport
                                     characteristics of the "B" flow unit change. For this reason, off-site
                                     migration is discussed as a separate pathway.

                                     On-site "C" Flow Unit Migration: The potential on-site "C" flow unit
                                     migration pathway for inorganic constituents (THT compounds,
                                     benzene, 1,2-DCA) and possibly elevated concentrations of inorganic
                                     constituents (manganese, chromium, arsenic, and beryllium) occurs in
                                     isolated pockets of seasonal leachate (e.g., well W-6A) within the
                                     largely unsaturated flow portion (Figure 4-12) of the "C" sand/silt
                                     packet downgradient of the Rampart sump area. Migration is laterally
                                     limited and in a downdip (southwest) direction above the underlying "C"
                                     clay packet. The rate of migration is limited by the generally
                                     unsaturated character of sediments within the "C" sand/silt packet.
                                     Percolating rainfall may temporarily saturate a localized thin lense of
                                     water on top of the "C" clay and mobilize constituents from the sump
                                     areas or surrounding sediment. Concentrations of constituents decrease
                                     by orders of magnitude short distances from these areas of maximum
                                     concentration. Data indicates the underlying on-site "C" clay packet is
                                     not leaky and therefore does not represent an on-site vertical migration
                                     pathway to the underlying "D" flow unit. As explained above, the
                                     biogeochemical environment of the "C" flow unit changes south of the
                                     McColl site; therefore, off-site migration is discussed as a separate
                                     pathway.

                         Potential Off-site Migration of Organic Constituents
                         As discussed in Sections 7.1 and 7.2, the biogeochemical environment of the
                         "B" and "C" flow units change south of the McColl site boundary. For this
                         reason, the mobility and transport characteristics of the constituents migrating
                         on-site change. Off-site, approximately five hundred feet downgradient of the
                         sump areas, THT compounds are detected in a laterally limited area of coarse-
                         to fine-grained portions of the "B" and "C" flow units (wells P-10D, P-5L, and

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                         possibly P10L). Detections of 1,2-DCA and benzene, and elevated
                         concentrations of the primary inorganics are not generally present in this
                         narrow off-site area. Concentrations of 1,2-DCA and benzene likely decreased
                         downgradient to nondetectable levels due to dilution of the already low
                         concentrations observed on-site. Off-site, concentrations of the inorganics
                         decreased to background concentrations likely due to an acid/base reaction
                         causing precipitation and the immobility of the dissolved inorganics.

                         Therefore, off-site migration is limited to the THT compounds, as described
                         below.

                        Off-site "B" Flow Unit Migration
                        Laterally limited downdip (southwest) migration of THT compounds above the
                        clay packets underlying the "B" flow unit may occur within the "B" flow unit
                        from the laterally limited area of THT compounds detected at well P-10D
                        southwest of the site. This area is believed to be laterally limited due to the
                        limited width of the potential source area and the lack of THT compounds
                        detected during the drilling of pilot holes PH-8 and PH-9. Data are
                        inconclusive as to whether the underlying off-site "B" clay packet is leaky.
                        THT compounds were detected in soil samples from this clay packet; however,
                        THT compounds were not detected in groundwater grab samples collected in
                        the "C" flow unit immediately below the "B" clay at PH-10. As discussed in
                        Section 7.2, the THT compounds may be degrading during this off-site
                        migration.

                        Off-site "C" Flow Unit Migration
                        Laterally limited downdip (southwest) migration of THT compounds above the
                        clay packets underlying the "C" flow unit may occur within the "C" flow unit
                        from the laterally limited area of THT compounds detected at wells P-5L and
                        P-IOL. (However, the "C" flow unit at the well P-5L location thins to a finer-
                        grained sediment. Because of the low permeability of sediment at well P-5L,
                        transport processes would be anticipated to be slow. Downgradient transport of
                        THT compounds would therefore be expected to be limited. The lack of
                        detection of THT compounds from grab samples within the "C" flow unit at the
                        immediately downgradient PH-8 pilot hole location appears to verify this
                        hypothesis.) Additionally, vertical migration of THT compounds to the
                        underlying "D" flow unit at the well P-5L location is not considered a potential
                        migration pathway as no THT compounds have been detected in the underlying

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                          well P-5D over the duration of the monitoring program. Data is not available
                          to determine if the "C" clay in the P-IOL location is leaky, and therefore,
                          represents a vertical migration pathway. As discussed in Section 7.2, the THT
                          compounds may be degrading during this off-site migration.

               7.3.3      Groundwater in the Coyote Hills Formation

              Neither organic or elevated concentrations of inorganic constituents have been detected
              in the "D" flow unit, indicating no significant pathway for constituent migration
              currently exists. The only detected organic or inorganic constituents with any future
              potential to migrate to the "D" flow unit are the THT compounds. The detection of
              benzene only in the perched portions of the flow units and the very low concentrations
              of 1,2-DCA detected on-site indicate limited potential for these constituents to migrate
              to the "D" flow unit. The mobility of the inorganics appears to be limited to low pH
              conditions. The only migration pathways with any future potential to contribute THT
              compounds to the "D" flow unit are purely theoretical as follows:

                          •          Laterally limited vertical migration of THT compounds through the "C"
                                     clay at the P-IOL location. This conditional pathway is purely
                                     theoretical as no data has been collected in this location.

                                     Lateral migration of THT compounds at some distance greater than five
                                     hundred feet off-site, from the laterally limited area of THT compounds
                                     detected within the "C" flow unit (e.g., well P-IOL) into the "D" flow
                                     unit if the "C" clay packet pinches out, is eroded away, or dips into the
                                     "D" flow unit. This conditional pathway is purely theoretical and has
                                     not been observed in any boring drilled south of the site.




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                                           SECTION 8.0

                                      RISK ASSESSMENT


  This draft section on Baseline Risk Assessment (BRA) has been prepared by ICF Kaiser,
  contractor for the U.S. Environmental Protection Agency (EPA). Section 8.0 will be updated
  based on the inorganic background concentrations presented in the Annual Monitoring Report
  for the McColl site. The purpose of this BRA is to provide an evaluation of potential risks
  associated with the presence of chemicals in groundwater underlying the McColl Superfund
  Site in Fullerton, California. A Baseline Public Health Evaluation assuming a no-action
  scenario and a Public Health Evaluation of Remedial Alternatives for the soil/source operable
  unit were prepared in May 1992 (ICF, 1992a and 1992b).

  The objectives of this risk assessment are to describe and evaluate the potential public health
  risks associated with exposure to chemicals detected in groundwater underlying the McColl
  Site. This risk assessment is intended as a focused study and was conducted in accordance
  with specific risk assessment approaches and procedures outlined in the Risk Assessment
  Revised Work Plan dated June 22, 1995 (ICF, 1995). The risk assessment also incorporates
  as much as possible standard assumptions that have been developed for Superfund projects by
  EPA as described in Risk Assessment Guidelines for Superfund Volume 1: Human Health
  Evaluation Manual, Part A (RAGS) (EPA, 1989a), the Exposure Factors Handbook
  (EPA, 1989b), the Human Health Evaluation Manual, Supplemental Guidance: "Standard
  Default Exposure Factors (EPA, 199 la), and the Guidelines for Exposure Assessment
  (EPA, 1992a).

  The wells screened in both the perched and regional aquifers were evaluated in this risk
  assessment. Although unlikely because of the limited occurrence of water observed in the
  perched zones, it was assumed for this risk assessment that locally perched groundwater is
  potable and potentially serves as a drinking water source. The perched zones are of potential
  concern because it is possible that contaminants found in the shallower zones can migrate into
  the deeper zones of the regional aquifer. Once in the regional aquifer, contaminated
  groundwater may migrate along the southwesterly regional groundwater flow until it is

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   intercepted by wells placed within the regional aquifer at points downgradient of the McColl
   Site. Although there is a possible connection between the perched area of the flow zones and
   the regional portion of the flow zones C and D, it is unlikely that the perched portion of the
   individual flow zones would yield sufficient volume of water for potential exposures.
   Exposure point concentrations for wells screened in each flow unit were estimated and are
   provided in this report.

   8.1        Selection of Chemicals of Potential Concern

   Groundwater data obtained from the first three quarterly groundwater sampling events were
   identified as the most appropriate database to evaluate current site conditions. (Data
   validation had not been completed on fourth quarter data by the time the BRA was started.)
   The sampling events occurred in September 1994, January 1995, and April 1995 (ENVIRON,
   1995a, 1995b, and 1995c).

  A screening analysis was conducted to determine the areas of groundwater within each zone
  that may have the highest concentrations of chemicals. It was assumed that a well(s) in each
  flow unit represents the center of any potential plume migrating from the Site. The manner in
  which the wells were selected to represent chemical concentrations in each flow unit is
  designed to be conservative, by selecting narrow areas in which the highest concentrations are
  observed. The analysis consisted of comparing the maximum chemical concentrations in each
  individual well with the most conservative chemical-specific Federal or California Maximum
  Contaminant Level (MCL)1 and a chemical-specific tap water preliminary remediation goal
  (PRG), as summarized by EPA Region IX (EPA, 1995a). Individual wells or a group of
  wells was selected based on the frequency of detection of chemicals, the toxicity of the
  chemicals detected, and the ratios of the maximum chemical concentration to the MCLs and
  tap water PRGs.

  Individual wells were selected to represent groundwater in the A and D flow units, and
  groundwater in the perched and regional C flow units. Two separate wells were selected to
  represent the B flow unit primarily because of different chemical constituents. The wells
  selected as a result of this screening evaluation are presented below.



             If both a Federal and a California MCL exist for a particular compound, the lower of the two MCLs was used in the
             screening analysis. For instance, benzene has a Federal and a California MCL of 5 and 1 //g/L, respectively. In this
             scenario, the California MCL was used in the screening evaluation.

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                                    AQUIFER    FLOW UNIT ZONE     WELL

                                     perched          A            P-3S

                                     perched          B         P-2I & P-6S

                                    perched           C           W-6A

                                    regional          C            P-5L

                                    regional          D            W-4




    Chemicals of potential concern (COPCs) were selected if organic and inorganic chemicals
   were detected in at least one sample above their respective method detection limits (MDLs).
   Detected chemicals (from the wells identified based on the results of the screening analysis)
   were selected to represent the chemicals that are attributable to the Site and that are of
   greatest concern from a health risk standpoint (i.e., the COPCs). Of the inorganics, iron,
   magnesium, potassium, and sodium were eliminated as COPCs because they are considered
   essential nutrients. Inorganic chemicals that are present at naturally occurring levels may also
   be eliminated from the risk assessment. Groundwater data collected from three off-site
   upgradient wells were used to represent background. However, given that these wells are
   screened in the D flow unit of the regional aquifer, a comparison can only be made for
   groundwater data that were also collected from wells screened in the D flow unit (i.e.,
   well W-4). Based on an analysis of groundwater data, it is unclear whether the inorganics
   detected in the D flow unit are natural or anthropogenic in origin. Consequently, with the
   exception of the essential nutrients, inorganics detected in at least one sample above the MDL
   from well W-4 were selected as COPCs. A comprehensive list of COPCs evaluated in this
   risk assessment is presented below.




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               THT Compounds                           VOCs                        SVOCs                   INORGANICS

      Tetrahydrothiophene                    Acetone                      Bis(2-                       Aluminum
      2-methyltetrahydrothiophene            Benzene                      ethylhexyl)phthalate         Arsenic
      3 -methy Itetrahydrothiophene          2-butanone                   Butylbenzylphthalate         Barium
                                             Carbon Disulfide             Dimethylphthalate            Beryllium 2
                                             Chloroform                   Di-n-butylphthalate          Cadmium
                                             1,2-dichloroethane           Isophorone                   Chromium
                                             Ethylbenzene                 2-Methylphenol               Cobalt
                                             2-hexanone                   Nitrobenzene                 Copper
                                             Methylene Chloride           Phenol                       Lead
                                             Toluene                      Pyrene                       Manganese
                                             Xylenes (total)                                           Mercury
                                                                                                       Nickel
                                                                                                       Selenium
                                                                                                       Thallium
                                                                                                       Vanadium
                                                                                                       Zinc

   VOCs = Volatile Organic Compounds
   SVOCs = Semi-volatile Organic Compounds




   8.2        Toxicity Assessment

   For each of the COPCs identified for this risk assessment, relevant toxicity criteria were
   identified from EPA's Integrated Risk Information System (IRIS) database (EPA, 1995b).
   When not available on IRIS, the Health Effects Assessment Summary Tables (HEAST) (EPA,
   1994) and EPA's Region IX Preliminary Remediation Goals (PRGs) (EPA 1995a) were
   consulted. If no values could be identified from either source, the chemical was not evaluated
   quantitatively. COPCs that lack agency-derived toxicity criteria include the thiophene-based
   compounds. In addition, there are no available toxicity values for evaluating dermal (uptake)
   exposures. For this risk assessment, oral cancer slope factors (CSFs) and reference doses
   (RfDs) were used to evaluate dermal exposures.

   Regulatory toxicity criteria that have been developed by Cal/EPA were also used and
   separately evaluated in this risk assessment. When Cal/EPA toxicity values were not


      2
             Although beryllium was not identified in waste and sump samples (CH2M Hill, 1987), beryllium was selected as a COPC
             for this risk assessment because it was positively detected in at least one groundwater sample. The existence of beryllium
             in groundwater may be associated with the teachability of chemicals in vadose zone soils due to the low pH in groundwater.

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   available, EPA values were used. Cal/EPA has not derived RfDs or RfCs, and therefore an
   evaluation of potential risks was only conducted for chemicals that are classified as
   carcinogens.

   Of the chemicals identified as being COPCs at the McColl Site, 11 are considered to be
   known or suspected human carcinogens. Two chemicals are known human carcinogens based
   on sufficient evidence in human studies (Group A). One chemical is considered to be a
   probable human carcinogen based on limited evidence in human studies (Group Bl). Eight
   chemicals are considered probable human carcinogens based on sufficient evidence in animal
   studies (Group B2). A list of carcinogenic COPCs is summarized below.



                                     Group A   Group Bl                  Group B2

                                     Arsenic   Cadmium          Beryllium
                                     Benzene                    Bis(2-ethylhexyl)phthalate
                                                                Butylbenzylphthalate
                                                                Chloroform
                                                                1,2-DCA
                                                                Isophorone
                                                                Methylene Chloride
                                                                Lead



   8.3        Exposure Assessment

   The McColl Site is located in an area zoned for single family residences. Residential homes
   are located adjacent to the Site on the east and south boundaries with the nearest home located
   approximately 200 feet from the sumps. It is assumed that no future residential development
   will occur on the McColl Site itself and that the surrounding areas are likely to continue to
   support residential homes. Based on the current and expected future uses of the McColl Site,
   residential adults and children living in the vicinity of the Site represent potential exposed
   populations.

   Groundwater is not currently used as a source of potable water within the McColl Site. Water
   for adjacent communities is supplied by the local water district through a municipal
   distribution system. No shallow domestic wells are known to exist in the vicinity of the Site
   and irrigation water is supplied by the City of Buena Park. Therefore, no complete exposure

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   pathways for chemicals in groundwater exist under current land use scenarios. However,
   potential future uses of the surrounding areas may result in the development and use of
   private and municipal water supply wells.

   Based on an evaluation of current and future conditions at the McColl Site, the following
   exposure pathways were identified and evaluated for this risk assessment:

               •          incidental ingestion and dermal absorption of chemicals in groundwater; and
                          inhalation of chemicals released from groundwater during domestic uses.

   To quantify human health risks, exposure point concentrations (EPCs) of the chemicals in
   groundwater appropriate to each specific exposure pathway at each appropriate receptor
   location were developed. Potential exposures to groundwater were estimated based on
   chemicals already existing in groundwater, as observed in the selected set of on-site wells.
   No groundwater transport or contaminant leaching modeling was performed for this risk
   assessment. Furthermore, it was assumed that the chemical concentrations are unlikely to
   increase or decrease in the future. Concentrations of volatile chemicals in air released from
   potable water were conservatively estimated using EPA's default volatilization constant
   (0.5 mg/mVmg/L) (EPA, 1991b).

   Average concentrations from the three groundwater sampling rounds were used to represent
   the EPCs from the wells identified from the screening analysis. EPCs representing
   background were developed based on the arithmetic average of data collected from three off-
   site wells over three quarters. Potential risks were evaluated based on doses that were
   estimated both for a reasonable maximum exposure (RME) estimate and a more probable
   estimate of exposure.

   8.4        Risk Characterization

   EPA has established an acceptable range of risk (1 x 10"6 to 1 x 10'4 excess cancer risks) for
   known or suspected carcinogens at Superfund sites. If the calculated risks exceed 1 x 10"4
   excess cancer risks, then remediation is usually required. For noncarcinogenic effects, a
   hazard index (HI) in excess of 1 generally indicates an unacceptable condition requiring
   remediation (EPA, 1992b).



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   The results of the risk assessment indicate that with the exception of the RME exposures for
   well W-4 (flow unit D), the carcinogenic risks associated with the regional aquifer are below
   or within the acceptable range of 1 x 10"6 and 1 x 10"4. The average and RME risks for well
   P-5L (flow unit C) are below 1 x 10"6. The RME cancer risks associated with well W-4 are 3
   x 10"4 and 1 x 10"4 for adults and children, respectively, and are slightly above the target risk
   of 1 x 10"4. Arsenic is the primary chemical contributor to the overall risks. However, the
   concentrations of arsenic observed in well W-4 are below the MCL.

   The potential risks associated with chemicals detected in background wells were also
   estimated. As indicated above, the only available site-specific background data are for the D
   flow zone. Under an average exposure scenario, the total background risks are below or
   within the acceptable range of 1 x 10"6 and 1x10" 4 . On the other hand, the estimated RME
   cancer risks attributed to chemicals detected in background wells are 2 x 10"4 and 1 x 10"4 for
   adults and children, respectively, and are primarily associated with the ingestion of beryllium.
   Although the RME risks are slightly above the target risk range, the RME background risks
   are comparable to the estimated risks associated with regional well W-4. A summary of the
   total carcinogenic risks associated with the selected wells screened in the regional aquifer,
   including background wells, is provided below. The estimated risks using Cal/EPA CSFs are
   presented in parentheses.



                                     SUMMARY OF TOTAL CARCINOGENIC RISKS

                                       Average Risk            RME Risk             Average Risk             RME Risk
       Flow Unit (Well)                   Adult                  Adult                 Child                  Child

     C (P-5L)                        2 X icr7 (2 x id'7)    7 X 10'7 (1 x 10-6)   2 X 10-7 (3 x 10'7)     3 X 10'7 (5 x 10'7)

     D (W-4)                         5 X lO'5 (5 x lO'5)    2 X 10"4 (3 x 10*)    8 X 10'5 (8 x ID'5)     1 X 10-4 (1 x 10-4)

     D (background                   4 X lO' 5 (5 x 10-5)   2 X W4 (2 x 10-4)     7 X 10-5 (8 x lO'5)     1 X ID"4 (1 x 10-1)
     wells)



   The lowest and highest estimated risk values for wells screened in the perched flow zones are
   6 x 10"6 and 4 x 10"3. The lowest risk is associated with chemicals detected in well P-3S
   (flow zone A) for adult receptors under an average exposure scenario. The highest estimated
   risk corresponds to chemicals detected in well W-6A (flow unit C) for child receptors under
   an RME exposure scenario. The primary exposure pathway contributing to the overall risks is

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   from ingestion of groundwater. Arsenic in well P-3S and beryllium in well W-6A are the
   primary chemicals responsible for the majority of the risks.

   The potential noncarcinogenic effects associated with the exposure pathways evaluated above
   were combined in the same manner as was done for the carcinogenic effects to yield total Site
   His. Of the three potentially complete exposure pathways evaluated, ingestion of groundwater
   contributes most to overall noncarcinogenic health effects.

   The noncarcinogenic His associated with regional well P-5L are below the target HI level of
   1. Conversely, the noncarcinogenic His associated with regional well W-4 are slightly above
   the target HI level and are primarily associated with arsenic. However, as stated above, the
   concentrations of arsenic observed in well W-4 are below the MCL. The His associated with
   background wells are slightly above the target level and are primarily attributed to manganese.
   A summary of the cumulative noncarcinogenic His is provided below.



                    SUMMARY OF TOTAL NONCARCINOGENIC HAZARD INDEX

                                              Average HI      RME HI      Average   RME HI
                          Flow Unit (Well)      Adult          Adult        HI       Child
                                                                           Child

                       C (P-5L)                  0.3                0.4     0.6          0.9
                       D (W-4)                    1                 2       3            4
                       D (background wells)      0.9                 1      2       3



  The lowest and highest noncarcinogenic His associated with wells screened in the shallow
  zones are 0.4 (P-3S) and 300 (W-6A). Analogous to the carcinogenic risks, the lowest and
  highest His correspond to adult receptors for an average exposure scenario and to children
  under a RME exposure scenario, respectively. The ingestion of manganese is the primary
  chemical and exposure pathway contributing to the overall total HI from well W-6A.

  Incremental risks may be estimated by subtracting background carcinogenic risks and
  noncarcinogenic His from the total carcinogenic and noncarcinogenic chemical- and pathways-
  specific risks. If the incremental risks exceed the target risk ranges, it is possible that these
  risks are associated with site-related activities rather than ambient conditions. In the case of

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   arsenic, the incremental cancer risks are above the target risk level for the RME adult
   exposure scenario and the incremental His are above the target range for the average and
   RME child exposure scenario. However, the concentrations of arsenic detected in background
   wells and well W-4 are below the arsenic MCL of 50 u.g/L.

   Analytical data from samples obtained during test pumping of Coyote municipal well 12A
   show that manganese was also detected slightly above the MCL. Given that manganese was
   detected in samples collected from a crossgradient municipal well, it is possible that
   manganese detected in on-site groundwater wells in the perched and regional zones is
   naturally occurring. However, it should be noted that the concentrations of manganese,
   specifically in well W-6A, are several orders of magnitude greater than the MCL, the levels in
   Coyote well 12A, and the three upgradient background wells. Furthermore, the concentrations
   of manganese in regional wells P-5L and W-4 are higher than the concentrations in Coyote
   well 12A by a factor of 4 to 5.

   8,5        Uncertainty

   There are numerous sources of uncertainty associated with the methodologies and data used in
   this risk assessment that tend to limit the confidence in the resulting quantitative estimates of
   carcinogenic risks and non-carcinogenic hazards. Uncertainty is unavoidable in quantifying
   health risks. Many parameters are not well known (toxicity values) or contain significant
   variability. This risk assessment attempts to account for this uncertainty by using average or
   intentionally biased (conservative) values to represent uncertain parameters in the calculations.
   However, if several intentionally biased values are multiplied or divided, the resulting value
   will be biased to a much greater degree than the individual values used to calculate it
   (compound bias). Because numerous intentionally biased values were used in this risk
   assessment, actual risks are probably much lower than reported risks. Other potential sources
   of uncertainty that may over- or underestimate actual Site risks in this risk assessment include:

         •   Perched groundwater is unlikely to be used for domestic uses under present conditions
             due to its limited presence and insufficient yield. However, descriptions of the low
             and high risk related values for perched water are provided in the text of the report.
             These values are provided for evaluating the additional incremental risk in
             unmonitored portions of the perched/regional aquifer interface;



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         •    The manner in which the wells were selected to represent chemical concentrations in
              each flow unit is designed to be conservative, by selecting narrow areas in which the
              highest concentrations are observed;

         •    Estimated carcinogenic risks and noncarcinogenic hazard effects are based on current
              concentrations of chemicals measured in groundwater without consideration of natural
              (i.e., dilution, dispersion, and/or degradation) and/or anthropogenic (i.e., treatment
              systems) processes that will tend to reduce concentrations over time;

         •   The majority of the carcinogenic risks and noncarcinogenic health effects are attributed
             to inorganic metals, specifically, arsenic, beryllium, and manganese. Beryllium was
             not identified in soil and waste sump samples. The presence of metals, specifically
             beryllium and manganese, may be attributed to the low pH in groundwater; and

         •   Comparisons with background concentrations were not made because data are only
             available for wells screened in the D flow unit of the regional aquifer. In addition,
             metals are likely to be present only at isolated locations and their movement in
             groundwater is likely to be retarded by subsurface soils. Therefore, the conclusions
             drawn concerning the potential risks associated with metals in groundwater may be less
             certain than cases in which the risks are driven by more mobile chemicals.

   Given the above, it is expected that the risks are conservative at least to some degree.
   Therefore, actual risks may be lower than those estimated for both the more probable average
   and RME cases.

   8.6       Conclusions of Risk Assessment

  In summary, given the inherent uncertainties, the exposures that are most likely to pose excess
  carcinogenic risks and noncarcinogenic hazard effects at the McColl Site are those
  experienced by residential receptors who are exposed to COPCs in groundwater by incidental
  ingestion. The chemicals that contribute most to these excess carcinogenic risks include
  arsenic and beryllium in wells screened in the perched aquifer. Arsenic was identified as a
  COPC in soil samples collected from the Site, whereas beryllium was not. The concentrations
  of beryllium in groundwater may be attributed to the leachability of naturally-occurring
  chemicals in the vadose zone due to the low pH in groundwater. Noncarcinogenic hazard


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   effects may also be expected to occur from the ingestion of manganese in wells screened in
   the perched zone.

   Of the inorganic compounds found to exceed their corresponding MCLs, manganese in the
   perched zones was found to exceed the corresponding criteria by several orders of magnitude.
   Such concentrations of manganese are sufficiently high that, even given any moderate dilution
   that might be assumed for a reasonable groundwater transport and well withdrawal scenario, it
   is likely that the risks that might be estimated in association with ingestion of chemicals in
   groundwater would be found to be unacceptable.

   Although it is unlikely that locally perched groundwater would be classified as a potable
   source, the importance of evaluating the potential health risks is based on the possibility that
   some areas of the perched zones are hydraulically connected to the deeper regional aquifer
   which serves as a potential drinking water source.

   Carcinogenic risks associated with wells screened in the deeper regional aquifer are within and
   are slightly above (RME scenario) the established risk range (1 x 10"" to 1 x 10"6). In
   addition, noncarcinogenic hazard effects may occur from groundwater ingestion of chemicals
   detected in wells screened in the regional aquifer. However, the concentrations of the risk-
   driving chemicals in the regional wells are either below the corresponding MCL (arsenic) or
   appear to be within background levels (manganese).

  The potential risks associated with thiophene-based compounds could not be assessed
  quantitatively because of the lack of EPA-verified toxicity criteria. The odor threshold
  concentration (OTC) for THT, which is the concentration at which 50 percent of the
  population can detect an odor, is 0.0006 ppm or 0.0018 mg/m3. In comparison to most
  chemicals, THT can be detected at relatively low concentrations.




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                                          SECTION 9.0

                                           SUMMARY


   9.1         General

   The 22-acre McColl site is located in Fullerton, Orange County, California southwest of the
   intersection of Rosecrans Avenue and Sunnyridge Drive. From 1942 through 1946, petroleum
   refinery waste was disposed of in twelve sumps within the McColl site. The twelve inactive
   sumps are located on vacant land in two regions referred to as Los Coyotes and Ramparts
   sump areas.

   From 1981 through 1994 prior to the start of the RI, a total of twenty-two monitoring wells
   associated with McColl groundwater investigations were installed. Seven of these monitoring
   wells have been subsequently abandoned. EPA has conducted periodic groundwater
   monitoring at the McColl site since 1989. Low concentrations of various organic and
   inorganic constituents were detected in groundwater during this monitoring program.
   However, no significant groundwater quality impacts were identified at the end of this
   historical monitoring program.

   The McColl site was included on the EPA National Priority List in September 1982, pursuant
   to Section 105 of CERCLA, 42 U.S.C. Section 9605. In June 1993, U.S.EPA issued to MSG
   Unilateral Administrative Order No. 93-21 for Partial Remedial Investigation and Response
   Actions, which related in part to groundwater work. This Order was subsequently amended
   on September 28, 1995 to reflect EPA's decision to implement the contingency remedy.

  ENVIRON was retained by MSG as lead consultant on the groundwater RI/FS at the McColl
  site in April 1994. The primary objective of the RI program was to collect and analyze
  additional data to determine whether any perched groundwater zones exist beneath the McColl
  site which could impact the beneficial uses of potable groundwater in deep aquifers (if any)
  south (downgradient) of the McColl site. The document Groundwater Remedial
  Investigation/Feasibility Study Work Plan (ENVIRON February 4, 1994) describes the RI
  project objectives and scope initially projected to accomplish SOW Task 10 of Order No. 93-
  21. Modifications from the Work Plan's original scope necessitated by a developing



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    conceptual hydrogeologic model of the site are documented in TM's 10-1 through 10-19
    (Appendix F).

    The Task 10 groundwater RI included two phases of field investigation, as follows:

               •          Phase I: Phase I consisted of a CPT program in shallow sediments to the
                         south (downgradient) of the Los Coyotes and Ramparts sump areas. The
                         purpose of the CPT program was to investigate the nature of shallow sediments
                         to the south of the sump areas and to identify areas of perched water (if any).
                         This information also supported evaluation of the sufficiency of the existing
                         perched zone monitoring program.

              •          Phase II: Phase II consisted of drilling ten continuously cored pilot holes
                         through the vadose zone south of the sump areas. The pilot holes were
                         geophysically logged along with the existing monitoring wells to provide a
                         consistent database. Selected soil samples were retained for physical and
                         chemical testing. Eight new monitoring wells were installed at total depths
                         ranging from 27 to 260 feet bgs. At U.S.EPA's request, well P-2D was
                         abandoned and replaced by well P-2D(R).

   As required by Task 11 of the Order, a four quarter groundwater monitoring program was
   coordinated with the Task 10 groundwater RI. Groundwater samples were collected and
   analyzed for volatile organic compounds, THT compounds, semivolatile organic compounds,
   and metals (total and dissolved). The fifteen previously existing monitoring wells and six of
   the monitoring wells installed during the Task 10 groundwater RI were sampled in
   September-December 1994, January 1995, and April 1995. Monitoring wells were sampled in
   July 1995 during the fourth quarter program, and the seventh newly installed well P-IOL was
   included.

   9.2        Hydrogeology

             Regional
             The water-bearing deposits underlying Orange County are unconsolidated to
             consolidated Quaternary alluvial sediments. The water-bearing deposits are located in
             three geologic Formations extending to a depth of several thousand feet, as follows:




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                          •          La Habra Formation: Upper Pleistocene deposit laid in a non-marine
                                     and floodplain environment. La Habra Formation consists of numerous
                                     perched aquifers of limited extent.

                          •          Coyote Hills Formation: Lower Pleistocene deposit laid in a non-
                                     marine fluvial environment. Coyote Hills Formation consists of
                                     numerous perched aquifers of limited extent.

                          •          San Pedro Formation: Older Lower Pleistocene deposit consisting of
                                     shallow to deep massive marine sands. A high yield aquifer for the
                                     Orange County basin is identified at the base of the San Pedro
                                     Formation (identified as "main" aquifer) at a depth of seven hundred
                                     feet or more.

              Only two production wells are located within seven thousand feet of the McColl site,
              including City of Fullerton' s new well Coyote 12a and City of Buena Park's Smith-
              Murphy well. At approximately seven thousand feet southwest of the site, the Smith
              Murphy well obtains its flow from geothermal waters upwelling from fault systems
              totally unrelated to groundwater at the McColl site. The Coyote 12a well is located
              approximately three thousand feet southeast (cross-gradient) from the site, and obtains
              approximately sixty-nine percent of its flow from the San Pedro "main" aquifer, thirty
              percent from the upper San Pedro Formation, and approximately one percent from the
              Coyote Hills Formation.

              McColl Site
              The McColl site is located on the south flank of the west-trending Western Coyote
              Hills anticline. The near-surface sediment immediately beneath the McColl site are
              interbedded clays, silts and silty sands of the Pleistocene La Habra Formation.
              Beneath the relatively fine-grained La Habra Formation sediment are coarser sandy
              gravels and gravelly sands of the Coyote Hills Formation. Surficial exposures and
              subsurface correlations indicate the La Habra and Coyote Hills deposits at or near the
              site dip southwesterly at approximately ten degrees, though dips may vary locally.
              The position of the site on the distal flank of the anticline likely produces the gently
              dipping structure.

              Flow Units "A", "B" and "C"
              The Task 10 drilling program has penetrated both the La. Habra and upper portion of
              the Coyote Hills Formation. Within the La Habra Formation, three prominent dipping

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               clay packets ("A", "B", and "C") have been identified continuously occurring across
               the site. These clay packets support intermittent perched groundwater flow units. The
               clay packets and overlying flow units in the La Habra Formation have been designated
               by ENVIRON from shallowest to deepest as the "A", "B", and "C" flow units. (The
               "D" flow unit has been designated in the Upper Coyote Hills Formation.)

               The direction of flow within these three upper flow units is largely controlled by the
               southwesterly dip of the underlying clay packets. Due to the dipping structure of the
               beds, the "A", "B", and "C" flow units appear to outcrop within the McColl site area.
               Groundwater beneath the "A", "B", and "C" flow units is seasonally recharged by (i)
               surface infiltration in areas where the flow units outcrop at or near the McColl site,
               and (ii) along the buried coarse-grained sediments of current and historical drainage
               swales along the western and eastern boundaries of the site.

              The "A" flow unit is the least extensive groundwater unit, with water being detected in
              only one CPT location, within the limited area of well P-3S, and seasonally within
              well P-2S. Well P-3S supports a purge rate of only 0.35 gpm, and purges dry with
              less than three well volumes during the quarterly monitoring program. Well P-2S was
              dry during the period spanning the four quarterly sampling programs, with the
              exception of a few days following a major rainfall event.

              Six wells (P-2I, P-4I, P-5I, P-5S, P-6S, and P-10D) are screened across the "B" flow
              unit, Groundwater has been consistently detected in all "B" flow unit wells; however,
              purge rates vary from 0.3 to 0.6 gpm. with many wells purging dry with less than three
              well volumes. The "B" flow unit is perched to the north of the McColl site boundary.
              Approximately five hundred feet south of the site, the "B" clay packet dips to the
              saturated interval of the "C" flow unit and is, therefore, no longer perched.

              The "C" flow unit is perched under the central portion of the site, but the "C" clay
              drops beneath the saturated interval of the underlying "D" flow unit south of the Los
              Coyotes sump area. The "C" flow unit contains one to two clay and silt interbeds.
              Eight monitoring wells (P-2D(R), P-3D, P-4D, P-5L, P-6D, P-9D, P-IOL, and W-8A)
              are screened within the "C" flow unit. Well W-6A is screened within the largely
              unsaturated portion of the "C" sand/silt packet. Groundwater has been consistently
              detected in "C" flow unit wells, with the exception of wells screened within the
              perched portion (W-6A and W-8A). Wells typically have a purge rate from 0.13 (well
              W-6A) to 4 gpm (well P-6D). Following an unusually wet winter, leachate from the
              sump areas was detected for the first time during 1994-95 in well W-6A; however, this

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                    well routinely purges dry. Well W-8A has been dry throughout the historical and Task
                    11 monitoring program. An upward hydraulic gradient between the "C" and "D" flow
^ j                 units (e.g., wells P-5L and P-5D) indicate the "C" flow unit may receive recharge from
                    the "D" flow unit along the southern boundary of the site.

                    "D" Flow Unit
                    The "C" clay packet marks the transition from La Habra to the coarser, thicker and
                    more continuous deposits of the Coyote Hills Formation. The "D" flow unit is the
                    first significant aquifer zone encountered beneath the McColl site. Seven monitoring
                    wells (wells P-1D, P-5D, W-4, W-8B, and background wells W-9B, W-9C, and W-
                    10B) are screened within the "D" flow unit, where water is consistently detected.
                    Purge rates in the "D" flow unit range from 0.66 (well W-9B) to 3.3 (well P-5D). The
                    "D" flow unit is unconfined in the northern portion of the McColl site and becomes
                    confined beneath the dipping clay beds of the La Habra Formation.

                   Flow Between Units
                   The general lack of moist to saturated conditions, or detection of constituents
                   potentially from McColl waste, in the vadose zone underlying perched portions of the
                   "A", "B", and "C" clay packets indicate no significant downward leakage occurs on-
                   site through the clay packets. Water level measurements taken during construction of
                   well P-IOL indicate downward leakage across the twenty-seven foot thick "B" clay
                   packet south of the site is unlikely.

                   As discussed earlier, the geothermal nature of the Buena Park Smith-Murphy well
                   indicates communication with the on-site "A" through "D" flow units is highly
                   unlikely. The "A" through "C" flow units likely pinch out prior to reaching the
                   pumping zone of the Coyote 12a well due to the discontinuous depositional pattern of
                   the La Habra Formation. There is a slight chance the "D" flow unit may have some
                   equivalency to the shallowest screened interval of well Coyote 12a; however, that
                   production well is located three thousand feet cross-gradient to the site. The pumping
                   rate of the shallowest screen interval is only one percent (15 gpm) of the total flow
                   rate (1500 gpm) of that well. For these reasons, it is unlikely that on-site groundwater
                   would flow to Coyote well 12a.




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   9.3        Constituents in Groundwater

               Organic Constituents
               Slightly acidic (pH 3.5 to 6.0) groundwater was detected in two "B" flow unit wells
              (P-2I and P-4I), one perched well (W-6A) and an upgradient "D" flow unit well ((W-
               10B). THT compounds including tetrahydrothiophene, 2-methyltetrahydrothiophene,
              and 3-methyltetrahydrothiophene were detected in several monitoring wells during the
              sampling programs. THT compounds were only detected in the "A" flow unit once,
              during the few days well P-2S was saturated. THT compounds were only detected in
              three "B" flow unit wells (P-2I, P-4I, and P-10D) exceeding 1 /*g/L. Concentrations in
              the "B" flow unit exceeding 1 pgfL for individual THT compounds ranged from 12
              /ug/L (P-10D) to 18,000 /zg/L (P-4I). THT compounds have been detected in only one
              "C" flow unit well (P-5L) and in perched well W-6A. However, THT compounds
              have been preliminarily detected in well P-IOL. Concentrations of individual THT
              compounds at well P-5L ranged from 29 to 140 /xg/L, and at well W-6A ranged from
              9200 to 43,000 jig/L. THT compounds have not been detected in "D" flow unit wells
              exceeding 1 /zg/L.

             The most prevalent and primary VOC's other than THT compounds detected in the
             groundwater system are benzene, and at very low concentrations 1 ,2-DCA. With the
             exclusion of common laboratory contaminants, semi-VOC's were not consistently
             detected in groundwater at the McColl site or are likely the result of field-related or
             laboratory contamination.

             Benzene concentrations have equaled or exceeded the state MCL of 1 ^tg/L in only
             three "B" flow unit wells (P-2I, P-4I, and P-5I) and one "C" flow unit well (W-6A).
             Concentrations in the "B" flow unit range from 1 /ig/L (well P-5I) to 470 /ig/L (well
             P-2I). Concentrations in perched well W-6A ranged from 500 to 800 ug/L.

             1,2-DCA concentrations have equaled or exceeded the state MCL of 0.5 /ng/L in only
             one "B" flow unit well (P-5I) and one "C" flow unit well (P-5L). Concentrations in
             well P-5I ranged from 1 to 2 /^g/L (both J-qualified), and in well P-5L ranged from
             0.4 to 2

             Inorganic Constituents
             The four inorganic constituents which occur above background concentrations or above
             MCL's (excluding nutrient inorganics) are arsenic, beryllium, chromium, and
             manganese. These inorganics probably occur at natural concentrations in groundwater,

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            evidenced by their presence in background wells. Background concentrations of these
            constituents in the "D" flow unit range from 3.2 to 4,300 ug/L.

            Arsenic is ubiquitous at low concentrations in groundwater at the site, and has been
            detected in all but six (P-5L, P-6D, P-9D, P-1D, P-5D, and W-9C) of the twenty-four
            monitoring wells. Evaluation of "D" flow unit background wells indicate a
            background concentration of 9.7 ug/L. No "C" or "D" flow unit well has exceeded
            either the state MCL of 50 /ug/L or the background concentration for arsenic. The
            state MCL has been slightly exceeded only in on-site well P-2I. The higher
            concentrations of arsenic only occur in wells with low pH, and concentrations
            significantly decrease off-site once the pH rises to natural levels.

           Manganese is ubiquitous at low concentrations in groundwater and has been detected
           in all background and monitoring wells. Evaluation of "D" flow unit background
           wells indicate a background concentration for manganese of 4,300 ug/1.
           Concentrations of manganese in all off-site wells (with the exception of well P-10D)
           and all "C" and "D" flow unit wells are below background concentrations. The higher
           concentrations of dissolved manganese occur in on-site perched wells (P-2I, P-4I, and
           W-6A) with low pH.

           Evaluation of "D" flow unit background wells indicate a background concentration for
           beryllium of 8.3 ug/L. This background concentration exceeds the state MCL of 4
           /zg/L for beryllium. No "C" or "D" flow unit wells have concentrations exceeding
           background. Dissolved beryllium was not detected in any off-site wells. Dissolved
           beryllium was detected above the state MCL in only on-site three (wells P-2I, P-4I,
           W-6A) of the total twenty-four wells. Beryllium concentrations exceeding the state
           MCL ranged from 5.7 to 90

           Evaluation of "D" flow unit background wells indicate a background concentration for
           chromium of 3.2 ug/L. No "C" or "D" flow unit wells have dissolved chromium
           concentrations significantly above background. Dissolved chromium was detected
           above the state MCL of 50 ^ig/L in only two on-site wells (P-4I and W-6A).
           Dissolved chromium concentrations in these low pH wells ranged from 67.8 to 424
           jug/L. Anomalously high total chromium concentrations were detected in wells P-5S
           and P-6S which are likely artifacts of faulty well construction and not indicative of
           groundwater conditions.

9.4        Chemical Fate and Transport

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                  "B" and "C" Flow Units
                  Organic and inorganic constituents within the McColl site may potentially migrate
\ i               from the sump areas by unsaturated or partially saturated flow. Percolation of surface
                  water (rainfall or from drainage swales) may create short-lived pathways to the
                  outcropping "B" or "C" flow units.

                 Evaluation of the constituent concentration maps indicate migration in the La Habra
                 Formation "B" and "C flow units is controlled by the southwest dip of the clay
                 packets. For the purposes of this discussion, it is necessary to consider the occurrence
                 and movement of constituents on-site and downgradient of the McColl sump areas,
                 separately from the southwesterly off-site movement of constituents in groundwater.

                             Potential On-site Migration of Organic and Inorganic Constituents

                                        On-site "B" Flow Unit Pathway: The potential on-site ""B" flow unit
                                        migration pathway for organic constituents (THT compounds, benzene,
                                         1,2-DCA) and possibly elevated concentrations of inorganic constituents
                                        (manganese, chromium, arsenic, and beryllium) occurs in the low yield
                                        perched portion of the "B" flow unit (e.g., wells P-2I and P-4I)
                                        immediately downgradient of the Los Coyotes sump area. Migration is
                                        laterally limited above the clay packet underlying the "B" flow unit and
                                        in a downdip (southwest) direction. Data indicates the underlying on-
                                        site "B"clay packet is not leaky and therefore does not represent an on-
                                        site vertical migration pathway to the underlying "C" flow unit. The
                                        presence of constituents in several flow units is likely the result of the
                                        outcropping of the clay packets near the sump areas, rather than
                                        downward migration through clays. Off-site wells indicate the
                                        biogeochemical environment in the "B" flow unit changes south of the
                                        McColl site; therefore, as discussed in Section 7.2, the transport
                                        characteristics of the "B" flow unit change. For this reason, off-site
                                        migration is discussed as a separate pathway.

                                        On-site "C" Flow Unit Migration: The potential on-site "C"
                                        flow unit migration pathway for inorganic constituents (THT
                                        compounds, benzene, 1,2-DCA) and possibly elevated
                                        concentrations of inorganic constituents (manganese, chromium,
                                        arsenic, and beryllium) occurs in isolated pockets of seasonal
                                        groundwater or leachate (e.g., well W-6A) within the largely

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                                            unsaturated flow portion (Figure 4-12) of the "C" sand/silt packet
                                            downgradient of the Rampart sump area. Migration is laterally
V     /                                      limited above the "C" clay packet and in a downdip (southwest)
                                            direction. The rate of migration is limited by the generally
                                            unsaturated character of sediments within the "C" sand/silt
                                            packet. Percolating rainfall may temporarily saturate a localized
                                            thin lense of water on top of the "C" clay and mobilize
                                            constituents from the sump areas or surrounding sediment.
                                            Concentrations of constituents decrease by orders of magnitude
                                            short distances from these areas of maximum concentration. Data
                                            indicateJhe underlying on-site "C" clay packet is not leaky and
                                            therefore does not represent an on-site vertical migration pathway
                                            to the underlying "C" flow unit. As explained above, the
                                            biogeochemical environment of the "C" flow unit changes south
                                            of the McColl site; therefore, off-site migration is discussed as a
                                            separate pathway.

                     Potential Off-site Migration of Organic Constituents
                     As discussed in Sections 7.1 and 7.2, the biogeochemical environment of the "B" and
                     "C" flow units change south of the McColl site boundary. For this reason, the
*****                mobility and transport characteristics of the constituents migrating on-site change. Off-
                     site, approximately five hundred feet downgradient of the sump areas, THT
                     compounds are detected in a laterally limited area of coarse- to fine-grained portions
                     of the "B" and "C" flow units (wells P-10D, P-5L, and possibly P10L). Detections of
                     1,2-DCA and benzene, and elevated concentrations of the primary inorganics are not
                     generally present in these narrow off-site area. On-site concentrations of 1,2-DCA and
                     benzene likely decreased downgradient due to dilution of the already low
                     concentrations observed on-site. Concentrations of the inorganics decreased to
                     background concentrations likely due to an acid/base reaction which caused
                     precipitation and the immobility of the dissolved inorganics.

                     Therefore, off-site migration is limited to the THT compounds, as described below.

                                •           Off-site "B" Flow Unit Migration: Laterally limited downdip
                                            (southwest) migration of THT compounds within the "B" flow
                                            unit above the "B" clay packet from the laterally limited area of
                                            THT compounds detected at well P-10D southwest of the site.
\^/                                         This area is believed to be laterally limited due to the limited

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                                            width of the potential source area and the lack of THT
                                            compounds detected during the drilling of pilot holes PH-8 and
*     j                                     PH-9. Data are inconclusive as to whether the underlying off-
                                            site "B" clay packet is leaky. THT compounds were detected in
                                            soil samples from this clay packet; however, THT compounds
                                            were not detected in groundwater grab samples collected in the
                                            "C" flow unit immediately below the "B" clay. As discussed in
                                            Section 7.2, the THT compounds may be degrading during this
                                            off-site migration.

                                 •           Off-site "C" Flow Unit Migration: Laterally limited downdip
                                             (southwest) migration of THT compounds above the "C" clay
                                             packet within the "C" flow unit from the laterally limited area of
                                             THT compounds detected at wells P-5L and P-IOL. (However,
                                            the "C" flow unit at the well P-5L location thins to a finer-
                                             grained sediment. Because of the low permeability of sediment
                                             at well P-5L, transport processes would be anticipated to be
                                            slow. Downgradient transport of THT compounds would
                                            therefore be expected to be limited. The lack of detection of
                                            THT compounds from grab samples within the "C" flow unit at
^^                                          the immediately downgradient PH-8 pilot hole location appears
                                            to verify this hypothesis.) Additionally, vertical migration of
                                            THT compounds to the underlying "D" flow unit at the well P-
                                            5L location is not considered a potential migration pathway as no
                                            THT compounds have been detected in the underlying well P-5D
                                            over the duration of the monitoring program. Data are not
                                            available to determine if the "C" clay in the P-IOL location is
                                            leaky, and represents a vertical migration pathway. As discussed
                                            in Section 7.2, the THT compounds may be degrading during
                                            this off-site migration.

                    "D" Flow Unit
                    Neither organic or elevated concentrations of inorganic constituents have been detected
                    in the "D" flow unit, indicating no significant pathway for constituent migration
                    currently exists. The only detected organic or inorganic constituents with any future
                    potential to migrate to the "D" flow unit are the THT compounds. The detection of
                    benzene only in the perched portions of the flow units and the very low concentrations
^ ,                 of 1,2-DCA detected indicate limited potential to migrate to the "D" flow unit. The

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                mobility of the inorganics appears to be limited by low on-site pH conditions. The
                only migration pathways with any future potential to contribute THT compounds to the
                "D" flow unit are theoretical and are as follows:

                           •          Laterally limited vertical migration of THT compounds through the "C"
                                      clay at the P-IOL location. This pathway is purely theoretical as no
                                      data have been collected in this location.

                           •          Lateral migration of THT compounds at some distance greater than five
                                      hundred feet off-site, from the laterally limited area of THT compounds
                                      detected within the "C" flow unit (e.g., well P-IOL) into the "D" flow
                                      unit if the "C" clay packet pinches out, is eroded away, or dips into the
                                      "D" flow unit. This conditional pathway is purely theoretical and has
                                      not been observed in any boring drilled south of the site.

    9.5        Risk Assessment (DRAFT)
N




    This VeHUried text presents a draft "summary of the baseline risk assessment as prepared b^
    U.S.;BPA1s;;contractor, ICF Kaiser, This text will be updated based on inorganic background
    concentrations presented in the Anhuaf Monitoring Report for the McColl site. ^ Given the
    inherent uncertainties^ the exposures4that are 'most likely to pose? excess carcinogenic risks and
    rtonearcjinogienic hazard effects at the MeCoB Site are those experienced by residential
    receptors who are exposed to COPCs in groundwater by incidental ingestion, The chemicals
    that contribute most' to these excess carcinogenic risks include arsenic and beryllium In wells
    screened in jthe perched aquifer* Arsenic ,was identified as a CO'PC in soil samples collected
    from the Site, whereas beryllium was not. ~ 'The concentrations of'beryllium in growidw/ater
    may be attributed to the leachabiEty of natw ally-ocexirrmg chemicals in. the vadose #one doe
    to the. low? pH in groundwater. Noncarcinogenic hazard effects may also be expected to occur
    from the ingestion of manganese in wells screened in the perched zone.

    Of the inorganic compounds found to exceed their corresponding MCLs^ manganese m the
    perched son'es was found to exceed the corresponding criteria by several orders ol magnitude.
    Such concentrations of manganese are $u|fitien% high that, even given any moderate dilution
    that might be assumed for a reasonable groundwater transport and well withdrawal scenario, it
    is likely that the risks that might be estimated in association with ingestion of chemicals in
                er' would be found to be'unacceptable.



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Although it is u&l&ely that locally perched groxmdwater would be classified as a potable
source, the importance of evaluating the potential health risks is based On the possibility that
some areas of the perched zones are hydraullcaliy connected to the deeper regional aquifer
which serves as a'potential drinking water source.

Carcinogenic risks associated with wells screened In the deeper regional aquifer are within and
are slightly above (RMB scenario)T'the established risK range' (1 & JO"4 to I, x 10"*). M
addition* noncarcinogenic hazard effects may occur Irom groundwater ingestion of chemicals
detected in wells screened in the regional aquifer^ However, the concentrations of' Cheriskr
driving chemicals Inthe regional wells Ire either below the corre^pon'ding MCL farsenic) or
appeaiP.to.be wiMn'backgrouM levels

The potential risks associated with thiophene-based compounds could hot be assessed
quantitatively because of the lack of EPA-verifled toxicity criteria- The odor threshold
concentration (OTC) for THT, which is the concentration at which,50 percent of the
population can detect an odor, is 0.0006 ppm or p,00l$ mg/ma. In comparison to most
chemicals, THT can be detected at relatively Jow concentrations.

9.6        Conclusions

Data and analyses presented within this RI Report are sufficient to proceed with the feasibility
analysis to identify, screen, and select an appropriate remedial response (if any) for
unacceptable (if any) concentrations of constituents within groundwater at the McColl site.
The conceptual hydrogeologic model has been verified with subsequent well installations, such
as well P-IOL. The distribution of constituents is in agreement with the hydrogeologic model.
The only outstanding matters are (i) the integrity of the well seal across the "B" clay unit at
well P-IOL and therefore the integrity of the data collected at well P-IOL, and (ii) further
study of the fate and transport characteristics of the THT compounds. These matters are
currently under investigation under TM 10-20, TM 10-21, and will be presented as addendum
reports to the RI report.




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                                                   TABLE 2-1

            WELL INSTALLATIONS AND ABANDONMENTS PRIOR TO TASK 10
                                  McColl Site

              Author                Date                                    Scope

   DOHS, Caltrans, ARB,             1981      In Ramparts area, 12 boreholes were drilled, including six in
   SCAQMD                                     sumps, five in adjacent soils, and one in background. Analyses
                                              were for pH, sulfates, and heavy metals.

   DOHS                             1981      In Ramparts area, monitoring well A- 13 was installed and a
                                              groundwater sample was collected. Analyses were for pH, sulfate,
                                              and organic compounds.

   Radian                           1982      Three deep wells (depths of 232 to 273 feet) were installed. Well
                                              W-2 was located north of Ramparts area. Wells W-l and W-3
                                              were located south and southeast of the Los Coyotes areas. Wells
                                              W-l and W-2 were later abandoned in 1991. The well head of
                                              well W-3 was covered during repaving of its street location.

   DTSC                           1983/1984   Four deep monitoring wells (W-4, W-5, W-6B, and W-8B) and
                                              two shallow wells (W-6A and W-8A) were installed. Wells were
                                              first sampled in 1987. Wells W-5 and W-6B has since been
                                              abandoned.

   CH2M Hill                        1987      Six deep monitoring wells (P-1D through P-6D), and three shallow
                                              wells (P-3S, P-5S, and P-6S) were installed during an expanded
                                              groundwater assessment. Wells were sampled for organic and
                                              inorganic parameters.

   Ecology and                    June 1989   Three deep upgradient wells (W-9B, W-9C, and W-l OB) were
   Environment                                installed.




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                                                                                             TABLE 2-2

                                                                       MONITORING PROGRAM PRIOR TO TASK 11
                                                                                    McColl Site

   Well       Installation         Installed    Elevation1   Total                                                                   Sampling Events
   Name          Date                 By                     Depth 2
                                                                       6/   11   10/   I/   4/      8/        III   21     41   11      4/    7/   6/      11   61   10/9   I/   4/   8/   12/   3/   7/9
                                                                       82   82   82    83   86      86        86    87     87   88      88    88   89      90   90    0     91   91   91   91    92    2

   A-134         01/81              DTSC         290.90       45.0                                  X                      X    X       X                                                  X          X
         4                                  b
   W-l           01/82             Radian        265.48      245.0     X         X     X                      X        X   X    X       X     X

   W-24           01/82            Radian11      314.97      273.0          X               X        X        X        X   X    X       X     X        X   X    X     X

   W-34           01/82            Radianb       292.78      232.0               X     X    X        X        X        X        X       X     X

    W-4           01/83             DTSC         302.47'     250.0                          X        X        X        X   X    X       X     X        X   X    X     X     X    X    X    X     X

   W-54           04/84             DTSC         290.54      248.0                                                     X   X    X       X

   W-6A           01/83             DTSC         293.35'      50.0                          X        X        X        X   X    X       X

   W-6B"          01/83             DTSC         290.54       260.0                         X        X        X        X   X    X       X              X   X    X     X     X    X    X    X     X    X

   W-8A           01/83             DTSC         266.00'      105.01                                                       X    X       X

   W-8B           01/83             DTSC          266.44      310.0                                  X        X        X                 X             X   X    X     X     X    X    X    X     X     X

    P-1D          01/87           CH2M Hill J    298.34'      248.0                                                        X    X        X             X   X    X     X     X    X    X    X     X     X

   P-2D4          01/87           CH2M Hill J    266.96'     230.0'                                                        X    X        X             X   X    X     X     X    X    X    X     X     X

    P-3S          01/87           CH2M Hill d    281.423      69.1'                                                        X    X        X             X   X    X     X     X    X    X    X     X     X

    P-3D          01/87           CH2M Hill j    282.40'     250.0'                                                        X    X        X             X   X    X     X     X    X    X    X     X

    P-4D          01/87           CH2M Hilld     282.53'      240.0                                                        X    X        X             X   X    X     X     X    X    X     X    X

    P-5S          01/87           CH2M Hill d    259.26'       81.0                                                        X    X        X             X   X    X     X     X    X    X     X          X

    P-5D          01/87           CH2M Hill J    259.40'      265.0                                                        X    X        X             X   X    X     X     X    X    X     X



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                                                                                                          TABLE 2-2

                                                                          MONITORING PROGRAM PRIOR TO TASK 11 (continued)
                                                                                           McColl Site

      Well        Installation         Installed       Elevation 1       Total                                                                 Sampling Events
      Name            Date                By                             Depth 2
                                                                                    6/   11   10/   11   41      8/    ll/      21   41   I/      41    11   6/      I/   61   10/9   I/   41   8/   121   3/   7/9
                                                                                    82   82   82    83   86      86    86       87   87   88      88    88   89      90   90    0     91   91   91   91    92    2

       P-6S          01/87            CH2M Hill 0           279.71'       64.0                                                       X    X       X              X   X    X     X     X    X    X    X

       P-6D           01/87           CH2M Hill"            279.52'       235.0                                                           X       X              X   X    X     X     X    X    X    X     X    X

       W-9B           01/89              E&EC               316.71'       225.0                                                                                  X   X    X     X     X    X    X    X     X    X

       W-9C           01/89              E&E'               316.09'       320.0                                                                                  X   X    X     X     X    X    X    X     X    X

      W-l OB          01/89              E&E"               314.55        216.0                                                                                  X   X    X     X     X    X    X    X     X    X

      Coyote 1 (Municipal Well)                                                     X

      Pioneer (Municipal Well)                                                      X

1                                                               J
  Feet above Mean Sea Level            " Guadagnino, 1981         CH2M Hill, 1987
2
  Measured from ground surface in feet * Radian, 1983           • E&E, 1989
1
  Value corrected during Task 10       • Reynolds, 1984
  RI investigation
' Well abandoned prior to Task 10
  RI investigation




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                                                         TABLE 2-3

                                           TASK 10 PILOT HOLE PROGRAM
                                                     McColl Site


         Pilot       Ground Surface Elevation         Total Depth         Drilling    Adjacent     Associated Pre-
         Hole               (ft. MSL)                   (ft bgs)          Method     New Wells      existing Wells

        PH-1                       265.3                   187                 RS    P-2S, P-2I,         -
                                                           230                DWP     P-2D(R)
        PH-2                       284.2                   196                RS         -           P-3S, P-3D
                                                           350                mud
        PH-3                       283.4                   188                RS        P-4I            P-4D
        PH-4                       258.9                   152             RS        P-5I, P-5L      P-5S, P-5D
                                                           202            ARCH
        PH-5                       267.8                   163                RS         ~          W-8A, W-8B
        PH-6                       280.6                   196                RS         --              ~
        PH-7                       287.3                   185                RS         —               —
        PH-8                       264.0                   190                HSA        -               ~
                                                           250                mud
        PH-9                       263.3                   250                HSA      P-9D              ~
         PH-                       248.4                   105                HSA     P-10D,             -
          10                                               205                mud      P-IOL


Drilling Method Abbreviations:
RS = Resonant Sonic, continuously cored.
mud = Mud Rotary, continuously cored.
HSA = Hollow Stem Auger, continuously cored.
DWP = Dual Wall Percussion, continuously cored.
ARCH = Air Rotary Casing Hammer, regular drive samples and logged cuttings.

ft. MSL = Feet above mean sea level datum,
ft. bgs = Feet below ground surface.




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                                                        TABLE 2-4

                                  TASK 10 WELL CONSTRUCTION SUMMARY
                                                McColl Site

          Well                Ground Surface           Top of Casing   Screened Interval   Total Well Depth
                                Elevation                Elevation         (ft. bgs)            (ft. bgs)
                                (ft. MSL)                (ft. MSL)

   "A" Flow Unit
         P-2S*                     265.67                  268.47         20.0 - 25.0            27.3
         P-3S                      282.02                  281.42         60.0 - 70.0            69.1
   "B" Flow Unit
         P-2I*                     265.41                  267.66        125.0   - 135.0         139
         P-4I*                     283.84                  283.34        115.5   - 125.5        127.7
         P-5I*                     259.98                  259.77         82.0   - 92.0         97.5
         P-5S                      260.09                  259.26         70.0   - 80.0          81
         P-6S                      280.29                  279.71         52.0   - 62.0          64
        P-10D*                     248.84                  248.42        186.0   - 196.0         200
   "C" Flow Unit
      P-2D(R)*                    265.26                   266.96         20.0 - 30.0            230
        P-3D                      283.11                   282.40       240.0 - 250.0            250
        P-4D                      283.28                   282.53       225.0 - 235.0            240
       P-5L*                      258.84                   258.13       195.5 - 205.5            210
        P-6D                      280.22                   279.52       222.0 - 232.0            235
       P-9D*                      263.79                   263.26       214.0-231.0              239
       P-IOL*                     249.03                   248.63       247.7 - 257.7           259.5
        W-6A                      291.35                   293.35         30.0 - 50.0             50
        W-8A                      266.46                   266.00        85.0 - 105.0            105
   "D" Flow Unit
        P-1D                      298.37                   298.34       223.0 - 243.0            248
        P-5D                      260.28                   259.40       253.0 - 265.O            265
         W-4                      303.14                   302.47       225.O - 25O.O            250
        W-8B                      266.94                   266.44       260.0-310.0              310
        W-9B                      317.59                   316.71       214.9 - 224.9            225
        W-9C                      317.19                   316.09       309.8 -319.80            320
        W-l OB                    315.25                   314.55       204.9 - 214.9            216

* New wells constructed by ENVIRON during 1994-1995 field program,
ft. MSL = Feet above mean sea level datum,
ft. bgs = Feet below ground surface.




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                                  #:5002
                                                         TABLE 2-4

                                   TASK 10 WELL CONSTRUCTION SUMMARY
                                                 McColl Site

          Well                 Ground Surface           Top of Casing    Screened Interval   Total Well Depth
                                  Elevation               Elevation          (ft. MSL)            (ft. bgs)
                                 (ft. MSL)                (ft. MSL)

   "A" Flow Unit
         P-2S*                      265.67                  268.47         245.7 - 240.7           27.2
         P-3S                       282.02                  281.42         221.5-211.5             70.3
   "B" Flow Unit
         P-2I*                      265.41                  267.66        139.8   - 129.8         137.8
         P-4I*                      283.84                  283.34        167.8   - 157.8         128.2
         P-5I*                      259.98                  259.77        177.8   - 167.8         94.4
         P-5S                       260.09                  259.26        189.4   - 179.4         81.5
         P-6S                       280.29                  279.71        228.4   -218.4          62.2
        P-10D*                      248.84                  248.42         62.4   - 52.4          198.7
   "C" Flow Unit
      P-2D(R)*                     265.26                   266.96         52.4 - 42.4            224.8
        P-3D                       283.11                   282.40         42.5 - 32.5             255
        P-4D                       283.28                   282.53         57.5 - 47.5             240
       P-5L*                       258.84                   258.13         62.6 - 52.6            206.8
        P-6D                       280.22                   279.52         57.4 . 47.4             235
       P-9D*                       263.79                   263.26         49.2 - 32.2            233.6
       P-IOL*                      249.03                   248.63         0.3 - (-9.7)           260.8
       W-6A                        291.35                   293.35        263,6 - 243.6           47.5
        W-8A                       266.46                   266.00        180,8 - 160.8            105
   "D" Flow Unit
         P-1D                      298.37                   298.34         74.9 - 54.9            248
         P-5D                      260.28                   259.40         4.5 - (-5.5)           265
         W-4                       303.14                   302.47         77.5 - 52.5            250
        W-8B                       266.94                   266.44        6.9 -(-44.1)            310
        W-9B                       317.59                   316.71         102.7 - 92.7           225
        W-9C                       317.19                   316.09         7.4 - (-2.6)           320
        W-l OB                     315.25                   314.55        110.3 - 100.3           216

* New wells constructed fay ENVIRON during 1994-1995 field program,
ft. MSL = Feel above mean sea level datum,
ft. bgs = Feet below ground surface.




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  CHEMICAL TESTING PARAMETERS,       QUARTERLY
                                  #:5003           MONITORING PROGRAM
                                                              McColl Site
                                  Parameter                                                   Analytical Method

   RAS Volatile Organic Compounds                                                                CLP GC/MC2

   SAS THT Compounds                                                                              CLP GC/MS

   RAS Semi-Volatile Compounds                                                                    CLG GC/MS

   RAS Metals (total and dissolved)
                              Aluminum                                                                 CLP
                              Antimony                                                                 CLP
                                Arsenic                                                                CLP
                                Barium                                                                 CLP
                              Beryllium                                                                CLP
                               Cadmium                                                                 CLP
                                Calcium                                                                CLP
                              Chromium                                                                 CLP
                                 Cobalt                                                                CLP
                                Copper                                                                 CLP
                                  Iron                                                                 CLP
                                 Lead                                                                  CLP
                              Magnesium                                                                CLP
                              Manganese                                                                CLP
                               Mercury                                                                 CLP
                                Nickel                                                                 CLP
                              Potassium                                                                CLP
                               Selenium                                                                CLP
                                 Silver                                                                CLP
                                Sodium                                                                 CLP
                               Thallium                                                                CLP
                              Vanadium                                                                 CLP
                                 Zinc                                                                  CLP
   General Chemistry

                        Alkalinity, Total                                                          EPA 3 10.1
                    Chemical Oxygen Demand                                                         EPA 4 10.4
                            Chloride                                                                EPA 300
                             Nitrate                                                                EPA 300
                         Nitrite (as N)                                                             EPA 300
                                    pH*                                                            EPA 9040
                      Specific Conductance*                                                        EPA 9050
                              Sulfate                                                               EPA 300
                          Temperature*                                                             EPA 170.1
                      Total Dissolve Solids                                                        EPA 160.1
                      Total Organic Carbon                                                         EPA 415.1
                      Total Reactive Sulfide                                                       EPA 9030
                            Turbidity*                                                             EPA 180.1

* These parameters are tested in the field at the time of ground water sampling using field instruments and
 methods.
RAS = Routine Analytical Services
SAS = Special Analytical Services
CLP = Contract Laboratory Program




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                                                              TABLE 2-6

                            GROUNDWATER GRAB SAMPLE CHEMICAL DATA
                                          McColl Site

   Sample ID            Sample Depth#              Total          Total VOCs**              PH            Sulfate              TOC
                           (ft. bgs)              THT's               0«g/L)              (units)         (mg/L)              (mg/L)
                                                  fog/L)
   PH4                            170              1,330                ND                  NA              NA                 NA
                                  194               ND                  ND                  8.2              65                <10
                            194 Dup.                ND                   ND                 8.3              62                <10
   PH8                            193               ND                  ND                  7.8              40                <10
                            193 Dup.                ND                  ND                  7.7              45                 12
   P-IOL                       218                18,500                891                4.61            7,700               350
                             231@                   ND                   0.2               7.96              71                <10
                             245@                   ND                  ND                 7.85              71                15
                             26 1@                  ND                  18.6               7.87             102               25.3

ft. bgs   = feet below ground surface
/jg/L     = micrograms per liter
mg/L      = milligrams per liter
ND        = Not Detected
NA        = Not Analyzed
          ft Sample depth refers to depth of drill pipe or Hydropunch and not depth to ground water.
          * Total THT's equals the sum of Tetrahydrothiophene, 2-Methyltetrahydrothiophene, and 3-Methyltetrahydrothiophene
             concentrations.
          ** Total VOCs equals the sum of detected VOCs. However, methylene chloride and acetone, common laboratory
             contaminants, were excluded from this calculation.
          @ Samples collected using a Hydropunch.




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                                                            TABLE 2-7

             ORGANIC CHEMICALS DETECTED IN SOIL AND WASTE IN SUMP AREAS (1987)
                                       McColl Site


              Constituent                   Total Samples                  Positively Detected1     % Detected2

    Methylene Chloride                             91                              79                   87
    Benzene                                        91                              42                   46
    Ethylbenzene                                   91                              31                   34
    Toluene                                        91                              44                   48
    Xylenes (mixed)                                91                              32                   35
    Acetone                                        91                              81                   89
    2-Butanone                                     91                              39                   43
    Bis(2-ethylhexyl)phthalate                     78                              35                   45
    Diethylphthalate                               78                               4                  5.1
    2-MethyInaphthalene                            78                              20                   26
    Naphthalene                                    78                              35                  45
    Phenanthrene                                   78                              7                   9.0
    THT Compounds                                  87                              44                   51
    TICs3                                          87                              79                   91

'Positively detected chemicals include J and B qualified data.
2
  % Detected = (Number of Samples Positively Identified/Total Samples) x 100.
3
 TICs (Tentatively Identified Compounds) represent chemicals grouped under "Others" by CH2M Hill.

Source: CH2M Hill Field Report, October 9, 1987.




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                                                           TABLE 2-8

                   INORGANIC CHEMICALS DETECTED IN SOIL AND WASTE
                                 IN SUMP AREAS (1987)
                                      McColl Site

              Chemical                       Total Samples                 Positively Detected1   % Detected2

    Aluminum                                       44                              43                 98
    Arsenic                                        44                              20                 45
    Barium                                         44                              31                 70
    Calcium                                        44                              36                 82
    Chromium                                       44                              42                 95
    Copper                                         44                              34                 77
    Iron                                           44                              44                100
    Lead                                           44                              38                 86
    Magnesium                                      44                              34                 77
    Manganese                                      44                              44                100
    Mercury                                        41                              13                 30
    Nickel                                         44                              21                 48
    Potassium                                      44                              23                 52
    Sodium                                         44                              3                 6.8
    Vanadium                                       44                              36                 82
    Zinc                                           44                              41                 93

'Positively detected chemicals include J and B qualified data.
2
 % Detected = (Number of Samples Positively Identified/Total Samples) x 100.

* Positively detected in at least 5% of samples.

Source: CH2M Hill Field Report, October 9, 1987.




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                                                                 TABLE 4-1

            GENERALIZED STRATIGRAPHIC COLUMN OF WATER-BEARING SEQUENCE
                             ORANGE COUNTY, CALIFORNIA
                                     McColl Site

      Series            Formation            Regional             Depositional                   Type Section Description
                       (Thickness)         Groundwater            Environment                     (West Coyote Oilfield)
                                            Zonation

  Upper                 La Habra            Semi-perched      Non-marine flood plain   Upper 140 feet: MUDSTONE, sandy and
  Pleistocene           Formation              zones of        and fluvial deposits    pebbly with streaks of calcium carbonate.
                      (200-1500+/-)         limited extent                             Weathers easily to dark clay
                                                                                       Lower 70 feet: SANDSTONE, coarse-grained
                                                                                       to pebbly, poorly cemented and sorted with a
                                                                                       clayey matrix

  Lower                Coyote Hills        Discontinuous        Non-marine fluvial     Upper 195 feet: PEBBLY SANDSTONE,
  Pleistocene           Formation           groundwater         deposits (may also     pebbles are crystalline to 4-inches, in matrix
                      (250-500 +/-)            zones           include final marine    of coarse-grained arkosic sand
                                                               regression sequence)    Lower 95 feet: MUDSTONE with interbedded
                                                                                       sandstone and pebble conglomerate

  Lower                 San Pedro          "Main" aquifer,    Shallow to deep marine   Upper 170 feet: SAND, coarse-grained to
  Pleistocene           Formation           interconnected             sands           pebbly with clayey matrix
                         (500+)               to greater                               Next 155 feet: SILTY SANDSTONE,
                                            extent, yields                             massive, silty with depth
                                           large quantities
                                            of fresh water

References: DWR, Southern District, 1967.
            Yerkes, USGS Prof. Paper 420-C, 1972.




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                                                           TABLE 4-2

                                             SITE HYDROSTRATIGRAPHY
                                       GROUNDWATER REMEDIAL INVESTIGATION
                                                     McColl Site

  Geologic Formation               Depositional     Hydrostratigraphic                         Description
                                   Environment            Units

La Habra Formation               Non-marine         "A" Flow Unit         The "A", "B" and "C" flow units are silty and clayey
                                 flood plain and                          sands observed to be interbedded with silts and clays.
                                 fluvial deposits   "B" Flow Unit         Individual sandy beds appear to be discontinuous,
                                                                          though sandy packages of sediments can be correlated
                                                    "C" Flow Unit         across the site. The flow units overlie the "A Clay,"
                                                                          "B Clay," and "C Clay" respectively.

                                                                          The flow units and their basal clays daylight in the
                                                                          area of the McColl site and dip to the southwest. The
                                                                          flow units have a generally low hydraulic
                                                                          conductivity. The flow units are partially saturated or
                                                                          unsaturated beneath the McColl site.
Coyote Hills Formation           Non-marine         "D" Flow Unit         The "D" flow unit is a massive silty and gravelly sand
                                 fluvial deposit                          with some interbedded silts.

                                                                          The "D" flow unit is unconfined beneath the northern
                                                                          portion of McColl site, and appears confined by the
                                                                          La Habra Formation clays in the southern portion and
                                                                          south of the site.




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                                                                TABLE 4-3

                      SUMMARY OF QUARTERLY GROUNDWATER ELEVATIONS (1994-95)
                                           McColl Site


                                  Screened    Groundwater     Groundwater         Groundwater   Groundwater        Net
              Well                 Interval    Elevation       Elevation           Elevation     Elevation      Elevation
                                  Elevation    (11/30/94)       1/11/95              4/3/95       7/10/95       Change 1
                                  (ft.MSL)                                                                         (ft)

           "A" Flow Unit
              P-2S           245.7 - 240.7      239.17               238.89         240.89        239.02             -0.15
              P-3S          221.4 -211.4        220.76           220.64              220.5        221.97             1.21
              Average Groundwater Elevation Change (ft):                                                             -0.15
           "B" Flow Unit
              P-2I           139.8 - 129.8      157.81               158.43         158.94        160.37             2.56
              P-4I           167.8 - 157.8      185.57               185.13         184.52        186.33             0.76
              P-5I           177.8 - 167.8      195.61               195.48         194.99        196.57             0.96
              P-5S           189.3 - 179.4      189.34               188.85         188.74        190.91             1.25
              P-6S          228.4 - 218.4       223.25           223.09             223.06        225.55             2.30
             P-10D            62.4 - 52.4       138.88               139.18         139.06        139.67             0.79
              Average Groundwater Elevation Change (ft):                                                             1.44
           "C" Flow Unit
           P-2D(R)            52.4 - 42.4        89.51               88.07           89.58        92.62              3.11
              P-3D            42.5 - 32.5       89.72                88.33           89.6         92.80              3.08
              P-4D            57.5 - 47.5       89.78                88.34           89.57        92.65              2.87
              P-5L            62.6 - 52,6       86.38                85-45          88.11         91.15              4.77
              P-6D            57.4 - 47.4       92.96                90.35          93.54         96.72              3.76
              P-9D            49.2 - 32.2       86.95                89.16          93.39         96.14              9.19
             P-IOL            0.3 - (-9.7)       NA                  NA              NA           *99.99             NA
             W-6A           263.6 - 243.6       248.00           247.68             256.53        255.04             7.04
             W-8A           180.8 - 160.8       DRY                  DRY            DRY           DRY                NA
              Average Groundwater Elevation Change (ft):                                                             4.23




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                                                                         TABLE 4-3

             SUMMARY OF QUARTERLY GROUNDWATER ELEVATIONS- 1994-95 (continued)
                                     McColl Site


                                  Screened       Groundwater           Groundwater             Groundwater   Groundwater        Net
              Well                Interval        Elevation             Elevation               Elevation     Elevation      Elevation
                                  Elevation       (11/30/94)             1/11/95                  4/3/95       7/10/95       Change 1
                                  (ft.MSL)                                                                                      (ft)

           "D" Flow Unit
              P-1D            74.9 - 54.9             93.70                  90.33                93.49         96.70             3.00
              P-5D            4.5 - (-5.5)             91.9                  90.30                93.56         96.74             4.84
               W-4            77.5 - 52.5             93.83                  90.24                93.43         96.45             2.62
              W-8B           6.9 - (-44.1)            93.58                  90.89                94.09         97.09             3.51
             +W-9B            102.7 - 92.7            121.35                 121.26              120.06        121.59             0.24
             +W-9C            7.4 - (-2.6)            114.06                 113.82              112.94        114.47             0.41
            + W-l OB         110.3 - 100.3            113.94                 113.7               113.64        1 14.42            0.48
              Average Groundwater Elevation Change (ft):                                                                          1.89

'Net elevation change represents change in depth to water from first through fourth quarter.

& MSL =     Elevation in feet above mean sea level datum.
                   ** Change in elevation based on depth to water.
                   # Water level below base of screened interval.
                   + Background monitoring well.
                   * Water level measured on 7/24/95.
             NA = Not Applicable.




McColl Site Group
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                                                                             Exhibit 38
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                                 TABLE

                                              SOIL CHEMICAL DATA
                                                    McColl Site
    Pilot Hole/Well            Sample Depth    Total THT's       Total VOCs**     PH       Sulfate    TOC
         Boring                  (ft. bgs)       fag/kg)            Gtg/kg)     (units)   (mg/kg)    (mg/kg)

            PH-1                    14.5           144                 15        8.4         94       6,200
                                      18           ND                  6         7.7        129       1,000
                                   18.5D           ND                  2         7.8        135       1,200
                                    37.5           278                25         6.7        512        330
                                     47            256                32         7.6        424        720
                                     58            394                 4         7.9        149        390
                                    63.1           424                52         7.9        216        480
                                     87            ND                 ND         8.2         11        180
                                     103           ND                 ND         7.9         17        350
                                   116.5           ND                 26         7.8         14        490
                                   128.5          1,110                2         7.0        293        370
                                    139            ND                 ND         7.6        27         400
                                    144            ND                 ND         8.7         12        190
                                   167.5            8                 ND         7.5        40         940
                                    174             2                 ND         8.7        60         650
                                   183.5           ND                 ND         9.0         19        320
                                    187            ND                 ND                    72         690
         P-2D(R)                   197.5          ND                   1                    22        320
           PH-2                      34           ND                  ND         8.3        23        120
                                    48.5          ND                  ND         7.7        13        160
                                    67.5          ND                  ND         9.1        18        210
                                     102          ND                  ND                    24        150
                                   102.5          ND                  ND                    15        230
                                    112           364                 ND         7.8       180        120
                                   136.5          520                 155        4.0      2,300       620
                                   137D           530                 200        4.0       990        480
                                    190           ND                   14        9.1       190       4,000
                                   205.5           32                 ND         8.4       110        280
           PH-3                      11           ND                  ND         7.6       354        310
                                    56            ND                   9         8.6        18        190
                                   77.5           ND                   4         8.4        11        560
                                    87            ND                  ND         7.7        59        230
                                    106           ND                  ND         8.3        13        220
                                   119.4          24                   18                  263        180
                                   134.5          ND                   7         8.6        16        360
                                   160.5          ND                  ND         8.5        22        140
                                   172.5          ND                  ND         8.4       24         260
                                   187.5          ND                   16        7.8       176        250
           PH-4                     77.5          ND                  ND                    12        260
                                   77.5D          ND                  ND                    14
                                     147          ND                  ND         8.3        28        570
                                   186.5          ND                  ND                    53        530
                                     189           3                  ND        10.2        55       2,700




McColl Site Group
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                                TABLE

                                            SOIL CHEMICAL DATA (continued)
                                                     McColl Site

     Pilot Hole/Well          Sample Depth          Total THT's         Total VOCs**            PH          Sulfate       TOC
          Boring                (ft- bgs)             Otg/kg)              0*g/kg)            (units)      (mg/kg)       (mg/kg)
              PH-5                   11.5                 ND                   ND               7.7          45           8,200
                                      37                  ND                   ND               7.3          140           940
                                      71                  ND                    9               9.0          25            700
                                      80                  ND                    9               8.4           19          1,200
                                      90                  ND                   20               8.4          85           1,100
                                     95                   ND                   16               7.0         200            830
                                     101                  30                   29               6.0         1,400          960
                                     136                  ND                   11               8.7          13            690
                                     144                  ND                   30               8.4           13          1,200
                                     163                  ND                   20               8.3          64           4,800
             PH-6                    33                  ND                    ND               9.3           54           380
             PH-7                   33.5                 ND                   ND                8.4          22            190
                                     173                 ND                   ND                8.8           9            280
                                    65.5                 ND                   ND                8.3           7            130
             PH-8                    111                 ND                   ND                8.2          12           <100
                                    152.5                ND                   ND                             21            810
                                    182.5                ND                   ND                             10            160
                                     247                 ND                   ND                9.3          55           420
             PH-9                   26.5                 ND                   ND                8.1          71           <100
                                     27                  ND                   ND                8.1          86           330
                                    161                  ND                   ND                9.5          17           440
            PH-10                    59                  ND                   ND                8.5          82           3,100
                                     81                  ND                   ND                7.9          21            300
                                    153                  ND                    1                8.0          92
                                    183                  ND                   ND                8.6          23            430
                                    191                  22                    7                8.8          64            390
                                    196                  27                   ND                8.4          125           120
                                    204                  19                   11                7.9          42            980
            P-IOL                  211.5                1,970                 99.8             6.1         4,800          2,800
                                  211.5RE               1,300                  62              NA           NA             NA
                                   218.5                 ND                   ND               8.4          26            1,200
ft. bgs   = feet below ground surface
Hg/kg     = micrograms per kilogram
mg/kg     = milligrams per kilogram
ND        = Not Detected
NA        = Not Analyzed
          * Total THT's equals the sum of Tetrahydrothiophene, 2-Methyltetrahydrothiophene, and 3-Methyltetrahydrothiophene
             concentrations.
          ** Total VOCs equals the sum of detected VOCs. However, methylene chloride and acetone, common laboratory contaminants,
             were excluded from this calculation.
          + Sample was reanalyzed because all internal standards were below limits.




McColl Site Group
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                                                                  4969
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                                  FIGURES




                                   Exhibit 38
                                     4970
                              Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 128 of 183 Page ID
        C                                                       #:5014




                                                  LA HABRA

                                              Oranrt County IMu




                                                                                                                                      Figure
                                                     McColl General Site Location
€ N V I R ON                                         Groundwater Remedial Investigation
                                                     McColl Site                                                                      1-1
Counsel in Health and Environmental Science          Fullerton, California
                                                                           Exhibit 38
                                                  Drafter: RS     Dote: 10/95 4971 Contract Number: 03-3493X   Approved:   Revised:
                                         Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 129 of 183 Page ID
                                                                           #:5015




                                                                                                                                W-10B^

                                                                                        Rosecrans Avenue



                                                                                                                                                                            EXPLANATION


                                  P-1D                                                                                                                                         Waste Sumps
                Ralph B. Clark
                   Regional
                     Park                                                                                                                                                      Facility Bounaary

                                                                                                                                                                               "A" Flow Unit Monitoring Well

                                                                                                                                                                               "B"   Flow Unit Monitoring Well

                                                                                                                                                                               "C"   Flow Unit Monitoring Well

                                                  (obandon«d)
                                                                                                                                                          Crown                "D"   Flow Unit Monitoring Well

                                                                                                                                                                    r W-2
                                                                                                                                                                               Abandoned Well




                                                                                      W-8B
                                                                                                 r
                                                                                                     -8A




                                                                                                                                P-6S
               P-2S
                        hP-2DR                                                                                                                    Royale
                P-2D
                (obondonad)

                                                                '-40
                                                                                                                                      O
                                                                                            P-iS
                                                                                                                                       o
                                                                                     P-5D                          O                   2
                                                                                                 P-51                                  oi
                                                                                                                   •a

                                             Los Coyotes                                                           5 Locklin Woy |
                                               Country                                      'rp-s                  £ JS          v>
                                                Club                                                                    W-3                                                                                       400
                                                                                                                              over)



       P-10D                                                                                 c                                                                                       SCALE IN FEET
                                                                                             V
                                                                                             o

    P-10L

                                                                        W-1
                                                                                                                                                                  '                  6NVIRON
                                                                                                                                                                  S820 Shellmound Street Suite 700, Emeryville, California 94608



c
                                                                       (abandoned)
                                                                                                                                                          LO
                                                                                                                                                          O         Site Plan
                                                                                                                                            Locklin Way             Groundwater Remedial Investigation
                                                                                                                                                                    McColl Site
                              \                                                                                                                            UI
                                                                                                                                                                    Fullerton, California
                                                                                                                                                           \                                 CONTACT KUUKX
                                                                                                                                                           o       10/11/95                  03-5495X
                                                                                                                                                                       RS
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                                                                                                      Exhibit 38
                                                                                                        4972
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                                                                        #:5016



                                                         V-9B A. A. V-9C
                                                                                             V-lOBj


                                                                      Rosecrans Avenue




                                                                                                                            EXPLANATION
                Ralph B. Clark
                   Regional
                     Park
                                                                                                                     |=R-1/L-1r| Waste Sumps

                                                                                                                                  Facility Boundary

                                                                                                                                  "A" Flow Unit Monitoring Well

                                                                                                                                  "B"   Flow Unit Monitoring Well

                                                                                                                                  "C" Flow Unit Monitoring Well

                                                                                                                                  "D" Flow Unit Monitoring Well

                                                                                                                                  Task 10 Pilot Hole




                                                                                                                                                200                      400
                                 Los Coyotes
                                   Country
                                    Club                                                                                                SCALE IN FEET

        P-10D
PH-10
        P-IOL                                                                                                                               € N V I R ON
                                                                                                                                           Ccuiwl « HMlth and Envrvnmntd Sciinci
                                                                                                                           5820 Shellmound Street. Suite 700. Emeryville. California 94608


                                                                                                                            Task 10 Phase II Field Investigation
                                                                                                                            Groundwater Remedial Investigation
                                                                                                                            McColl Site
                                                                                                                            Fullerton, California
                                                                                                                                DATE:                 CONTRACT NUMBER:

                                                                                                                            9/28/95                   03-5493X
                                                                                                                               DMREK                                             2-1
                                                                             Exhibit 38
                                                                               4973
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    Ralph B. Clark
    Regional Park




                                                                                                    EXPLANATION
                                                                                                          Waste Sumps

                                                                                                          Ground Surface Contours at
                                                                                                          5—foot Intervals, MSL

                                                                                                          Current Drainage Swales
                                                                                                          D
                                                                                                           aleo-Channels -rom 1940
                                                                                                          Aerial Photograpn

                                                                                                                     Site Boundary




                                                                                                    f
                                                                                                                   CNVIRON
                                                                                                    5820 Shsllmound Street, Suite 7CO. Emeryville, CaliTomio 94608


C                                                                                                       Site Topography and Drainage
                                                                                                        Groundwater Remedial Investigation
                                                                                                        McColl Site
                                                                                                        Fullerton, California
                                                                                                          OATt                 CONTRACT NUUBC*
                                                                                                        10/5/95               05-3493X
                                                                                                         CHATTER
                                                                                                          RS
                                                                                                                                                         3-1
                                                        Exhibit 38
                                                          4974
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                                                                                                                  EXPLANATION


                                                                                                                        Waste Sumps
Ralph B. Clark
   Regional
    Park                                                                                                                Facility Boundary

                                                                                                                        Pilot Hole for Groundwater RI

                                                                                                                        "A" Flow Unit Monitoring Well

                                                                                                                        "B" Flow Unit Monitoring Well

                                                                                             Crown V/ay                 "C" Flow Unit Monitoring Well

                                                                                                                        "D" Flow Unit Monitoring Well

                                                                                                                        Cone Penetrometer Test
                                                                                                                        for Groundwater RI

                                                                                                                        Sump Program Borehole


                                                                                                                        Cross Section Line




                                                                                    Royalo Place




                                                                                                                                   200                   400


                                                                                                                          SCALE IN FEET



                                                                                                          '                6NVIRON
                                                                                                          5520 Shellmound Street. Suite 700. Emeryville, California 94608

                                                                                                              Cross—Section Location Map
                                                                              '.ocklin Way
                                                                                                              Groundwater Remediation Investigation
                                                                                             ui
                                                                                                              McColl Site
                                                                                                              Fullerton, California
                                                                                             1
                                                                                             <                                        CONTRACT NUMBER:
                                                                                             m             10/11/95                  03-3493_X
                                                                                                               WAFTER

                                                                                                                RS                                             4-1
                                                    Exhibit 38
                                                      4975
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                          OVERSIZE ITEM(S)

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                See Document # 2056839 for scanned image(s).




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                                      Exhibit 38
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                                                       #:5020




                                                                                       300
C                                                 Rosecrans Avenue
                                                                              292"—




                                                                                                                    EXPLANATION


                                                                                                                           Waste Sumps
    Raton B. Clark
       Regional
         Park                                                                                                              Facility Boundary

                                                                                                                           Pilot Hole for Groundwater RI

                                                                                                                           "A" Flow Unit Monitoring Well

                                                                                                                           "B" Flow Unit Monitoring Well

                                                                                                                           "C" Row Unit Monitoring Well

                                                                                                                           "D" Flow Unit Monitoring Well

                                                                                                                           Cone Penetrometer Test
                                                                                                                           for Groundwater RI

                                                                                                                -100       Elevation of Top of "C" Clay
                                                                                                                           Feet MSL




                                                                                             Royole Place




                         Los Coyotes
                                                                         - —
                                                                       Locklln Wayc
                           Country                                                                                                   200                   400
                            Club

                                                                                                                             SCALE IN FEET


                                                                                                            r
                                                                                                                             CNVIRON
                                                                                                            5820 Shellmound Strent, Sult« 700. Emoryvillo, California 94608


                                                                                      Locklin Way 5 I
                                                                                                                Elevation of "C" Clay
                                                                                               ~s a-            Groundwater Remediation Investigation
                                                                                                                McColl Site
                                                                                                                Fullerton, California
                                                                                                                                        CONTRACT NUWB6R.
                                                                                                             10/lT/95                  03-3493X
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                                                                                                                  RS                                             4-9
                                                        Exhibit 38
                                                          4977
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                                                               W-8B



                                                                          Rosecrans Avenue
                                                                                                            v                                           EXPLANATION


                                                                                                                                                            Waste Sumps

                                                                                                                                                            Facility Boundary

                                                                                                                                                            Pilot Hole for Groundwater RI
                            Ralph B. Clark
                               Regional
                                 Park                                                                                                                       "A" Flow Unit Monitoring Well

                                                                                                                                                            "B" Flow Unit Monitoring Well

                                                                                                                                                            "C" Flow Unit Monitoring Well


                                                                                                               no a
                                                                                                                            I""""!
                                                                                                                .-v—U~~|    1    t™   p.—~—|

                                                                                                                                                            "D" Flow Unit Monitoring Well
                                                                                                                    w->-'
                                                                                                                                                            Cone Penetrometer Test
                                                                                                                                                            for Groundwater RI

                                                                                                                                                            Sump Program Boring

                                                                                                                                                   -200     Elevation of Top of "A" Clay
                                                                                                                                                            Feet MSL




                                                 Los Coyotes
                                                   Country                                                                                          0                  200                   400
                                                    dub

        P-10D                                                                                                                                                  SCALE IN FEET
PH-10
        P-10L
    ^163
                                                                                                                                               '                CNVIRON
                                                                                                                                               5820 Shellmound Street, Suite 700. Emeryville, California 94608

                                                                                                                                                     Elevation of "A" Clay
                        /                                                                                                                            Groundwater Remedial Investigation
                                                                                                                                                     McColl Site
                    /                                                                                                                                Fullerton, California
                                                                                                                                                                           COHTRMT HUUNK
                                                                                                                                                12 /IS/95                 03-3493X
                I                                                                                                                                   MMTTK
                                                                                                                                                    RS                                              4-7
                                                                                 Exhibit 38
                                                                                   4978
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                                         W-9B     W-9C
                                                                             W-10B,


                                                     Rosecrans1 Avenue



                                                                                                            EXPLANATION

                                       Base of "B" Sand/Silt
                                       Packet Daylights                                                           Waste Sumps
    Ralph B. Clark
       Regional
         Park                                                                                                     Facility Boundary

                                                                                                                  Pilot Hole for Groundwater RI

                                                                                                                  "A" Flow Unit Monitoring Well

                                                                                                                  "B" Flow Unit Monitoring Well

                                                                                                                  "C" Row Unit Monitoring Well

                                                                                                                  "D" Flow Unit Monitoring Well
                                                                                                     ^cpr-N8      Cone Penetrometer Test
                                                                                                                  for Groundwater RI

                                                                                                                  Sump Program Boring

                                                                                                        "•200     Elevation of Top of "B" Clay
                                                                                                                  Feet MSL

C




                         Los Coyotes
                           Country                                                                                          200                    400
                             dub

                                                                                                                    SCALE IN FEET



                                                                                                    '               €NVIr\ON
                                                                                                    5820 Shellmound Street. Suite 700, Emeryville. California 94608


                                                                                                           Elevation of "B" Clay
                                                                                                           Groundwater Remedial Investigation
                                                                                                           McColl Site
                                                                                                           Fullerton, California
                                                                                                          DATE.                 CONTRACT NUMBER.
                                                                                                     12/20/95                  03-3495X
                                                                                                         MATTER

                                                                                                          RS                                             4-8
                                                           Exhibit 38
                                                             4979
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                                                                              #:5023




                                                               W-9B
                                                                                                      W-IOB^..

                                                                          Rosecrani Avenue



                                                                                                                                  EXPLANATION
                       Boundary of "B"                                         C" Flow Unit
                       Sand/Silt Packet1.                                     Recharge A
                                                                                                                                          Waste Sumps
                         Ralph B. Clark
                            Regional
                                                                                                                                          Facility Boundary
                                                                                                                                          Modern Channels

                                                                                                                                          Paleo-Channels from
                                                                                                                                          1940 Aerial Photograph

                                                                                                                                          Pilot Hole for Groundwater RI

                                                                                                                                          "A" Flow Unit Monitoring Well

                                                             Flow Untf                                                                    "B" Flow Unit Monitoring Well
                                                   /     Recharge Area                                                                    "C" Flow Unit Monitoring Well

                                                                                                                                          "D" Flow Unit Monitoring Well

                                                                                                                                          Abandoned Well
    Boundary of "A*


c
    Sand/Silt Packet                                                                                                                      Cone Penetrometer Test
                                                                                                                                          for Groundwater RI




                                                                                             LJ M 1




                                                Los Coyotes
                                                  Country                                                                                          200                  400
                                                   dub
                                                                                                                                            SCALE IN FEET



                                                                                                                           '                 CNVIftON
                                                                                                                           5820 Shellmound Street. Suite 700. Emeryville, Colifomiq 9460B


                                                                                                                               Flow Unit Recharge Boundaries
                                                                                                                               Groundwater Remedial Investigation
                                                                                                                               McColl Site
                                                                                                                               Fullerton, California
                                                                                                                                DATE:                 CONTRACT HJteOk
                                                                                                                            12/20/95                  05-3493X
                                                                                                                               NIAFTER:
                                                                                                                                RS                                             4-10
                                                                               Exhibit 38
                                                                                 4980
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                                                                                                           V
                                                                           Rosecrans Avenue



                                                                                                                                   EXPLANATION
                                                       Boundary of "BT Sand/Silt Packet
                                                                                                                           gLf-illp       Waste Sumps
                           Ralph B. Clark
                              Regional
                                Park                                                                                                      Facility Boundary

                                                                                                                                          Pilot Hole for Groundwater RI

                                                                                                                                          "A" Flow Unit Monitoring Well

                                                                                                                                          "B" Flow Unit Monitoring Well

                                                                                                                                          "C" Flow Unit Monitoring Well
                                                      Area of
                                                      Unsaturated Flow                                                                    "D" Flow Unit Monitoring Well

       Approximate Limit                                                                                                                  Abandoned Well
       of "B" Row Unit                                                                                                                    Cone Penetrometer Test
                                                                                                                                          for Groundwater RI

                                                                                                                               -220       Groundwater Elevation July 1995
                                                                                                                                          Feet MSL


                                                                                                                                          P—5S not contoured because well
                                                                                                                                          is screened in higher sand unit as
                                                                                                                                          compared to other "B" flow unit
                                                                                                                                          wells




/ ,/
                                                                                                                                                       200                       400


                                                                                                                                               SCALE IN FEET


                                                                                                                           ^                6NVIRON
                                                                                                                           5820 Stiollmound Street, Suite 700, Emeryville, California 94608
                                                   Approximate
                                                   L mit of THT Odor                                                           Water Level; "B" Flow Unit
                                             \     Soil/Detectable THT i                                                       Groundwater Remedial Investigation
                                                                                                                               McColl Site
                                                                                                                               Fullerton, California
                                                                                                                                 OATB                  CONTRACT NUMBER:
                                                                                                                            12/20/95                   03-3493X
                                                                                                                                MATTER:
                                                                                                                                 RS
                                                                                                                                                                      REVISED:
                                                                                                                                                                                   4-11
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                                                                                   4981
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                                                                           #:5025




                                                                                                 W-10BA, i
                                                                                                     •$•/                         EXPLANATION
                                                                                  1
                                                                         Rosecrans Avenue

                                                                                                                                        Waste Sumps

                                                                                                                                        Facility Boundary

                                                                                                                                        Pilot Hole for Groundwater RI
                   Ralph B. dark
                       Regional
                        Park                                                                                                            "A" Flow Unit Monitoring Well

                                                                                                                                        "B"   Flow Unit Monitoring Well

                                                                                                                                        "C" Flow Unit Monitoring Well

                                                                                                                                        "D" Flow Unit Monitoring Well
                                                                                                                                        Abandoned Well

                                                      Area of                                                                           Cone Penetrometer Test
                                                      Unsaturated Flow                                                                  for Groundwater RI
    Approximate Limit                                                                                                         90        Groundwater Elevation July 1995
    "CT Row Unit                                                                                                                        Feet MSL

                                                                                                                                        W—6A not contoured because well
                                                                                                                                        is screened in higher sand unit as
                                                                                                                                        compared to other "C" flow unit
                                                                                                                                        wells


C                                                                                                                        4- +           P-9D and P-10L not contoured
                                                                                                                                        because unlike other "C° flow unit
                                                                                                                                        wells, water level may represent
                                                                                                                                        composite of upper and lower
                                                                                                                                        portions of "C" flow unit




                                   0
                                   "-*




                                             Lo« Coyotes
                                               Country
                                                dub                                                                                                   200                  400


                                                                                                                                              SCALE IN FEET

                                   "• '— Approximate                                                                     f
                                        bmit of THT Odor in                                                                               €NVIRON
                                        Soil/Detectable THT in                                                           5820 Sheflmound Street. Suite 700, Emeryville. California 94608
                                        Groundwater
                                                                                                                                Water Level; "C" Flow Unit
                                                                                                         Locklln Way 5
                                                                                                                    a.          Groundwater Remedial Investigation
                                                                                                                                McColl Site
                                                                                                                                Fullerton, California
                                                                                                                                DATE:                CONTRACT NUMCfc
                                                                                                                             12/15/95               03-3493X
                                                                                                                              nunot:
                                                                                                                               RS                                             4-12
                                                                              Exhibit 38
                                                                                4982
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                                                  Rosecrans Avenue



                                                                                                              EXPLANATION


                                                                                                         t      )    Waste Sumps
    Ralph B. Clark
       Regional
         Park                                                                                                —       Facility Boundary

                                                                                                                     Pilot Hole for Groundwater RI

                                                                                                                     "A" Flow Unit Monitoring Well

                                                                                                                     "B" Flow Unit Monitoring Well

                                                                                                                     "C" Flow Unit Monitoring Well

                                                                                                                     "D" Row Unit Monitoring Well
                                                                                                          2
                                                                                                                     Abandoned Well

                                                                                                                     Cone Penetrometer Test
                                                                                                                     for Groundwater RI
                                                      ^\{ V-*
                                                                                                        -110         Groundwater Elevation July 1995
                                                                                                                     Feet MSL

c                                                                                                                    Not contoured because well is
                                                                                                                     screened in higher sand unit as
                                                                                                                     compared to other "D" flow unit
                                                                                                                     wells




                        Los Coyotes
                          Country                                                                                            200                   400
                            dub

                                                                                                                       SCALE IN FEET



                                                                                                    '                   €NVIr\ON
                                                                                                    5820 Shellmound Street. Suite 700. Emery>rllla, Callfomta 94608


                                                                                                             Water Level; "D" Flow Unit
                                                                                                             Groundwater Remedial Investigation
                                                                                                             McColl Site
                                                                                                             Fullerton, California
                                                                                                             DATE.              CONTRACT NUUtOt.
                                                                                                     10/11/95                   03-3493X
                                                                                                         WtAFTCT'
                                                                                                             RS                                          4-13
                                                         Exhibit 38
                                                           4983
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                                  #:5027


              EXPLANATION

— —500—— Top of San Pedro Formation
         Water Bearing Zone
         (DWR 1967) feet MSL




                                                                                                    BREA
                                                                                                      SERVOIR




        BEACH
                                                                               SCALE IN MILES


                                                    Elevation of the Top of                           Figure

  € NV I RON                                        San Pedro Formation Aquifer
  Counsel in Health and Environmental Science
                                                    Groundwater Remedial Investigation
                                                    McColl Site, Fullerton, California
                                                                                                   4-14
  Drafter:                                      Contract                      Approved:
                         Date: 10/3/95              ExhibitNumber:
                                                           38      03-3493X                     Revised:
                                                      4984
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                                                                             #:5028


                                                                                                                                               P-2S.P-2I.P-2D{R)
                                                                                                                                                       (ENVIRON)

                                                                                                                                                         P-2D
                                                                                                           , _                                        (ABANDONED)
                                     We)| 12<J                                                                                                     (CH2M Hill. 1987)
                           Coyote
                                    Iterton)

                     290                                                                                                                                PH-1                                                  2«0
                                                                                                                                                      (ENVIRON)
                             272   -eat MSL                                                                                                                 '
                                                                                                                                                         PH1
                                   in       oy                                                                                                                  -gZl^

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                                                                                             Bu«no Pork Smith Murphy Well                                 fTT" §re»n tltfy lo wxfj- day
                                                                                                    (G«oth«rmol)                                     T/WrSff Wv« to fiohl ol>»« bn«ti ilRjr iflfwj
                    150                                                                                                                                                                                       50
                                           oyey gravelly sond                                                                                           |CT w»« fl'oy «-«y cwy
                                    ST     ond
                                                                                                                                                        ^wp 3 Onvi gray wndy etay
                                           ay
                                                                                                                                                        sTP"1 o^* flr«y w^
                                    SP     ond                                                      11 2. JO F< e( MSL                  •!••             „ "Cr Ottv» grey to oIK* ilftjr day lo tiqyey iftt
                                    >w      avelly sond
                     100                                                                                                                                                                                      00

                                    SW      ovelly sand      J 8/92 wot«r level
                                                                                                                                                     fe ^ $ JilPJlK-iWAta ^^^
                                   "CL     >ort( grey cloy                                                                                                    Sond           from q«oc'Ty«*cd LMI,
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                                    CL         Cloy
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                                    SW         Gravelly sond

                                    CL         cloy        Screened Interval
                                    SW         • Crovelly sand
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                                    cl         Cloy



                   -350                                                                                                                                                                                       -350
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                                    cT         oy


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                                    SW           Gravelly sond

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                                    SW         .ff Gravelly sond


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                                                             Screened Interval
                              CL-
                   -650             SW         831.11 sonrf                                                                                                                                                   -850




                   -700                                                                                                                                                                                       -700



                   -730            EJ Cloy                                                            Screened to                                                                                             -730
                                                                                                     TD        100     BGS
                           T.O.-1517 fe.< BGS                                                         ' - °'       °




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o

                                                                                                         > between Regional Pumping                   WellS                                                         Figure
                                                                                  and
            r  N V 1R O N                                                             On-site Monitorin g Well
            %• 1"^ T ill ^*s__ ll
    5820 Shellrnound St., Suite 700, Emeryville, CA 94608
                                                                                  Groundwater Remedial Investigation
                                                                                   McColl Site, Fullerton, California
                                                                                                                                                                                                         4-15
.     Drafter: RS                                            Date: 10/3/95                 Contract Number:
                                                                                                    Exhibit 38
                                                                                                                            03-3493X    Approvec :                                   Revised:
                                                                                                          4985
           c                     Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 143 of 183 Page ID
                                                                   #:5029                                                                  c
           222




        2195
               First                                   Second                                Third                              Fourth

                                                                       Quarter




                                                                                                                                                    Figure
                                                       Well P-3S Hydrograph
     € N V I R ON                                      Groundwater Remedial Investigation
                                                       McColl Site                                                                             4-16
     Counsel in Health and Environmental Science       Fullerton, California
V.                                                 Drofter: RS    Date: 10/95Exhibit 38 Contract Number: 03-3493X
                                                                             4986
                                                                                                                    Approved:            Revised:
                            Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 144 of 183 Page ID
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CA                                                                                                                          -x         -P-4I
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O




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         First                                    Second                                Third                              Fourth

                                                                    Quarter




                                                                                                                                                Figure
       ki % * i          •%                     "B" Flow Unit Hydrograph
       N                                        Groundwater Remedial Investigation
       ii V
          T i1           R
                         n                      McColl Site                                                                                4-17
Counsel in Health and Environmental Science     Fullerton, California
                                              Drafter: tdk              Exhibit 38 Contract Number: 03-3493X
                                                              Date: 10/95                                      Approved:            Revised:
                                                                           4987
      c                     Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 145 of 183 Page ID
                                                              #:5031



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     255 --
         A-

     235 --


     215 --
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                                                                                                                            -•-P-3D
fe    195 -                                                                                                                 -A-P-4D
.o                                                                                                                          -»<-P-5L
OJ
£     175-f                                                                                                                 -JK-P-6D
w
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a
S     155 -                                                                                                                      P-IOL
                                                                                                                                 W-6A
e
O     135 -


      115 -




          First                                  Second                             Third                          Fourth
                                                                Quarter




                                                                                                                                         Figure
                                                "C" Flow Unit Hydrograph
€ NV I RON                                      Groundwater Remedial Investigation
                                                McColl Site                                                                          4-18
Counsel in Health ond Environmental Science     Fullerton, California
                                              Drafter: tdk            Exhibit 38 Contract Number: 03-3493X
                                                             Dote: 10/95                                     Approved:        Revised:
                                                                          4988
                           Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 146 of 183 Page ID
                                                             #:5032


     130 T-




                                                                                                                                P-1D
                                                                                                                                P-5D
                                                                                                                                W-4

                                                                                                                             -0-W-9B
                                                                                                                             —f— W-9C
                                                                                                                             -A-W-10B




       85 -


      80
         First                                    Second                             Third                          Fourth

                                                                 Quarter




                                                                                                                                        Figure
                                                "D" Flow Unit Hydrograph
€ N V I R ON                                    Groundwater Remedial Investigation
                                                McColl Site                                                                         4-19
Counsel in Health and Environmental Science     Fullerton, California
                                              Drafter: tdk           Exhibit 38 Contract Number: 03-3493X
                                                             Date: 10/95                                    Approved:        Revised:
                                                                       4989
      c                     Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 147 of 183 Page ID
                                                              #:5033




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       96 -    -




                                                                                                                             -•-P-4D
                                                                                                                             -•-P-5L
                                                                                                                             -A-P-9D
                                                                                                                             ™*--P-5D
                                                                                                                             -3K--W-4




                                                                   Quarter




                                                                                                                                        Figure
                                                Hydrograph for Selected "C" and "D" Flow Unit Wells
€ NV I RON                                      Groundwater Remedial Investigation
                                                McColl Site                                                                        4-20
Counsel in Health and Environmental Science     Fullerton, California
                                                                       Exhibit 38                                            Revised
                                              Drafter   tdk   Date: 10/954990       Contract Number   03-3493X   Approved:
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                                      #:5034




                              Classification diagram for anion and cation fascies
                              in terms of major ion percentages. Water types
                              are designated according to the domain in which
                              they occur on the diagram segments.




                                                                                                 Figure
                                                  Explanation of Trilinear Diagram
    € N V 1 R ON                                  Groundwater Remedial Investigation
                                                  McColl Site                                   6-1
    Counsel in Health and Environmental Science   Fullerton, California
^    Drafter: tdk          Date: 10/95            Contract Number: 03-3493X    Approved:   Revised:
                                                       Exhibit 38
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                                      #:5035




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                                                                                                    P2I
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                          C A T I O N S                       %meq/I               U N I O N S




                                                                                                                  Figure
                                                   Trilinear of "A" and "B" Flow Units
     € N V 1 R ON                                  Groundwater Remedial Investigation
                                                   McColl Site                                                  6-2
     Counsel in Health and Environmental Science
                                                   Fullerton, California
^    Drafter:   tdk          Dote: 10/95           Contract Number: 03-3493X         Approved:              Revised:
                                                       Exhibit 38
                                                         4992
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                                   #:5036




                                                                                           P2DR
                                                                                           P3D
                                                                                           P10
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                     C A T I O N S                     %meq/                 A N I 0 N S




                                                                                                        Figure
                                                 Trilinear of "C" Flow Unit
   € N V 1 R ON                                  Groundwater Remedial Investigation
                                                 McColl Site .-                                       6-3
  Counsel in Health and Environmental .Science   Fullerton, California
^ Drafter: tdk            Date: 10/95            Contract Number: 03-3493X         Approved:      Revised:
                                                     Exhibit 38
                                                       4993
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                                                                                     o U10B
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                                                                                     * USB
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                                                                            Chlorine ( C l )

                                 I 0N S                 %meq/I             A NI 0 N S




                                                                                                     Figure
                                               Trilinear of "D" Flow Unit
 € NV I RON                                    Groundwater Remedial Investigation
                                               McColl Site                                          6-4
 Counsel in Health and Environmental Science
                                               Fullerton, California
 Drafter: tdk           Date: 10/95            Contract Number: 03-3493X      Approved:        Revised:
                                                   Exhibit 38
                                                     4994
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                                               Trilinear of Municipal Supply Well Coyote 12a         Figure

 € NV I RON                                    Groundwater Remedial Investigation
                                               McColl Site                                         6-5
 Counsel in Health and Environmental Science
                                               Fullerton, California
 Drafter: tdk           Date: 10/95            Contract Number: 03-3493X         Approved:     Revised:
                                                    Exhibit 38
                                                      4995
                                                      Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 153 of 183 Page ID
                                                                                        #:5039




                                                                                           Roseerans Avenue



                                                                                                                                                                                        EXPLANATION


                                                                                                                                                                                             Waste Sumps
                               Ralph B. Clark
                                  Regional
                                    Park                                                                                                                                                     Facility Boundary

                                                                                                                                              o                                -A-           "B" Flow Unit Monitoring Well
                                                                                                                                                  I
                                                                                                                                                  '£.                         Concentrations in micrograms per liter
                                                                                                                                                   \                          Chemical concentrations based on Third
                                                                                                                                                                              Quarter Sampling Period (1995) data.
                                                                                                                                                             Crown Way
                                                                                                                                                                              See definition of data qualifiers in
                                                                                                                                                                              Appendix D.
                                                                                                                                                                                *            Duplicate sample collected here.




                                                                                                                                                           Tiffany
     Tetrahydrothiophene           14000D
     2-Methyltetrahydrothiophene   17000D
     3-Methyltetrohydrothiophene 1 3QOOD                                                                                              Tetrahydrothiophene                <2
                                                                                                                                      2-Methyltetrahydrothiopnene        <2
                                                                                                                                      3—Methyltetrahydrothioph ene       <2

                                      P-21
                                                                                          Tetrohyarothiophene
                                                                                                                                                        Royals Place
                                                                                          2—tvtethyltetrahydrothiophene       <2
                                                                       P-41,               3-Methyltetrahydrothiophene        <2


                                                                                         P-5S
                                   Tetrahydrothiophene         14000
                                   2-Methyltetrahydrothiophene 18000
                                   3-Methyltetrohydrothiophene   1 2000
                                                                                                                           i Locklin Way c
                                                                                                                                                                                                           200                  400
                                                                           Los Coyotes
                       Tetrahydrothiophene         9600,1000*                  Country
    P-10D                                                                       Club                          Tetrahydrothioonene            <2                                                   SCALE IN FEET
                       2-Methyltetrahydrotniophene 54.56*                                                     2-Methyltetranydrotniophene    <2
                       3-Methyltetrahydrothiophene 570D.660*                                                  3-Methyltetronydrothiophene    <2
                                                                                                o
                                                                                                u.                                                                            '                 CNVIRON
                                                                                                                                                                               5820 Shdlmound Street. Suite 700. Emeryville. California 94608



C                                            \                                                                                               Locklln Way
                                                                                                                                                                                THT Compounds - "B" Flow Unit
                                                                                                                                                                                Groundwater Remedial Investigation
                                                                                                                                                                                McColl Site

                                                                                                                                                              i
                                                                                                                                                              CD
                                                                                                                                                                                Fullerton, California
                                                                                                                                                                                     OATE.
                                                                                                                                                                                10/4/95
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                                                                                                                                                                                                         Q3-3493X
                                                                                                                                                                                     RS
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                                                                                                     Exhibit 38
                                                                                                       4996
                                                    Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 154 of 183 Page ID
                                                                                      #:5040




                                                                                          Roseqrans Avenue



                                                                                                                                                                                                  EXPLANATION



                                                                                                                                                                                        llpfffil      Waste Sumps
                               Ralph B. Clark
                                  Regional
                                    Park                                                                                                                                                              Facility Boundary

                                                                                                                                                                                        -^-              "C" Flow Unit Monitoring Well
                                                                                                                                                           •o
                                                                                                                                                            £                           Concentrations in micrograms per liter

                                                                                                                                                                                        Chemical concent-ations based on Third
                                                                                                                                                                                        Quarter Sampling Period (1995) data.
                                                                                                                                                                                        See definition of data qualifiers in
                                                                                                                                   Tetrahydrothiaphene                         9200     Appendix D.
                                                                                                                                   2-Methylte:rahydro:niophene                 37000D
                                                                                                                                                                                        **               Installed after Third Quarter
                                                                                                                                   3-Methylte:rohydrcthiophene _20000D
                                                                                                                                                                                                         Sampling Period (1995).




  Tetrahydrothiophene             <2
  2-Methyltetrahydrothiophene <2                                                                                                         Tetrahydrothioonene                      <2
  5-Methyltetrahydrothiophene <2                                                          W-48A                                          2—Methyltetrchycrothiophene              <2
                                                                                           DRY
                                                                                                                                         3-Met'nyltetrohycrothioDhene             <2




                                       -2DR
                                                                                                                                                                Royale Place
                                                                                                                                '"I P-i60 I




         Tetrahydrothiophene              <2         Tetranydrothioc-ene             <2
                                                                                                                                                  T: I
         2-Methyltetrahydrothiophene <2              2-Methyltetrcrycrothiophene <2
                                                     3—Methyltetrc^yarothiophene <2
                                                                                                                       rsl
                                                                                                                       i o-;.
                                                                                                                                              ii.
                                                                                                                                              :
         3—Methyltetrahydrothiophene <2
                                                                                                                       |£ Locklin Way
                                                                                                                                                                                                                          200                   400
                                                                       Los Coyotes
                               Tetrahydrothiophene         <2              Country
                                                                            Club                          "etrahydrothiophene                            140D
                               2-Methyltetrahydrothiophene <2                                                                                                                                                     SCALE IN FEET
                                                                                                           2-Methyttetrahydrothiophene                   140D
                               3-Methyltetrahydrothiophene <2
                                                                                                                                                                                              r
P-10L"                                                                                                     3-Methyltetrohydrothiophene
                                                                                                                                                                                                              CNV1RON
                                                                                                                                                                                              5820 Shellmound Street. Suite 700. Emeryville. California 94606


                                P-90                                                                                                                                   o i                     THT Compounds - "C" Flow Unit
                                                                                                                                                         Locklin Way
                                                                                                                                                                                               Groundwater Remedial Investigation
                                                                                                                                                                                               McColl Site
                                                                                                                                                                                               Fuilerton, California
                                                                                                                                                                       11                                                CW1HACT NUUBOI:
                                                                                                                                                                       iCD                        10/3/95                03-3493X
                                                                                                                                                                                                    RS                                              6-7
                                                                                                  Exhibit 38
                                                                                                    4997
                          Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 155 of 183 Page ID
                                                            #:5041




                                                           ,W-9C
                                                                                                           W-10B,
TetrohydrothioDhene            <2
2—Methyltetrahydrothiophene <2                                                                                Tetrahydrothiophene                         <2
3-Methyltetrohydrothiophene <2                                     Tetrahydrothiophene                <2       2—Methyltetrcnydrothiophene <2
                                                                   2-Methyltetrahydrothiophe'-e <2             3-Methyltetrciydrothiophene <2                           EXPLANATION
                                                                                                  r
                                                                   3-Methyltetrahydrothiophe -e <2

                                                                                                                                                                L^-l-'' )     Waste Sumps
 Ralph B. Clark
    Regional
      Park
                         \                                                                                                     o
                                                                                                                               _>
                                                                                                                                                                              Facility Boundary

                  Tetrahydrothiophene           <2,<2*
                                                                                                                               o                               •^             "D" Flow Unit Monitoring Well
                  2-Methyltetrahydrothiophene   0.7J,<2«
                  3—MethyltetrohydroThiophene   0.6J,<2«
                                                                                                                                                                Concentrations in micrograms per liter (ug/L)
                                                                                                                                    c
                                                                                                                                                                Chemical concentrations based on Third
                                                                                                                                                                Quarter Sampling =>enod (1995) data.
    Tetrahydrotmophene              <2                                                                                                       Croy,n Way

    2-Methyltetrahydrothiophene <2                                                                                                                              See definition of cata qualifiers in
                                                                                                                                                                Appendix 0.
    3-Methyltetrohydrothiophene     <2
                                                                                                                                                                *             Duplicate sample collected here.




                                                                                                                                           Tiffany



                                                                                TetrahydrothioD"8ie                       <2
                                                                                2—Methyltetra"yc r othiophene             <2
                                                                                             r
                                                                                3-Methyltetro -vc-othiophene              <2



                                                                                                                                        Rcyale Place




                                                                                                                   cn
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                                                                                                                  £
                                                                                                 •O
                                                                                                                    >-.
                                                                                                 .s Locklin Way
                                                                                                                                                                                          200                  400
                                            Los Coyotes
                                              Country
                                                Club                c           Tetrahydrothioo'eie                       <2,<2*
                                                                    o                                                                                                             SCAi_E IN FEET
                                                                                2-Methyltetrc-yc'othiophene               <2,<2*
                                                                    O)
                                                                    u
                                                                                3—Methyltetrar'yci'othiophene             <2,<2*                               r
                                                                    '5
                                                                                                                                                                                6NVIRON
                                                                                                                                                               5320 Shellmound Street Suite 700. E-neryville. Cahfornig 94608


                                                                                                                                                                THT Compounds - "D" Flow Unit
                                                                                                                          Locklin Way
                                                                                                                                                                Groundwater Remedial Investigation
           \                                                                                                                                                    McColl Site
                                                                                                                                                                Fullerton, California
                  \
                                                                                                                                                                     DATE.                CONTHAOT NUMBER-
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                                                                                                                                                                     RS                                            6-8
                                                                         Exhibit 38
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                                                              Rosecrans Avenus



                                                                                                                                               EXPLANATION


                                                                                                                                                     Waste Sumps
        Ralph B. Clark
           Regional
             Park                                                                                                                                    Facility Boundary


                                                                                                                                       -0-           "B" How Unit Monitoring Well

                                                                                                                                     Concentrations "n micrograms per liter (/ag/L)

                                                                                                                                     Chemical concent r ations based on Third
                                                                                                               \         Crown Way
                                                                                                                                     Quarter Sampling Period (1995) data.

                                                                                                                                     See ae'nition of data qualifiers in
                                                                                                                                     Appenc x D.

                                                                                                                                           *         Duohcate sample collected here.




                                                                                                                    Tiffany




               P-2I                                                                         P-6S

                                                                                                                 Royale Place


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                                                                                                    _>
                                                                                                    'k.
                                                                                                    Q
                                                        P-5S                                         O
                                                       <1 .
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                                                                                                                                        Benzene Concentrations -
                                                                                                           Locklin Way                  "B" Flow Unit
                                                                                                                                        Groundwater Remedial Investigation
                      \                                                                                                  Ul             McColl Site
                                                                                                                         o              Fullerton, California
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                              Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 157 of 183 Page ID
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                                                            Rosecrans Avenue



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         Ralph B. Clark
            Regional                                                                                           Regency
              Park                                                                                                                                       Facility Boundary

                                                                                                              o                            -^-           "C" Flow Unit Monitoring Well
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                                  Rosecrans Avenue



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Ralph B. Clark
   Regional
     Park                                                                                                                               Facility Boundary

                                                                                                                         •^             "D" Flow Unit Monitoring Well

                                                                                                                     Concentrations in micrograms per liter (u.g/L)


                                                                                            I          Crown   Way
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                                                                                                                     Quarter Sampling Period (1995) data.

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                                                                                                   Tiffany Place

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                                                             Rosecrans Avenue



                                                                                                                                              EXPLANATION


                                                                                                                                                     Waste Sumps
        Ralph B. Clark
           Regional
             Park                                                                                                                                    Facility Boundary

                                                                                                                                    -^-              "B" Flow Unit Monitoring Well

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                                                               Rosecrans Avenue



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          Ralph B. Clark
             Regional                                                                                   Regency
               Park                                                                                                             ----                 Facility Boundary
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    Ralph B. Clark
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                    First                                Second                            Third                             Fourth

                                                                        Quarter




                                                                                                                                                Figure
                                                      Semi-logarithmic Plot of Tetrahydrothiophene         - "B" Flow Unit
    € N V 1 R ON                                      Groundwater Remedial Investigation
                                                      McColl Site                                                                           6-15
    Counsel in Health and Environmental Science       Fullerton, California
                                                                           Exhibit 38 Contract Number: 03-3493X
V                                                 Drafter: RS     Date: 12/95
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                                                      Semi— logarithmic Plot of Tetrahydrothiophene - "C" Flow Unit                         Figure


    € N V 1 RON                                       Groundwater Remedial Investigation
                                                      McColl Site                                                                      6-16
    Counsel in Health ond Environmental Science       Fullerton, California
v                                                 Drafter: RS             Exhibit 38 Contract Number: 03-3493X
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                                                  Semi-logarithmic Plot of Benzene — "B"            Flow Unit                              Figure


€ NV I RON                                        Groundwater Remedial Investigation
                                                  McColl Site                                                                         6-17
Counsel in Health ond Environmental Science       Fullerton, California
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                                                      Semi—logarithmic Plot of Benzene — "C" Flow Unit                                 Figure


    € N V I R ON                                      Groundwater Remedial Investigation
                                                      McColl Site                                                                  6-18
    Counsel in Health ond Environmental Science       Fullerton, California
                                                                          Exhibit 38
V                                                 Drafter. RS    Dote: 12/95 5008 Controct Number. 03-3493X   Approved       Revised
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                                                                               Rosecrans Avenue



                                                                                                                                                                     EXPLANATION



                                                                                                                                                                            Waste Sumps
                                Ralph B. Clark
                                   Regional
                                    Park                                                                                                                                    Facility Boundary


                                                                                                                              O                                             "B"   Flow Unit Monitoring Well
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                                                                                                                                                           6.6              Dissolved Concentration (,uq/L)
                                                                                                                                                           7.4              Total Concentration

                                                                                                                                  I        Crown Way   Concentrations in micrograms per liter                 (jj,g/L)

                                                                                                                                                       Chemical concentrations based on Third
                                                                                                                                                       Quarter Sampling Period (1995) data.

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                                                                                                                                                           5820 Shellmound Street, Suite 700. Emeryville. California 94608

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 r                                                                         Rosecrans Avenue



                                                                                                                                                                    EXPLANATION


                                                                                                                                                                         Waste Sumps
                 Ralph B. Clark
                    Regional
                     Park                                                                                                                                                Facility Boundary

                                                                                                                                                            -^-           "C" Flow Unit Monitoring Well


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    Ralph B. Clark
       Regional                                                                                                               Regency
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                                                                  139                                                                    Crown Way
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                                                                              Rosecrans Avenue



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                                                                                                                                                                   Waste Sumps
                              Ralph B. Clark
                                 Regional                                                                                  RegencY
                                   Park                                                                                                                            Facility Boundary

                                                                                                                                                                   "B" Flow Unit Monitoring Well

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                                                                                                                                       ui              Manganese and Chromium

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                                 Ralph B. Clark
                                    Regional                                                                                                                ,ency C'irc\«
                                      Park                                                                                                                                                            Facility Boundary

                                                                                                                                                                                                      "C" Flow Unit Monitoring Well


                                                                                                                                                                                       180            Dissolved Concentration (^g/L)
                                                                                                                                                                                       184            Total Concentration (/ig/!_)


                                                                                                                                                                   Crown Way        Concentrations in micrograms per liter                (fj.g/L)

                                                                                                                                                                                    Chemical concentrations based on Third
                                                                                                                                                                                    Quarter Sampling Period (1995) data.

                                                                                                                                                                                    See definition of data qualifiers in
                                                                                                                                                                                    Appendix D.

                                                                                                                                                                                     «*           Installed after Third Quarter
                                                                                                                                                                                                  Samoling Period (1995).


C
                                                                                                                                                                            p<ace
                                                                                                                                                               'Tiffany         .

                                                                                                             , W-BA
                                                                                                               DRY




              Manganese   209
                          224                                                                                                              P-6D,
                                          2DR
              Chromium    <5.7     ^P-                                                                                                                       Royale Place
                          <5.7
                                                            P-3D,
                                                                              P-40                                                                        Manganese

                                                                                                                                                          Chromium l5^-
                                                            /                    Manganese   ~4|                                                                   v,O. /
                                                Manganese                                    J/. /

                                                                                             <5.7                 Manganese
                                                             <5.7                Chromium
                                                Chromium                                     <5.7
                                                             <5.7                                                 Chromium
                                                                                                                              <5.7   S Locklin Way '
                                                                                                     P-5L                            o             f
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                                                                        Los Coyotes
                                                                          Country
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                                                                                                                                                                                                           SCALE IN FEET

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                                                  Manganese yy
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                                                                                                                                                                                      '                 €NVIRON
                                                                                                                                                                                      5820 Shellmound Street, Suite 700. Emeryville. California 94608
                                                                                                                                                                . u»                      Manganese and Chromium
C                                 P-9D            Chromium          -
                                                                                                                                                       Locklin Way 5 :
                                                                                                                                                                  , Q- •
                                                                                                                                                                                          Concentrations, "C" Flow Unit
                                                                                                                                                                                          Groundwater Remedial Investigation
                                            \                                                                                                                                             McColl Site
                                                  \                                                                                                                 O                     Fullerton, California
                                                                                                                                                                                             DATE.                CCNTDACT NUUBER

                                                                                                                                                                                          10/3/95                03-3493X
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                                                                                                                                                                                             RS                                           6-23
                                                                                                                 Exhibit 38
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                      Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 171 of 183 Page ID
                                                        #:5057




                                          W-9S-   LW-9C
                                                                                       W-10B,


Rosecrans Avenue                                          Manganese
                                                                                           Manganese
                                                                        <5.7
                                                          Chromium                                          <5.7
                                                                        <5.7               Chromium
                                                                                                            18.9
                                                                                                                                          EXPLANATION



                                                                                                                                               Waste Sumps
Ralph B. Clark
   Regional
    Park                                                                                                                                       Facility Boundary

                                                                                                                                                      r
                                                                                                  O                               •^-           "D"       o w Unit Monitoring Well
                                                                                                   3.-o
                                                                                                                                  386           Dissc ved Concentration
                                                                                                      c.                          414           Totci Concentration  (fj,g/L)


                                                                                                                Crown Way     Concentrations       in -nicrograms per liter

                                                                                                                              Cnemical concenfctions based on Third
                                                                                                                              Quarter Sampling 3eriod (1995) data.

                                                                                                                              See definition of cata qualifiers in
                                                                                                                              Aooendix D.

                                                                                                                              *            Duplicate sample collected here


                                                                                                              Tiffany P»ace




                                                     Manganese,

                                                     Chromium
                                                                       b.U



                                                                                                           Royale Place
                                                    Manganese 55.0,|2.4

                                                    Chromium             !&



                                                   P-5D^
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                          Los Coyotes                                          5 Locklin Way c
                            Country
                              Club                          CD                                                                                                 200                 400
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                                                            C                                                                                         SCALE IN FEET
                                                            4)


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                                                                                                                                  5620 Shellmound S*-eet. Suite 7QQ. Emaryville. Colifornio 94608
                                                                                                                                   Manganese and Chromium
                                                                                                                u
                                                                                                                                   Concentrations, "D" Flow Unit
           S     c*
                                                                                                 Locklln Way
                                                                                                                                   Groundwate r Remedial Investigation
                                                                                                                                   McColl Site
                                                                                                                   o               Fullerton, California
                                                                                                                                                               CONTRA
                                                                                                                   CQ               10/3/95                   03-3493X
                                                                                                                                        °R<r                                          6-24
                                                                 Exhibit 38
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                                                                 Quarter




                                                  Semi—logarithmic Plot of Arsenic (dissolved) — "B" Flow Unit                         Figure


€ N V I R ON                                      Groundwater Remedial Investigation
                                                  McColl Site                                                                    6-25
Counsel in Health ond Environmental Science       Fullerton, California Exhibit 38
                                              Drafter: RS              5015
                                                             Dote: 12/95      Controct Number: 03-3493X   Approved:         Revised.
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                                                                  #:5059                                                            c



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                                                      Semi-logarithmic Plot of Arsenic (dissolved) — "C" Flow Unit                           Figure


    € N V 1 R ON                                      Groundwater Remedial Investigation
                                                      McColl Site                                                                       6-26
    Counsel in Health ond Environmental Science       Fullerton, California
                                                                           Exhibit 38
V                                                 Drafter: RS    Dote: 12/95 5016       Contract Number: 03-3493X   Approved:     Revised:
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                                                     #:5060


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                                                                                                                                      Figure
                                                   Semi-logarithmic Plot of Beryllium (dissolved) - "B" Flow Unit
€ N V I R ON                                       Groundwater Remedial Investigation
                                                   McColl Site                                                                  6-28
Counsel in Heolth ond Environmentol Science        Fullerton, California
                                                                         Exhibit 38
                                              Drafter: RS      Dote: 12/955018 Controct Number- 03-3493X   Approved:       Revised:
           Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 176 of 183 Page ID
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                                                                Quarter




                                                  Semi-logarithmic Plot of Beryllium (dissolved) - "D" Flow Unit                        Figure


€ N V I R ON                                      Groundwater Remedial Investigation
                                                  McColl Site                                                                      6-30
Counsel in Health ond Environmental Science       Fullerton, California
                                                                      Exhibit 38
                                              Drafter RS     Date- 12/955020       Contract Number 03-3493X   Approved'       Revised
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           First                                 Second                            Third                           Fourth

                                                                 Quarter




                                                   Semi-logarithmic Plot of Chromium (dissolved) - "B" Flow Unit                       Figure


€ N V I R ON                                       Groundwater Remedial Investigation
                                                   McColl Site                                                                     6-31
Counsel in Health ond Environmental Science        Fullerton, California
                                                                         Exhibit 38
                                              Drafter RS       Dote- 12/95 5021     Contract Number 03-3493X Approved        Revised
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                                                  Semi—logarithmic Plot of Chromium (dissolved) — "C" Flow Unit                Figure


€ N V I R ON                                      Groundwater Remedial Investigation
                                                  McColl Site                                                                6-32
Counsel in Health ond Environmental Science       Fullerton, CaliforniaExhibit 38
                                              Drafter. RS             5022
                                                             Date. 12/95     Contract Number 03-3493X   Approved     Revised
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                           Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 180 of 183 Page ID
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                                                  Semi-logarithmic Plot of Manganese (dissolved) — "B" Flow Unit                        Figure

€ N V I R ON                                      Groundwater Remedial Investigation
                                                  McColl Site                                                                     6-33
Counsel in Heolth and Environmental Science       Fullerton, California Exhibit 38
                                              Drafter: RS     Date: 12/955023   Controct Number: 03-3493X   Approved:        Revised:
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                                                      Semi-logarithmic Plot of Manganese (dissolved) — "C" Flow Unit                           Figure


    € N V 1 R ON                                      Groundwater Remedial Investigation
                                                      McColl Site                                                                            6-34
    Counsel in Health and Environmental Science       Fullerton, California
                                                                          Exhibit 38
V                                                 Drafter. RS    Date.      5024
                                                                         12/95         Contract Number. 03-3493X   Approved'         Revised
           r                Case 2:91-cv-00589-CJC Document 677-1 Filed 07/10/20 Page 182 of 183 Page ID
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                   First                             Second                                Third                        Fourth

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                                                  Semi-logarithmic Plot of Manganese (dissolved) — "D" Flow Unit                            Figure


€ N V I R ON                                      Groundwater Remedial Investigation
                                                  McColl Site                                                                         6-35
Counsel in Health and Environmental Science       Fullerton, California
                                                                       Exhibit 38
                                              Drafter. RS     Date. 12/955025       Contract Number. 03-3493X   Approved:        Revised
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